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        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
        INC., and SCOOBUR, LLC

                                         UNITED STATES BANKRUPTCY COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               LOS ANGELES DIVISION



            In re:                                                    Case No. 2:19-bk-14989-WB
            SCOOBEEZ, et al.1                                         Jointly Administered:
                                                                      2:19-bk-14991-WB; 2:19-bk-14997-WB
                    Debtors and Debtors in Possession.                Chapter 11


            Affects:                                                  DISCLOSURE STATEMENT IN SUPPORT
            ■ All Debtors                                             OF CHAPTER 11 JOINT PLAN OF
            □ Scoobeez, ONLY                                          REORGANIZATION PROPOSED BY THE
                                                                      DEBTORS, HILLAIR AND THE OFFICIAL
            □ Scoobeez Global, Inc., ONLY                             COMMITTEE OF UNSECURED
            □ Scoobur LLC, ONLY                                       CREDITORS



                                                                      Hearing:
                                                                      Date: April 9, 2020
                                                                      Time: 10:00 a.m.
                                                                      Place: Courtroom 1375
                                                                             U.S. Bankruptcy Court
                                                                             255 East Temple Street
                                                                             Los Angeles, CA 90012

                                                 Dated: February 27, 2020

        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
        Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.




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          THIS IS NOT A SOLICITATION OF ACCEPTANCES OR REJECTIONS OF ANY CHAPTER 11 PLAN
           DESCRIBED HEREIN. ACCEPTANCES OR REJECTIONS OF A CHAPTER 11 PLAN MAY NOT BE
          SOLICITED UNTIL A DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
         COURT. THIS DISCLOSURE STATEMENT HAS BEEN OR WILL BE SUBMITTED FOR BANKRUPTCY
        COURT APPROVAL BUT HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT. ALL RIGHTS TO
           AMEND OR SUPPLEMENT THIS PROPOSED DISCLOSURE STATEMENT AT OR BEFORE OR IN
         CONNECTION WITH THE HEARING TO CONSIDER APPROVAL OF THIS DISCLOSURE STATEMENT
                                           ARE RESERVED.2


                                                        DISCLAIMER

             NO PERSON MAY GIVE ANY INFORMATION OR MAKE ANY
        REPRESENTATIONS, OTHER THAN THE INFORMATION AND REPRESENTATIONS
        CONTAINED IN THIS DISCLOSURE STATEMENT, REGARDING THE PLAN OR THE
        SOLICITATION OF ACCEPTANCES OF THE PLAN.

             ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS
        DISCLOSURE STATEMENT (INCLUDING ALL EXHIBITS) AND THE PLAN IN THEIR
        ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. THE STATEMENTS
        CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
        HEREOF, AND THERE CAN BE NO ASSURANCE THAT THE STATEMENTS
        CONTAINED HEREIN SHALL BE CORRECT AT ANY TIME AFTER THE DATE
        HEREOF. ALL CREDITORS SHOULD READ CAREFULLY AND CONSIDER FULLY
        THE “RISK FACTORS” SECTION HEREIN BEFORE VOTING FOR OR AGAINST THE
        PLAN. SEE SECTION VII (“CERTAIN FACTORS TO BE CONSIDERED”).

             THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
        WITH SECTION 1125 OF THE BANKRUPTCY CODE AND NOT IN ACCORDANCE
        WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY
        LAWS. PERSONS OR ENTITIES TRADING IN, OR OTHERWISE PURCHASING,
        SELLING, OR TRANSFERRING STOCK OF SCOOBEEZ GLOBAL, INC. OR ANY OF THE
        OTHER DEBTORS SHOULD NOT RELY UPON THIS DISCLOSURE STATEMENT FOR
        SUCH PURPOSES AND SHOULD EVALUATE THIS DISCLOSURE STATEMENT AND
        THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH THEY WERE PREPARED.

             AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
        ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
        CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT, LIABILITY,
        STIPULATION, OR WAIVER, BUT RATHER AS A STATEMENT MADE IN
        SETTLEMENT NEGOTIATIONS.

             THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN PROVISIONS OF
        THE PLAN, STATUTORY PROVISIONS, DOCUMENTS RELATED TO THE PLAN,

        2
            This text box will be removed upon Bankruptcy Court approval of the Disclosure Statement.




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        EVENTS IN THE CHAPTER 11 CASES OF SCOOBEEZ, SCOOBEEZ GLOBAL, INC., AND
        SCOOBUR, LLC (THE “DEBTORS”), AND FINANCIAL INFORMATION. ALTHOUGH
        THE DEBTORS BELIEVE THAT THE PLAN AND RELATED DOCUMENT SUMMARIES
        ARE FAIR AND ACCURATE, SUCH SUMMARIES ARE QUALIFIED TO THE EXTENT
        THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR
        STATUTORY PROVISIONS.     FACTUAL INFORMATION CONTAINED IN THIS
        DISCLOSURE STATEMENT HAS BEEN PROVIDED BY MANAGEMENT OF THE
        DEBTORS, EXCEPT WHERE OTHERWISE SPECIFICALLY NOTED. THE DEBTORS
        ARE UNABLE TO WARRANT OR REPRESENT THAT THE INFORMATION
        CONTAINED HEREIN, INCLUDING THE FINANCIAL INFORMATION, IS WITHOUT
        INACCURACY OR OMISSION.

             THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
        INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN
        AND MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE
        HOW TO VOTE ON THE PLAN. THE DESCRIPTIONS SET FORTH HEREIN OF THE
        ACTIONS, CONCLUSIONS, OR RECOMMENDATIONS OF THE DEBTORS OR ANY
        OTHER PARTY IN INTEREST HAVE BEEN SUBMITTED TO OR APPROVED BY SUCH
        PARTY, BUT NO SUCH PARTY MAKES ANY REPRESENTATION REGARDING SUCH
        DESCRIPTIONS.

             THIS DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY NON-
        BANKRUPTCY PROCEEDING INVOLVING THE DEBTORS OR ANY OTHER PARTY,
        NOR SHALL IT BE CONSTRUED TO BE ADVICE ON THE TAX, SECURITIES, OR
        OTHER LEGAL EFFECTS OF THE PLAN OF REORGANIZATION AS TO HOLDERS OF
        CLAIMS AGAINST THE DEBTORS. YOU SHOULD CONSULT YOUR OWN COUNSEL
        OR TAX ADVISOR ON ANY QUESTIONS OR CONCERNS RESPECTING TAX,
        SECURITIES OR OTHER LEGAL EFFECTS OF THE PLANS OF REORGANIZATION ON
        HOLDERS OF CLAIMS OR INTERESTS.




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                                               EXECUTIVE SUMMARY3

                On April 30, 2019 (the “Petition Date”), Scoobeez, Scoobeez Global, Inc. (“Scoobeez
        Global”) and Scoobur, LLC (“Scoobur”), as debtors in possession in the above-captioned jointly
        administered cases (collectively, the “Debtors”), filed voluntary petitions for relief under chapter
        11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the
        United States Bankruptcy Court for the Central District of California (the “Bankruptcy Court” or
        the “Court”). The cases are being jointly administered under the caption In re Scoobeez, et al.,
        Case No. 2:19-bk-14989-WB (the “Chapter 11 Cases”).

                 Before the Chapter 11 Cases, the Debtors experienced financial difficulties resulting
        from, among other things, cash flow shortages and defaults under their debt obligations. Prior to
        the Petition Date, the Debtors became embroiled in a dispute with their primary secured lender,
        Hillair Capital Investments, L.P. (“Hillair Investments”) and its affiliates, and defaulted under
        their loan documents. In late April, 2019, Hillair Capital Management LLC (together with
        Hillair Investments, “Hillair”) filed a complaint against the Debtors and sought to have a receiver
        appointed over the Debtors, due to allegations that the Debtors’ principal and largest shareholder,
        Shahan Ohanessian, had engaged in self dealing conduct and misappropriation of funds. These
        factors combined to cause the Debtors to determine in an exercise of their business judgment to
        file these Chapter 11 Cases in order to preserve value for all constituents.

                Once under the protection of chapter 11, the Debtors, working with the Official
        Committee of Unsecured Creditors, on behalf of unsecured creditors, and Hillair, took steps to
        positively address the management and misappropriation concerns that existed prior to the
        Petition Date, and stabilized their business. In June, 2019, Brian Weiss was appointed as the
        Chief Restructuring Officer to lead the Debtors’ turnaround, and independent directors
        (including one proposed by the Committee) were appointed to the Debtors’ board of directors.
        Moreover, Mr. Ohanessian stepped down as Chief Executive Officer and resigned from the
        board of directors and agreed not to be involved in the Debtors’ management or financial affairs
        and not to use his shareholder powers to change the board composition.

                The Debtors then hired an investment banking firm and marketed their assets for a sale or
        recapitalization. The Debtors had multiple potential bidders interested in acquiring their
        business. However, in October 2019, right before the planned exit of the Debtors’ business from
        chapter 11 bankruptcy through a sale was to come to fruition, the Debtors’ largest customer,
        Amazon Logistics, Inc. (“Amazon”), objected to the assumption and assignment of its contract
        with the Debtors and instead told the Debtors that Amazon was going to terminate its contract
        with the Debtors (the “Amazon Contract”) and cease doing business with the Debtors.




        3
          Capitalized terms not otherwise defined in this Disclosure Statement have the meanings ascribed to them in the
        Chapter 11 Joint Plan of Reorganization as Proposed by the Debtors, Hillair and the Official Committee of
        Unsecured Creditors (as amended, the “Plan”). A term used but not defined in this Disclosure Statement or the Plan
        has the meaning given to it in the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure, as the case may
        be.




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                The Debtors and Amazon are currently in litigation (the “Amazon Litigation”), wherein
        the Debtors and Hillair argue that Amazon’s actions violate the automatic stay and should be
        enjoined, and wherein Amazon argues that the automatic stay should be lifted to enable Amazon
        to terminate the Amazon Contract.

                The Debtors, the Committee (on behalf of General Unsecured Creditors) and Hillair
        negotiated the terms of the Plan. The Plan provides a $1.5 million carveout for the Debtors’
        estates (the “Estates”), and a trust (the “Creditor Trust”) with litigation claims and potential
        excess from the carveout, after payment of professional fees, in which Class 4 General
        Unsecured Creditors share if they vote in favor of the Plan. The Plan also reorganizes the
        Debtors as of the Effective Date, with Hillair receiving 80% of the equity in the Reorganized
        Debtors, and Class 4 General Unsecured Creditors receiving 20% of the equity in the
        Reorganized Debtors (through the Creditor Trust), if they vote in favor of the Plan. The Plan
        also provides for Hillair to receive the first $5,000,000 of proceeds of the Amazon Litigation,
        with the Creditor Trust to receive 25%, and Hillair to receive 75%, of remaining recoveries from
        the Amazon Litigation thereafter. Moreover, upon the Effective Date, Hillair’s secured claim
        will be reduced from $11,108,500 to $3 million.

                The Debtors, Hillair and the Committee (the “Plan Proponents”) believe that the Plan
        provides more value to the Estates and their constituents than would result from a chapter 7
        conversion. The distribution of cash to creditors shall be in full and complete satisfaction of all
        claims against the Debtors’ Estates. To that end, the Plan provides for the treatment of Claims
        against the Debtors and Equity Interests in the Debtors.

                Pursuant to the Plan, the Creditor Trust will be administered by a Creditor Trustee
        selected by the Committee (in the event Class 4 General Unsecured Creditors vote to accept the
        Plan) or by Hillair (in the event the Class 4 General Unsecured Creditors vote to reject the Plan).
        The Creditor Trustee shall, among other things in his or her discretion, make determinations
        concerning the Estates’ assets that are transferred to the Creditor Trust, resolving disputed
        Claims, prosecuting Causes of Action that are transferred to the Creditor Trust, and making
        Distributions in accordance with the Plan.

                It is estimated that the Plan would enable greater distributions than would be available in
        a chapter 7 liquidation, and that holders of Allowed General Unsecured Claims will receive a
        recovery of approximately $529,000 if the Plan is confirmed, depending on the final amount of
        Allowed General Unsecured Claims.4 If the Plan is not confirmed, it is estimated that the holders
        of Allowed General Unsecured Claims would receive $0 in recovery under a Chapter 7
        liquidation. Creditors are cautioned that the estimate includes a number of assumptions
        with respect to anticipated recoveries and the total Allowed amount of Claims.
        Accordingly, the actual amount of distributions may vary materially, including downward,
        from the amounts projected, and thus anticipated recoveries could materially vary from
        the projections set forth herein.
        4
         This does not include potential recoveries on avoidance actions, or from pending litigation with
        Amazon, because while these may provide a source of additional recovery to General Unsecured
        Creditors, the amount of any such recovery is too uncertain to estimate at this time.




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              THIS EXECUTIVE SUMMARY IS INTENDED SOLELY AS A SUMMARY OF
        CERTAIN PROVISIONS OF THIS DISCLOSURE STATEMENT. YOU SHOULD READ
        THIS DISCLOSURE STATEMENT AND THE PLAN AND EACH OF THEIR RESPECTIVE
        EXHIBITS AND SCHEDULES IN THEIR ENTIRETY PRIOR TO MAKING ANY
        DETERMINATION TO ACCEPT OR REJECT THE PLAN.

             THE DEBTORS BELIEVE THAT THE PLAN WILL ENABLE THEM TO
        ACCOMPLISH THE OBJECTIVES OF CHAPTER 11 AND THAT ACCEPTANCE OF THE
        PLAN IS IN THE BEST INTERESTS OF THE DEBTORS AND THEIR CREDITORS. THE
        DEBTORs URGE CREDITORS TO VOTE TO ACCEPT THE PLAN. HILLAIR HAS
        AGREED TO VOTE TO APPROVE THE PLAN.

             THE COMMITTEE ALSO BELIEVES THAT ACCEPTANCE OF THE PLAN IS IN
        THE BEST INTERESTS OF CREDITORS. THE COMMITTEE HAS ALSO PREPARED A
        LETTER IN SUPPORT OF CONFIRMATION OF THE PLAN, WHICH LETTER IS
        INCLUDED IN THE SOLICITATION PACKAGES. CREDITORS SHOULD REVIEW THE
        CREDITORS’ COMMITTEE’S LETTER IN CONNECTION WITH EVALUATING THE
        PLAN AND DISTRIBUTIONS TO BE MADE UNDER THE PLAN.

        A.         SOLICITATION AND ACCEPTANCE OF PLAN

        1.         General

                This Disclosure Statement is being furnished to holders of Claims in Class 2 (Senior
        Secured Hillair Claims), Class 3 (Other Secured Claims) and Class 4 (General Unsecured
        Claims) (the “Voting Classes”) for the purpose of soliciting their votes on the Plan. This
        Disclosure Statement, or notice of and access to it, is also being furnished to certain other
        creditors and other entities for notice or informational purposes. The primary purpose of this
        Disclosure Statement is to provide adequate information to holders of Claims in the Voting
        Classes to make a reasonably informed decision with respect to the Plan prior to exercising the
        right to vote to accept or reject the Plan.

                A copy of the Disclosure Statement Order entered by the Bankruptcy Court and a notice
        of, among other things, voting procedures and the dates set for objections to and the hearing on
        confirmation of the Plan (the “Notice of Confirmation Hearing”) are also being transmitted with
        this Disclosure Statement. The Disclosure Statement Order and the Notice of Confirmation
        Hearing set forth in detail certain deadlines, procedures, and instructions for casting votes to
        accept or reject the Plan, for filing objections to confirmation of the Plan, the treatment for
        balloting purposes of certain types of Claims and the assumptions for tabulating Ballots.
        Detailed voting instructions accompany each Ballot. Each holder of a Claim within a Class
        entitled to vote should read the Disclosure Statement, the Plan, the Disclosure Statement Order,
        the Notice of Confirmation Hearing, and the instructions accompanying the Ballots in their
        entirety before voting on the Plan. These documents contain important information concerning
        how Claims and Equity Interests are classified for voting purposes and how votes will be
        tabulated.




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        2.         Who Is Entitled to Vote

                Under the Bankruptcy Code, only holders of Claims that are “impaired” are entitled to
        vote to accept or reject the Plan. To be confirmed, the Plan must be accepted by the holders of
        Claims in certain Classes and the Plan must be confirmed by the Bankruptcy Court. See Section
        VIII (“Voting Requirements”) and Section IX (“Confirmation of the Plan”). Class 5, which
        consists of holders of Equity Interests in the Debtor, will receive no Distribution or benefits
        under the Plan, and, therefore, is conclusively deemed to have rejected the Plan, and holders
        therein are not entitled to vote. The Debtors are seeking acceptances of the Plan from holders of
        Claims in Classes 2, 3 and 4. The Claims in all other Classes are Unimpaired, and the holders of
        Claims in Unimpaired Classes are conclusively presumed to have accepted the Plan pursuant to
        section 1126(f) of the Bankruptcy Code and are not entitled to vote. For a description of the
        Classes, Claims and Equity Interests, and their treatment under the Plan, see Section V.B.
        (“Summary of Chapter 11 Plan—Classification of Claims and Equity Interests”), Section V.C.
        (“Summary of Chapter 11 Plan—Treatment of Unclassified Claims Under the Plan”) and
        Section V.C.      (“Summary of Chapter 11 Plan—Treatment of Claims and Equity Interests
        Under the Plan”).

        3.         Ballots

                If you are entitled to vote to accept or reject the Plan, see Section VIII.B. (“Voting
        Requirements—Holders of Claims Entitled to Vote”), a Ballot or Ballots, specific to the Claim
        held, is enclosed for voting on the Plan. If you hold more than one Claim classified in a single
        class of Claims, you must vote all your Claims within that Class to either accept or reject the
        Plan, and may not split your votes within a particular Class; thus, a Ballot (or group of Ballots)
        within a particular Class that partially accepts and partially rejects the Plan shall not be counted.
        Importantly, when you vote, you must use only the Ballot or Ballots sent to you (or copies if
        necessary) with this Disclosure Statement. IN ORDER FOR YOUR BALLOT TO BE
        COUNTED, YOUR BALLOT MUST BE PROPERLY COMPLETED AND RECEIVED
        SO THAT IT IS RECEIVED NO LATER THAN [_________], 2020 AT 5:00 P.M.
        (PREVAILING PACIFIC TIME) BY THE DEBTORS’ COUNSEL AS SET FORTH ON
        THE BALLOT. See Section VIII.A.                (“Voting Requirements—Voting Deadline”) and
        Section VIII.D. 1. (“Voting Requirements—Voting Procedures—Ballots”).

                Prior to the Voting Deadline, if you cast more than one Ballot voting the same Claim, the
        last received, validly executed Ballot received before the Voting Deadline shall be deemed to
        reflect your intent and thus to supersede any prior Ballots. After the Voting Deadline, if you
        wish to change your vote, you can do so, if you meet the requirements of Bankruptcy Rule
        3018(a), by filing a motion with the Bankruptcy Court with sufficient advanced notice so that it
        can be heard prior to the Confirmation Hearing scheduled for [DATE]. Any such application
        must be filed and served in accordance with the procedures set forth in detail in the Disclosure
        Statement Order.

        4.         Inquiries

               If you have any questions about the procedure for voting your Claim or the packet of
        materials you received, please contact the Debtors’ counsel Foley & Lardner LLP (“Debtors’



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        Counsel”), by regular mail at Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles,
        CA 90071, Attn: John Simon and Ashley McDow, or email at jsimon@foley.com and
        amcdow@foley.com.

                If you wish to obtain an additional copy of the Plan, this Disclosure Statement, or any
        exhibits to such documents, at your own expense, unless otherwise specifically required by
        Bankruptcy Rule 3017(d), please contact the Debtors’ Counsel, by regular mail at Foley &
        Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA 90071, Attn: John Simon and
        Ashley McDow, or email at jsimon@foley.com and amcdow@foley.com.

        B.         PLAN OF REORGANIZATION

        1.         Overview of Plan

                The following is a brief summary of certain material provisions of the Plan. For a more
        detailed description of the terms of the Plan, see Section V (“Summary of Chapter 11 Plan”).
        These descriptions are qualified in their entirety by the provisions of the Plan.

                 In accordance with the Plan, (1) holders of Allowed Administrative Expense Claims, will
        be paid in full in Cash, subject to the provisions of the Plan with respect to non-Hillair
        Professional Fee Claims being paid from the Estate Cash Payment and Court approved budgets;
        (2) Allowed Priority Tax Claims will be paid in full within five (5) years after the Petition Date;
        (3) Allowed Class 1 Other Priority Claims will be paid in Cash; and (4) Allowed Class 3 Other
        Secured Claims will receive a like claim in the Reorganized Debtors secured by identical liens to
        the same extent they were secured against the Debtors and paid in full within five (5) years after
        the Petition Date. In addition, Allowed Class 2 Senior Secured Hillair Claims will receive as of
        Plan confirmation the Post-Confirmation Hillair Claim, which will be replaced as of the
        Effective Date with the Post-Effective Date Hillair Claim. Allowed Class 2 Senior Secured
        Hillair Claims will also receive as of the Effective Date, (i) if Class 4 votes to accept the Plan (a)
        the Hillair Causes of Action and (b) 80% of the New Equity Interests in the Reorganized Debtors
        or, (ii) if Class 4 votes to reject the Plan, (a) the Hillair Causes of Action, (b) 100% of the New
        Equity Interests in the Reorganized Debtors and (c) 100% of the Trust Interests in the Creditor
        Trust. Further, in accordance with the Plan, Allowed Class 4 General Unsecured Claims will
        receive, if Class 4 votes to accept the Plan, an allocated Trust Interest entitling them to a Pro
        Rata share of funds available to Holders of Trust Interests (including through the Creditor Trust’s
        receipt of 20% of the New Equity Interests in the Reorganized Debtors, recoveries upon the
        Creditor Trust Claims, the Amazon Creditor Trust proceeds if any, and any remaining amount of
        the Estate Cash Payment), or if Class 4 does not accept the Plan, Class 4 Claims will be
        extinguished and receive no distribution. Equity Interests in Class 5 will not receive any
        distribution on account of such interests. See Section V.B. (“Summary of Chapter 11 Plan—
        Classification of Claims and Equity Interests”) and Section V.C. (“Summary of Chapter 11
        Plan—Treatment of Claims and Equity Interests Under the Plan”).

        2.         Summary of Classification and Treatment under Plan

              The following table summarizes the classification and treatment of prepetition Claims
        and Equity Interests under the Plan. This classification and treatment for all Classes are



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        described in more detail in Section V (“Summary of Chapter 11 Plan”). Estimated Claim
        amounts set forth in the following table are based upon thse Debtors’ books and records. There
        can be no assurance that the actual Claim amounts will not be significantly different from
        the estimates. This table is only a summary of the classification and treatment of Claims and
        Equity Interests under the Plan. Reference should be made to the entire Disclosure Statement
        and the Plan for a complete description of the classification and treatment of Claims and Equity
        Interests. Accordingly, this summary is qualified in its entirety by reference to the provisions of
        the Plan, a copy of which is attached as Exhibit B hereto.

          Class     Type of Claim                      Treatment                          Estimated    Estimated
                      or Equity                                                           Aggregate   Recovery for
                       Interest                                                           Amount of     Allowed
                                                                                           Allowed      Claims
                                                                                           Claims

          1        Other Priority   Unimpaired – not entitled to vote.                                   100%
                   Claims                                                                    $0
                                    The Creditor Trustee shall pay all Allowed
                                    Claims in this Class in full, in Cash, on the later
                                    of: (i) the Effective Date; and (ii) the date on
                                    which an order allowing such Claim becomes a
                                    Final Order, and in each case or as soon thereafter
                                    as is practicable.




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          Class     Type of Claim                       Treatment                           Estimated      Estimated
                      or Equity                                                             Aggregate     Recovery for
                       Interest                                                             Amount of       Allowed
                                                                                             Allowed        Claims
                                                                                             Claims

          2        Senior Secured   Impaired – entitled to vote.
                   Hillair Claims                                                           $11,108,500      49.4%
                                    Prior to the Effective Date, Class 2 shall retain the
                                    Post-Confirmation Hillair Claim, which shall be
                                    Allowed as of the Confirmation Date. On the
                                    Effective Date, in full satisfaction, settlement, and
                                    release of, and in exchange for, the Effective Date
                                    cancellation of Hillair’s prepetition debt, the
                                    provisions      regarding      the    payment      of
                                    Administrative Expense Claims, the funding of
                                    the Estate Cash Payment, and the waiver of the
                                    Hillair Adequate Protection Claim and the Hillair
                                    Deficiency Claim, Holders of Allowed Class 2
                                    Senior Secured Hillair Claims shall receive (i) If
                                    Class 4 accepts the Plan: (a) the Post-Effective
                                    Date Hillair Claim; (b) the Hillair New Equity
                                    Interests, and (c) the Hillair Causes of Action; and
                                    (ii) if Class 4 does not accept the Plan, Holders of
                                    Allowed Class 2 Senior Secured Claims shall
                                    receive: (a) the Post-Effective Date Hillair Claim,
                                    (b) 100% of the New Equity Interests; (c) the
                                    Hillair Causes of Action; and (d) 100% of the
                                    Trust Interests.


          3        Other Secured    Impaired –entitled to vote.                                N/A         100% or the
                   Claims                                                                                   indubitable
                                    On the Effective Date, unless a Holder of an                           equivalent of
                                    Allowed Class 3 Claim agrees to a lesser                              existing Claim
                                    treatment of such claim, in full satisfaction,
                                    settlement, and release of, and in exchange for,
                                    such Other Secured Claim, each Holder of an
                                    Allowed Class 3 Other Secured Claim shall
                                    receive a like such claim in the Reorganized
                                    Debtors, which claims shall (a) be secured by the
                                    identical liens to the same extent they were
                                    secured against the Debtors; and (b) be paid in
                                    full within five years following the Petition Date.




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          4        General     Impaired – entitled to vote.                           $TBD5   $529,0006
                   Unsecured
                   Claims      On the Effective Date, unless a Holder of an
                               Allowed Class 4 Claim agrees to accept a lesser
                               treatment of such Claim, (i) if Class 4 votes to
                               accept the Plan, each Holder of an Allowed Class
                               4 Claim shall receive, in full satisfaction,
                               settlement, and release of, and in exchange for,
                               such General Unsecured Claim, an allocated Trust
                               Interest, which shall entitle the Holder to receive
                               its Pro Rata share of funds available to Holders of
                               Trust Interests pursuant to the Creditor Trust
                               Agreement, or (ii) if Class 4 does not accept the
                               Plan, than Class 4 Claims shall be extinguished
                               and no distribution shall be made on account of
                               such Class 4 Claims under the Plan.

                               The Creditor Trustee shall make Distributions to
                               the Holders of Allowed Class 4 Claims on
                               account of their respective Trust Interests. All
                               Holders of Allowed Class 4 Claims shall receive
                               an initial Distribution of their respective Trust
                               Interests within 120 days following an affirmative
                               recovery on account of the Creditor Trust Claims,
                               or on such other date as the Creditor Trustee
                               determines to be practicable, in the exercise of its
                               sole and absolute discretion, and shall receive
                               thereafter Distributions of their respective Trust
                               Interests on each 180th-day anniversary of the
                               Effective Date, or on such other date as the
                               Creditor Trustee determines to be practicable in
                               the exercise of its sole and absolute discretion.
                               Holders of Allowed Class 4 Claims shall receive
                               any final Distribution of their respective Trust
                               Interests within ten (10) days after the Creditor
                               Trustee’s filing of the Creditor Trustee
                               Certification, or as soon thereafter as is
                               practicable.
                               Conditions to Payment of Distributions:
                               Notwithstanding any other provision to the
                               contrary contained in the Plan, no Distribution
                               shall be made on account of any Allowed Class 4
                               Claim until each of the following occurs: (i) Class
                               4 is determined by the Court to have accepted the
                               Plan; (ii) the Holders of Class 2 have received (a)
                               the Post-Effective Date Hillair Claim; (b) the
                               Hillair New Equity Interests, and (c) the Hillair
                               Causes of Action and (iii) an adequate reserve is
                               established by the Creditor Trustee for purposes
                               of managing and administering the Creditor Trust
                               in an amount to be determined by the Creditor
                               Trustee in the exercise of its sole and absolute
                               discretion.




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            Class    Type of Claim                         Treatment                        Estimated    Estimated
                       or Equity                                                            Aggregate   Recovery for
                        Interest                                                            Amount of     Allowed
                                                                                             Allowed      Claims
                                                                                             Claims

            5       Equity Interests   Impaired – not entitled to vote.                       N/A       0 - Cancelled

                                       As of the Effective Date, each Holder of record of
                                       an Allowed Equity Interest shall not receive a
                                       Distribution under the Plan and all Equity
                                       Interests will be deemed to be cancelled and void




        All calculations of potential recovery hereunder include assumptions with respect to
        estimated recoveries and the amount of claims. Accordingly, the actual amount of
        recoveries may vary and thus recoveries could materially vary from the projections set
        forth herein.

        C.          DESCRIPTION OF OTHER NECESSARY PROCEDURES

                The hearing for the Court to determine whether to confirm the Plan has been scheduled to
        commence on [_______], 2020, at [__] [__].m. (prevailing Pacific Time) before the Honorable
        Julia W. Brand, United States Bankruptcy Judge, of the United States Bankruptcy Court for the
        Central District of California, 255 East Temple Street, Los Angeles, CA 90012. The
        Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without
        further notice, except for the announcement of the adjourned date made in open court, at the
        Confirmation Hearing or at any subsequent adjourned Confirmation Hearing, or on the Court’s
        docket. In addition, except as expressly provided in the Plan, the Plan may be modified pursuant
        to section 1127 of the Bankruptcy Code, prior to, during or as a result of the Confirmation
        Hearing, without further notice to parties in interest. At the Confirmation Hearing, the
        Bankruptcy Court will determine whether the requirements for confirmation of the Plan under
        section 1129 of the Bankruptcy Code have been satisfied and, if appropriate, will enter an order
        confirming the Plan.        See Section VIII (“Voting Requirements”) and Section IX
        (“Confirmation of the Plan”). Both confirmation and consummation of the Plan are subject to
        certain conditions, which may be waived in accordance with the Plan. See Section V.I.
        (“Summary of Chapter 11 Plan—Effectiveness of the Plan—Conditions Precedent”).




        5
         Schedule unsecured claims total approximately $13 million. Filed claims total approximately
        $95 million.
        6
         Estimated total pot available for distribution, not including potential avoidance action or other
        contingent liquidation recoveries.




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                  DISCLOSURE STATEMENT FOR CHAPTER 11 JOINT PLAN OF
              REORGANIZATION AS PROPOSED BY THE DEBTORS, HILLAIR AND THE
                     OFFICIAL COMMITTEE OF UNSECURED CREDITORS

        I.         INTRODUCTION

               The Debtors submit this Disclosure Statement in accordance with section 1125 of the
        Bankruptcy Code, for use in the solicitation of votes on the Chapter 11 Joint Plan of
        Reorganization as Proposed by the Debtors, Hillair and the Official Committee of Unsecured
        Creditors (the “Plan”), which is attached as Exhibit B to this Disclosure Statement.

               This Disclosure Statement sets forth specific information regarding the Debtors’ pre-
        bankruptcy history, significant events that have occurred during the Chapter 11 Cases, the
        proposed reorganization of the Debtors, the treatment of Holders of Claims and Equity Interests
        under the Plan, and the administration of the Creditor Trust by the Creditor Trustee after
        confirmation of the Plan. This Disclosure Statement also describes the Plan, alternatives to the
        Plan, effects of confirmation of the Plan, and certain risk factors. In addition, this Disclosure
        Statement discusses the confirmation process and the voting procedures that holders of Impaired
        Claims must follow for their votes to be counted.

             FOR A DESCRIPTION OF THE PLAN AND VARIOUS RISKS AND OTHER
        FACTORS PERTAINING TO THE PLAN AS IT RELATES TO HOLDERS OF CLAIMS,
        PLEASE SEE SECTION V (“SUMMARY OF CHAPTER 11 PLAN”) AND SECTION VII
        (“CERTAIN FACTORS TO BE CONSIDERED”).      SECTIONS II THROUGH IV
        FOLLOWING THIS INTRODUCTION DISCUSS THE BACKGROUND OF THE DEBTORS’
        BUSINESS AND THE CHAPTER 11 CASES.

        A.         Definitions

               Capitalized terms not otherwise defined in this Disclosure Statement have the meanings
        ascribed to them in the Plan. A term used but not defined in this Disclosure Statement or the
        Plan has the meaning given to it in the Bankruptcy Code and/or the Bankruptcy Rules.

                For purposes herein: (a) in the appropriate context, each term, whether stated in the
        singular or the plural, will include both the singular and the plural, and pronouns stated in the
        masculine, feminine or neutral gender will include the masculine, feminine, and the neutral
        gender; (b) any reference herein to a contract, lease, instrument, release, indenture, or other
        agreement or document being in a particular form or on particular terms and conditions means
        that the referenced document will be substantially in that form or substantially on those terms
        and conditions; (c) any reference herein to an existing document or exhibit having been filed or
        to be filed will mean that document or exhibit, as it may thereafter be amended, modified, or
        supplemented; (d) unless otherwise stated, the words “herein,” “hereof,” and “hereto” refer to the
        Disclosure Statement in its entirety rather than to a particular portion of the Disclosure
        Statement; (e) captions and headings to sections are inserted for convenience of reference only
        and are not intended to be a part of or to affect the interpretation hereof; (f) the rules of
        construction set forth in section 102 of the Bankruptcy Code will apply; and (g) any term used in
        capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or




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        the Bankruptcy Rules will have the meaning assigned to that term in the Bankruptcy Code or the
        Bankruptcy Rules, as the case may be.

        B.         Notice to Holders of Claims in Voting Classes

                This Disclosure Statement is being furnished to holders of Claims in the Voting Classes
        (Class 2 Senior Secured Hillair Claims, Class 3 Other Secured Claims, and Class 4 General
        Unsecured Claims) for the purpose of soliciting their votes on the Plan. This Disclosure
        Statement or notice of this Disclosure Statement is also being furnished to other creditors and
        other entities for notice or informational purposes. The primary purpose of this Disclosure
        Statement is to provide adequate information to holders of Claims in the Voting Classes to
        enable such holders to make a reasonably informed decision with respect to the Plan prior to
        exercising the right to vote to accept or reject the Plan.

               On [_________], 2020, the Bankruptcy Court entered the Disclosure Statement Order
        approving the Disclosure Statement as containing information of a kind and in sufficient detail to
        enable holders of Claims in Voting Classes to make an informed judgment about the Plan. THE
        BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE STATEMENT
        CONSTITUTES NEITHER A GUARANTEE OF THE ACCURACY OR
        COMPLETENESS OF THE INFORMATION CONTAINED HEREIN NOR AN
        ENDORSEMENT OF THE PLAN BY THE BANKRUPTCY COURT.

             IF THE BANKRUPTCY COURT CONFIRMS THE PLAN, THE PLAN WILL BIND
        ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTORS,
        WHETHER OR NOT THEY ARE ENTITLED TO VOTE OR DID VOTE ON THE PLAN
        AND WHETHER OR NOT THEY RECEIVE OR RETAIN ANY DISTRIBUTIONS OR
        PROPERTY UNDER THE PLAN, WHEREVER LOCATED. THUS, IN PARTICULAR, ALL
        HOLDERS OF IMPAIRED CLAIMS AGAINST THE DEBTORS ARE ENCOURAGED TO
        READ THIS DISCLOSURE STATEMENT AND ITS EXHIBITS CAREFULLY AND IN
        THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

               This Disclosure Statement contains important information about the Plan, the Debtors’
        business and operations, considerations pertinent to acceptance or rejection of the Plan, and
        developments concerning the Chapter 11 Cases.

                THIS DISCLOSURE STATEMENT IS THE ONLY DOCUMENT AUTHORIZED BY
        THE BANKRUPTCY COURT TO BE USED IN CONNECTION WITH THE SOLICITATION
        OF VOTES ON THE PLAN. No solicitation of votes may be made except pursuant to this
        Disclosure Statement, and no person has been authorized to use any information concerning the
        Debtors other than the information contained herein. Other than as explicitly set forth in this
        Disclosure Statement, you should not rely on any information relating to the Debtors, their
        Estates, the value of their properties, the nature of their liabilities, or their creditors’ Claims or
        Equity Interests.

             CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
        STATEMENT IS BY ITS NATURE FORWARD-LOOKING AND CONTAINS ESTIMATES,




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        ASSUMPTIONS AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
        ACTUAL FUTURE RESULTS.

                Except as otherwise specifically and expressly stated herein, this Disclosure Statement
        does not reflect any events that may occur subsequent to the date hereof. Such events may have
        a material impact on the information contained in this Disclosure Statement. The Debtors do not
        intend to update the projections. Further, the Debtors do not anticipate that any amendments or
        supplements to this Disclosure Statement will be distributed to reflect such occurrences.
        Accordingly, the delivery of this Disclosure Statement will not under any circumstance imply
        that the information herein is correct or complete as of any time subsequent to the date hereof.

              ANY PROJECTIONS WERE NOT PREPARED WITH A VIEW TOWARD
        COMPLIANCE WITH THE GUIDELINES ESTABLISHED BY THE AMERICAN
        INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS OR THE RULES AND
        REGULATIONS OF THE SECURITIES AND EXCHANGE COMMISSION.
        FURTHERMORE, ANY PROJECTIONS HAVE NOT BEEN AUDITED.          WHILE
        PRESENTED WITH NUMERICAL SPECIFICITY, ANY PROJECTIONS ARE BASED
        UPON A VARIETY OF ASSUMPTIONS, SOME OF WHICH MIGHT NOT BE ACHIEVED
        IN THE FUTURE. THE PROJECTIONS ARE SUBJECT TO SIGNIFICANT
        UNCERTAINTIES AND CONTINGENCIES. CONSEQUENTLY, THE PROJECTIONS
        SHOULD NOT BE REGARDED AS A REPRESENTATION OR WARRANTY BY THE
        DEBTORS OR ANY OTHER PERSON, THAT THE PROJECTIONS WILL BE REALIZED.
        ACTUAL RESULTS MAY VARY MATERIALLY FROM THOSE PRESENTED IN THE
        PROJECTIONS.

             THE FINANCIAL INFORMATION CONTAINED HEREIN HAS NOT BEEN
        AUDITED BY A CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED
        IN ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

              IRS CIRCULAR 230 NOTICE: TO ENSURE COMPLIANCE WITH IRS CIRCULAR
        230, HOLDERS OF CLAIMS AND EQUITY INTERESTS ARE HEREBY NOTIFIED THAT:
        (A) ANY DISCUSSION OF FEDERAL TAX ISSUES CONTAINED OR REFERRED TO IN
        THIS DISCLOSURE STATEMENT IS NOT INTENDED OR WRITTEN TO BE USED, AND
        CANNOT BE USED, BY HOLDERS OF CLAIMS OR EQUITY INTERESTS FOR THE
        PURPOSE OF AVOIDING PENALTIES THAT MAY BE IMPOSED ON THEM UNDER
        THE INTERNAL REVENUE CODE; (B) SUCH DISCUSSION IS WRITTEN IN
        CONNECTION WITH THE PROMOTION OR MARKETING BY THE DEBTORS OF THE
        TRANSACTIONS OR MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF CLAIMS
        AND EQUITY INTERESTS SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
        CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

        C.         Solicitation Package

               Holders of Claims in the Voting Classes as of the Voting Record Date (as defined in the
        Disclosure Statement Order), will receive copies of the following documents (the “Solicitation
        Package”): (a) the Disclosure Statement; (b) a Notice of Confirmation Hearing; (b) a copy of the
        Disclosure Statement Order (excluding exhibits attached thereto), which is annexed to this



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        Disclosure Statement as Exhibit B; (c) an appropriate Ballot to vote to accept or reject the Plan;
        and (d) a letter from the Creditors’ Committee encouraging creditors to vote to accept the Plan,
        as well as any other materials as the Court may direct.

               If you did not receive a Ballot in your package and believe that you should have, please
        contact Foley & Lardner LLP, by regular mail at 555 S. Flower St., 33rd Floor, Los Angeles, CA
        90071, Attn:     John Simon and Ashley McDow, or email at jsimon@foley.com and
        amcdow@foley.com.

        D.         Voting Procedures

                   1. General Information

                Under the Bankruptcy Code, certain Classes of creditors are deemed to accept or reject
        the Plan, and the vote of these Classes will not be solicited. Thus, if a creditor holds Claims
        included within a Class that is not Impaired under the Plan, under Bankruptcy Code section
        1126(f), the creditor is conclusively presumed to have accepted the Plan with respect to such
        Claims, and its vote of such Claims will not be solicited. Pursuant to the Bankruptcy Code, a
        class of claims or interests is “impaired” if the legal, equitable or contractual rights attaching to
        the claims or interests of that class are altered, other than by curing defaults and reinstating
        maturity. The Plan provides that Class 1 is Unimpaired. Similarly, classes which are fully
        impaired are deemed to reject the Plan, and their vote of such Claims will not be solicited. The
        Equity Interests in Class 5 are fully Impaired. Any holder of a Claim in any of these Classes
        may, however, object to the Plan to contest the Plan’s characterization of the creditor’s impaired
        or non-impaired status.

                The Bankruptcy Code provides that the holders of allowed claims are entitled to vote on a
        plan. A Claim to which an objection has been filed is not entitled to vote unless and until the
        Bankruptcy Court rules on the objection and allows the Claim. Consequently, although holders
        of Claims subject to a pending objection may receive Ballots, their votes will not be counted
        unless the Bankruptcy Court (a) prior to the Voting Deadline (as defined herein), rules on the
        objection and allows the Claim, or (b) on proper request under Bankruptcy Rule 3018(a),
        temporarily allows the Claim in an amount which the Court deems proper for the purpose of
        voting on the Plan. If the Debtors have served an objection or request for estimation as to a
        claim at least fourteen (14) days before the Voting Deadline, such claim is temporarily
        disallowed for voting purposes only and not for purposes of allowance or distribution, except as
        ordered by the Court before the Voting Deadline.

                   2. Voting on the Plan

                 If a holder of a Claim is classified in the Voting Classes under the Plan, such holder’s
        acceptance or rejection of the Plan is important and must be in writing and filed by the Voting
        Deadline (as defined herein). The holder of more than one Claim classified in a single class of
        Claims must vote all its Claims within that Class to either accept or reject the Plan, and may not
        split its votes within a particular Class; thus, a Ballot (or group of Ballots) within a particular
        Class that partially accepts and partially rejects the Plan shall not be counted. When voting, a




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        creditor must use only the Ballot or Ballots sent to it (or copies if necessary) with this Disclosure
        Statement.

                After carefully reviewing the Plan, this Disclosure Statement, and the detailed
        instructions accompanying your Ballot, if you received a Ballot, please check the appropriate
        box on the enclosed Ballot to indicate your vote to accept or reject the Plan. PLEASE
        COMPLETE AND SIGN YOUR BALLOT(S) AND RETURN IT SO THAT IT IS
        RECEIVED BY THE DEBTORS’ COUNSEL NO LATER THAN [___], 2020 AT 5:00
        P.M. (PREVAILING PACIFIC TIME) (THE “VOTING DEADLINE”).

             IN ORDER FOR YOUR BALLOT TO BE COUNTED, YOUR BALLOT MUST BE
        PROPERLY COMPLETED AS SET FORTH ABOVE AND IN ACCORDANCE WITH THE
        VOTING INSTRUCTIONS ON THE BALLOT, AND RECEIVED BEFORE THE VOTING
        DEADLINE BY THE DEBTORS’ COUNSEL.

               If you have any questions about the procedure for voting your Claim or the packet of
        materials that you received, please contact the Debtors’ Counsel at the address indicated in
        subsection C above.

                Prior to the Voting Deadline, if you cast more than one Ballot voting the same Claim, the
        last validly executed Ballot received before the Voting Deadline shall be deemed to reflect your
        intent and thus to supersede any prior Ballots. After the Voting Deadline, if you wish to change
        your vote, you can do so, if you meet the requirements of Bankruptcy Rule 3018(a), by filing a
        motion with the Bankruptcy Court with sufficient advance notice so that it can be heard prior to
        the Confirmation Hearing scheduled for [____], 2020. Any such application must be filed and
        served in accordance with the procedures set forth in detail in the Disclosure Statement Order.

               If you wish to obtain a copy of the Plan, this Disclosure Statement, or any exhibits to
        such documents, at your own expense, unless otherwise specifically required by Bankruptcy
        Rule 3017(d), please contact the Debtors’ Counsel, Foley & Lardner LLP, 555 S. Flower St., 33rd
        Floor, Los Angeles, CA 90071, Attn: John Simon and Ashley McDow, or email at
        jsimon@foley.com and amcdow@foley.com.

        E.         Confirmation Hearing

                Pursuant to section 1128 of the Bankruptcy Code and Bankruptcy Rule 3017(c), the
        Bankruptcy Court has scheduled the Confirmation Hearing to commence on [_________], 2020
        at [__] [__].m. (prevailing Pacific Time), or as soon thereafter as counsel may be heard, before
        the Honorable Julia W. Brand, United States Bankruptcy Judge, of the United States Bankruptcy
        Court for the Central District of California, 255 East Temple Street, Los Angeles, CA 90012.
        THE BANKRUPTCY COURT HAS DIRECTED THAT OBJECTIONS, IF ANY, TO
        CONFIRMATION OF THE PLAN MUST BE IN WRITING AND FILED WITH THE
        CLERK OF THE BANKRUPTCY COURT, TOGETHER WITH PROOF OF SERVICE,
        AND SERVED SO THAT THEY ARE RECEIVED ON OR BEFORE [OBJECTION
        DEADLINE], 2020 AT 5:00 P.M. (PREVAILING PACIFIC TIME) BY:




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                   Counsel for the Debtor:

                   FOLEY & LARDNER LLP
                   555 S. Flower St., 33rd Floor
                   Los Angeles, CA 90071
                   Attn: Ashley McDow and John Simon

                   Counsel for Hillair:

                   Olshan, Frome, Wolosky LLP
                   1325 Avenue of the Americas
                   New York, NY 10019
                   Attn: Adam Friedman

                   Buchalter
                   1000 Wilshire Blvd., Suite 1500
                   Los Angeles, CA 90017-2457
                   Attn: Anthony Napolitano

                   Counsel for the Committee:

                   Levene, Neale, Bender, Yoo & Brill, L.L.P.
                   10250 Constellation Blvd., Suite 1700
                   Los Angeles, CA 90067
                   Attn: David Neale and John-Patrick Fritz

                   United States Trustee:

                   Office of the United States Trustee for the Central District of California – Los Angeles
                   Division
                   915 Wilshire Blvd., Suite 1850
                   Los Angeles, CA 90017
                   Attn: Dare Law

               The Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court
        without further notice except for the announcement of the adjourned date made in open court, at
        the Confirmation Hearing or at any subsequent adjourned Confirmation Hearing, or on the
        Court’s docket.

             IN THE VIEW OF THE DEBTORS AND THE COMMITTEE, THE TREATMENT OF
        HOLDERS OF CLAIMS UNDER THE PLAN CONTEMPLATES A GREATER RECOVERY
        FOR SUCH HOLDERS THAN WOULD BE AVAILABLE IN A CHAPTER 7
        LIQUIDATION. ACCORDINGLY, THE DEBTORS AND THE COMMITTEE BELIEVE
        THAT THE PLAN IS IN THE BEST INTERESTS OF HOLDERS OF CLAIMS AND, THUS,
        RECOMMEND THAT ALL HOLDERS OF CLAIMS THAT ARE ENTITLED TO CAST
        BALLOTS VOTE TO ACCEPT THE PLAN.




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        II.        OVERVIEW OF THE DEBTORS AND THEIR BUSINESS

        A.         General

                The Debtors are a leading delivery service provider (“DSP”) company, with operations in
        Southern California, Illinois and Texas. The Debtors provide “last-mile” delivery solutions,
        including same-day, next-day and two-day door-to-door logistics and delivery services that
        utilize vehicles to facilitate fast deliveries of goods from merchant distribution points to
        consumers. The Debtors’ business generates revenues primarily when a customer pays the
        Debtors’ fees for the delivery of products to consumers.

                 The Debtors have grown into a trusted provider of last mile delivery services. The
        Debtors employ approximately 1000 employees, which historically increases during the holiday
        season. The Debtors generated approximately $45 million of revenue in 2019. The Debtors’
        employees are not subject to a collective bargaining agreement. The Debtors’ sole customer is
        Amazon Logistics, Inc. or its affiliates (“Amazon”). The Debtors’ are currently involved in
        litigation with Amazon regarding the Debtors’ request for injunctive relief to bar Amazon from
        terminating their contract with the Debtors or reducing work given to the Debtors, and Amazon’s
        request for relief from the bankruptcy stay in order to terminate its contract with the Debtors, as
        further discussed below.

        B.         Corporate Structure

                Scoobeez Global is a corporation whose common stock is publicly traded on the Over the
        Counter (“OTC”) Pink market, subject to this Court’s Order, Pursuant to Sections 105(a),
        362(a)(3), and 541 of the Bankruptcy Code and Bankruptcy Rule 3001, Establishing Notice and
        Hearing Procedures for Trading in, or Certain Claims of Worthlessness with Respect to, Equity
        Securities [Docket No. 187]. Mr. Shahan Ohanessian owns over 90% of the common stock of
        Scoobeez Global. As of February 18, 2020, Scoobeez Global had 182,486,249 shares of
        common stock owned by 1,651 total shareholders of record. Scoobeez Global also has
        21,650,000 shares of preferred stock outstanding.

               Scoobeez Global is a holding company that owns 96% of the stock of Scoobeez, which is
        the operating company for the Debtors. Scoobeez, in turn, wholly owns the equity interests of
        Scoobur, which is a non-operating entity that has no assets other than trademarks.

        C.         The Debtors’ Prepetition Indebtedness

              On October 7, 2016, Scoobeez Global and Hillair entered into a Securities Purchase
        Agreement pursuant to which Scoobeez Global issued to Hillair that certain 8% Senior Secured
        Convertible Debenture Due October 1, 2018 in the principal amount of $5,800,000 (the “First
        Debenture”).

               On January 30, 2017, Scoobeez Global and Hillair entered into a second Securities
        Purchase Agreement pursuant to which Scoobeez Global issued to Hillair that certain 8% Senior
        Secured Convertible Debenture Due January 1, 2019, in the total amount of $8,584,000 (the
        “Second Debenture”). Under the Second Debenture, Scoobeez Global agreed to pay Hillair the
        principal sum of $8,584,000 plus all other interest and charges due on or before January 1, 2019.


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        The Second Debenture includes the obligations of Scoobeez Global to Hillair due under the First
        Debenture.

                On October 7, 2016, Scoobeez and Scoobur each executed a Subsidiary Guarantee,
        jointly and severally guarantying the repayment of Scoobeez Global’s obligations to Hillair. To
        secure repayment, on or about October 7, 2016, Scoobeez Global, Scoobeez and Scoobur each,
        jointly and severally, executed a Security Agreement granting Hillair a security interest in
        substantially all their assets. Hillair filed financing statements to perfect its security interests.

              As of the Petition Date, the Debtors were obligated to Hillair in the aggregate principal
        amount of $11,108,500.00.

               During the period leading up to the Petition Date, in an attempt to continue operations
        outside of a chapter 11 proceeding, the Debtors also obtained significant loans from unsecured
        merchant cash advance lenders.

        III.       CERTAIN KEY EVENTS LEADING TO THE COMMENCEMENT OF THE
                   CHAPTER 11 CASES

                 The Debtors filed these Chapter 11 Cases due to cash flow issues and prepetition
        litigation claims, which jeopardized their ability to pay their obligations in the ordinary course of
        business.

               Prior to the Petition Date and the agreed separation of their former Chief Executive
        Officer and largest shareholder, Shahan Ohanessian, the Debtors faced allegations of financial
        mismanagement committed by the former Chief Executive Officer. On March 15, 2017, the
        Debtors’ former Chief Financial Officer sent a letter to the Board of Scoobeez Global, alleging
        various actions by Mr. Ohanessian, resulting in the alleged misappropriation of $1.7 million of
        the Debtors’ funds. The Debtors subsequently experienced cash flow shortages, despite
        borrowing additional funds from merchant cash advance companies.

                Subsequently, the Debtors defaulted on their obligations under the Second Debenture,
        including due to the fact that Scoobeez Global did not pay its obligations under the Second
        Debenture in full by the January 1, 2019 maturity date. Hillair provided the Debtors with notice
        of the default on March 19, 2019. Hillair alleged that the misappropriation of funds caused the
        Debtors to eventually default under their obligations.

                As a result, the Debtors became embroiled in litigation with Hillair. On or about April
        22, 2019, Hillair filed a three-count complaint against the Debtors, alleging breach of contract,
        breach of guaranty and replevin and delivery, which is currently pending as case number
        19GDCV00492 in the Superior Court of the State of California, County of Los Angeles, North
        Central District (the “Los Angeles Case”). On or about April 24, 2019, Hillair filed an Ex Parte
        Application to Appoint Receiver, Issue Temporary Restraining Order and Set Order to Show
        Cause Why Receiver Should Not Be Confirmed and Why Preliminary Injunction Should Not Be
        Issued (the “Ex Parte Application”) in the Los Angeles Case. Hillair alleged, among other
        things, that the Debtors had suffered large losses prior to the Petition Date, and the Debtors’
        principal and largest shareholder, Shahan Ohanessian, had engaged in self-dealing and conduct
        that damaged creditors and shareholders, citing among other things the letter from the former


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        Chief Financial Officer. The hearing on the Ex Parte Application was set for May 1, 2019 at
        1:30 p.m.

               Meanwhile, the Debtors also faced other significant litigation claims. These consisted of
        employee, wage and hour and breach of contract and collection litigation claims, including a
        complaint by the former Chief Financial Officer alleging wrongful termination and a lawsuit by
        Avitus, Inc. seeking over $16 million.

                Based upon the defaults under the Second Debenture, the impending action by Hillair to
        have a receiver appointed, and the other litigation and collection efforts the Debtors faced, and
        the Debtors’ inability to operate without further financing or use of cash, the Debtors had no
        viable alternative to a Chapter 11 filing. The Debtors filed these Chapter 11 Cases on April 30,
        2019, prior to the scheduled May 1, 2019 final hearing on the Ex Parte Application by Hillair.

        IV.        OVERVIEW OF CHAPTER 11 CASE

        A.         Commencement

                On April 30, 2019, the Debtors filed voluntary petitions in the Bankruptcy Court for
        relief under chapter 11 of the Bankruptcy Code. The Debtors’ Chapter 11 Cases are being
        jointly administered under the caption In re Scoobeez, et al., Case No. 2:19-bk-14989-WB.

        B.         Parties in Interest

                   1. Court

              The Chapter 11 Cases are pending in the Bankruptcy Court before the Honorable Julia
        W. Brand, United States Bankruptcy Judge for the Central District of California.

                   2. Advisors to the Debtor

               The Debtors retained Foley & Lardner LLP (“Foley”) as their general bankruptcy counsel
        by order dated July 26, 2019 [Docket No. 224]. The Debtors also retained the following
        additional advisors:

                         Brian Weiss of Force Ten Partners LLC was retained by the Debtors as Chief
                          Restructuring Officer, by order dated July 12, 2019 [Docket No. 192].

                         Conway MacKenzie, Inc. (“Conway”) was retained by the Debtors to provide
                          certain financial advisory services, by order dated July 26, 2019 [Docket. No.
                          223].

                         Armory Securities LLC (“Armory”) was retained by the Debtors to provide
                          investment banking services, by order dated September 4, 2019 [Docket No. 302].




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                   3. Official Committee of Unsecured Creditors and Advisors

               On May 20, 2019, the U.S. Trustee appointed the Committee to represent the interests of
        unsecured creditors of Scoobeez and Scoobeez Global, Inc. The members of the Committee are
        Nexgen Capital, LLC, Avitus, Inc., and Minas Sarafian.

              The Committee retained Levene, Neale, Bender, Yoo & Brill, L.L.P. as its general
        bankruptcy counsel, by order dated July 17, 2019 [Docket No. 205].

        C.         Certain Orders in the Chapter 11 Cases

                Although after the Petition Date, the Debtors continued to operate as debtors and debtors-
        in-possession, certain matters, required the Bankruptcy Court’s approval, following notice and
        the opportunity for a hearing in accordance with the Bankruptcy Code and the Bankruptcy Rules.
        Accordingly, the Debtors requested entry of specific orders from the Bankruptcy Court
        authorizing the Debtors to, for instance, pay certain prepetition claims and to continue specific
        prepetition practices essential to its continued business operations during the pendency of the
        Chapter 11 Cases. The Bankruptcy Court granted several “first day” and similar orders
        concerning various matters related to the Debtors’ continued business operations. Included in
        such orders were the following:

                       1. Employee Wage and Benefit Motion

                On May 1, 2019 the Debtors filed their Emergency Motion for Order Authorizing (1) The
        Payment of Prepetition Wages; (2) the Continuation of Employee Programs Postpetition; (3) the
        Withholding and Payment of Payroll Related Taxes, and (4) the Payment of Prepetition Claims
        Relating to Employee Programs [Docket No. 8] (the “Employee Wage and Benefit Motion”). In
        the Employee Wage and Benefit Motion, the Debtors sought entry of an order, among other
        things:

                      authorizing, but not directing, the Debtors, to make payments for wage obligations
                       and benefits, and to reimburse reasonable business expenses of the Debtors’
                       employees; and

                      authorizing and directing banks and financial institutions to receive, honor, process,
                       and pay related checks and electronic payment requests made by the Debtors.

              The Bankruptcy Court entered an order granting in part and denying in part the Employee
        Wage and Benefit Motion by order dated May 15, 2019 [Docket No. 54].

                       2. Cash Collateral Motion

               On May 1, 2019, the Debtors filed their Emergency Motion for Interim Order
        Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Cash Collateral
        Motion”).




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               Through the Cash Collateral Motion, the Debtors sought authority to use Cash Collateral
        covered by liens of Hillair pursuant to a proposed budget. Hillair objected to the Cash Collateral
        Motion.

                The Court entered an order [Docket No. 52], approving the Cash Collateral Motion on a
        specified budget through and including May 14, 2019.

               The Debtors and Hillair entered into subsequent stipulations including budgets, upon
        which the Court granted orders, extending the Debtors’ use of cash collateral.

               The Debtors are currently operating under the Third Stipulation [Docket No. 486]
        regarding their use of cash collateral, agreed among the Debtors, Hillair and the Committee. The
        Third Stipulation was approved by Order of the Court dated December 10, 2019 [Docket No.
        490].

                   3.      Utilities Motion

                On May 16, 2019, the Debtors filed their Emergency Motion for an Order Pursuant to
        Sections 105(a) and 366: (I) Prohibiting Utility Companies from Altering, Refusing, or
        Discontinuing Service, (II) Determining Adequate Assurance of Payment for Future Utility
        Services, and (III) Establishing Procedures for Determining Adequate Assurance of Payment
        [Docket No. 65] (the “Utilities Motion”). In the Utilities Motion, the Debtors sought entry of an
        order, among other things:

                       prohibiting utility companies from altering, refusing, or discontinuing services on
                        account of prepetition amounts outstanding, or on account of any perceived
                        inadequacy of the Debtors’ proposed adequate assurance (as set forth in the Utilities
                        Motion) pending entry of the final order;

                       approving the Debtors’ proposed adequate assurance (as set forth in the Utilities
                        Motion) and the procedure for requesting such adequate assurance; and

                       determining that the utilities companies have been provided with adequate assurance
                        of payment within the meaning of section 366 of the Bankruptcy Code through the
                        process provided in the Utilities Motion.

               The Bankruptcy Court granted the Utilities Motion by order dated June 7, 2019 [Docket
        No. 134].

                   4.      Securities Trading Procedures Motion

               On May 28, 2019, the Debtors filed their Emergency Motion for Order, Pursuant to
        Sections 105(a), 362(a)(3), and 541 of the Bankruptcy Code and Bankruptcy Rule 3001,
        Establishing Notice and Hearing Procedures for Trading In, or Certain Claims of Worthlessness
        with Respect to Equity Securities in Debtor Scoobeez Global, Inc. [Docket No. 104] (the
        “Securities Trading Procedures Motion”). In the Securities Trading Procedures Motion, the
        Debtor Scoobeez Global sought entry of an order, among other things, establishing notice and




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        hearing procedures with respect to trading in Scoobeez Global’s equity securities, and claims for
        tax purposes that such securities are worthless, in order to protect the Debtors’ tax attributes.

               The Bankruptcy Court granted the Securities Trading Motion by order dated July 11,
        2019 [Docket No. 11].

        D.         Statements of Financial Affairs and Schedules of Assets and Liabilities

                The Debtors filed their Statements of Financial Affairs and Schedules of Assets and
        Liabilities (the “Schedules”) on May 29, 2019 [Docket No. 112]. The Schedules reflect the
        assets and liabilities of the Debtors as reflected in the Debtors’ books and records as of the
        Petition Date.

        E.         Filing Deadline for Claims

                On July 9, 2019, the Debtors filed their Motion for Order: (1) Fixing Last Date for Filing
        Proofs of Claim or Interest Other than Administrative Claims; and (2) Approving Form of Notice
        of Bar Date [Docket No. 181] (the “Bar Date Motion”). The Bar Date Motion sought entry of an
        order (a) establishing deadlines and related procedures for filing proofs of claim in respect of
        prepetition claims, including any claims under section 503(b)(9) of the Bankruptcy Code,
        secured claims, and priority claims against the Debtors and (b) approving the form and manner
        of notice thereof.

               The Bankruptcy Court granted the Bar Date Motion by order dated August 2, 2019 (the
        “Bar Date Order”) [Docket No. 244]. The Bar Date Order established September 6, 2019 as the
        deadline for all entities (other than governmental units) holding claims against the Debtors to file
        a Proof of Claim, and November 4, 2019 as the deadline by which a governmental unit was
        required to file a Proof of Claim.

        F.         The Appointment of the Debtors’ Chief Restructuring Officer, the Reorganization
                   of the Board of Directors and the Resignation of the Debtors’ Former Chief
                   Executive Officer

                After filing these Chapter 11 Cases, working with the Committee and Hillair, the Debtors
        took decisive action to address the management and misappropriation concerns that existed prior
        to the Petition Date and stabilize their business. The Debtors obtained use of cash collateral
        from Hillair under agreed stipulations and orders. In connection with obtaining the use of cash
        collateral from Hillair, and resolving concerns of the Committee and then-present requests by the
        Office of the United States Trustee to appoint a chapter 11 trustee, the Debtors obtained the
        agreement of Shahan Ohanessian to (i) step down as Chief Executive Officer; (ii) remove
        himself and his wife and a family member and the rest of the prepetition board of directors, and
        appoint Brian Weiss, the Chief Restructuring Officer, and two independent members to the board
        (one of whom was selected by the Committee); (3) not exercise his shareholder powers to change
        the board composition and (4) generally not be involved with the management or financial affairs
        of Scoobeez or Scoobeez Global. The Debtors also established that the Chief Restructuring
        Officer would have the exclusive right to review and authorize expenses in excess of $10,000, in
        order to address any financial misappropriation concerns going forward.



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               On June 12, 2019, the Court entered an order appointing Brian Weiss of Force Ten
        Partners, LLC as the Debtors’ Chief Restructuring Officer, after the restructuring of the Debtors’
        board of directors.

        G.         The Debtors’ Postpetition Sale Process

                 Having stabilized their business, the Debtors embarked on a process to secure a value-
        maximizing path for the Debtors’ business to exit these Chapter 11 Cases. The Debtors
        determined, in conjunction with their professionals and in consultation with the Committee and
        Hillair, that pursuing a sale or reorganization under Chapter 11 of the Bankruptcy Code provided
        the best option for the Debtors, their customer base, and their creditor constituents.

                In June 2019, the Debtors hired Armory Securities, LLC as their investment banker, to
        market the Debtors’ business for a sale or recapitalization. The Debtors conducted a fulsome
        marketing process, contacting over 200 parties considered after research to be the most likely
        interested bidders, and numerous parties made inquiries as to their interest in the Debtors’
        business.

                On August 29, 2019, the Debtors filed a motion to establish sale and contract assumption
        and assignment procedures to sell their assets to Hillair, as the stalking horse bidder, or to
        another higher bidder at an auction, with terms agreed to among the Debtors, Hillair and the
        Committee. The sale was projected to close in late October or early November, 2019, and would
        have resulted in the exit of the Debtors’ cleansed and restructured business from chapter 11.
        After addressing the difficult alleged prepetition management and financial misappropriation
        issues, and the initial stages of financial instability and dispute amongst the key parties in these
        Chapter 11 Cases, it seemed that a conclusion for the benefit of all constiutents was close at
        hand.

                However, on October 1, 2019, Amazon objected to the assumption and assignment of its
        contract with the Debtors. Furthermore, after lying in wait since the early stages of the Chapter
        11 Cases, Amazon then advised the Debtors and Hillair, in various calls and communications, of
        its decision to terminate its business relationship and contract with the Debtors, notwithstanding
        the Debtors’ good performance as a Delivery Service Provider. Moreover, Amazon reduced the
        routes that would otherwise have been assigned to the Debtors. This caused the destruction of
        the Debtors’ sale process.

                The Debtors, Hillair and the Committee subsequently worked towards formulation of the
        Plan to preserve value in these cases for the Debtors’ estates and constituents, while maintaining
        the Debtors’ claims against and contract and litigation rights against Amazon.

        H.         The Amazon Litigation

              The Debtors believe that Amazon’s actions in respect of the Amazon Contract violate the
        automatic stay and should be enjoined.

                On October 25, 2019, the Debtors filed against Amazon their Complaint for: (1)
        Violation of the Automatic Stay [11 U.S.C. § 362]; (2) Declaratory Judgment; (3) Injunctive
        Relief; and (4) Breach of the Duty of Good Faith and Fair Dealing (the “Complaint”),


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        commencing Adversary Proceeding No. 2:19-ap-01456 (the “Adversary Proceeding”). On
        October 25, 2019, the Debtors also filed in the Adversary Proceeding their Notice of Motion and
        Emergency Motion for Temporary Restraining Order and Preliminary Injunction to Prevent
        Violation of the Automatic Stay [A.P. Docket No. 2].

                On October 28, 2019, Amazon filed Amazon Logistics, Inc.’s Notice of Motion and
        Motion for an Order: (A) Determining That the Automatic Stay Does Not Require Amazon to
        Utilize Debtor’s Services and (B) Modifying the Automatic Stay [Docket No. 393].

                Hillair and the Committee also oppose Amazon’s position, and the dispute in the Amazon
        Litigation is before the Court, including pursuant to the foregoing pleadings and responses and
        supplements in respect of the same. The parties have conducted discovery, including the
        exchange of documents, and deposition of witnesses.

                On February 19, 2020, the Debtors, Amazon and Hillair filed supplemental pleadings in
        respect of the Amazon Litigation. The Court has set a further hearing date on the Amazon
        Litigation for March 16, 2020.

        V.         SUMMARY OF CHAPTER 11 PLAN

        A.         Treatment of Unclassified Claims Under the Plan

                   1. In General

                As provided in section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
        Claims and Priority Tax Claims against the Debtors are not classified for purposes of voting on,
        or receiving Distributions under, the Plan. Holders of such Claims are not entitled to vote on the
        Plan. All such Claims are instead treated separately in accordance herewith and in accordance
        with the requirements set forth in section 1129(a)(9) of the Bankruptcy Code.

                   2. Adequate Protection Claims

              The Hillair Adequate Protection Claim shall be waived as of the Effective Date in partial
        exchange for the treatment provided to the Holder as part of its Class 2 Claim.

                   3. Administrative Expenses

                 Subject to the allowance procedures and deadlines provided herein, the Creditor Trustee
        (or its agent) shall pay to each Holder of an Allowed Administrative Expense Claim, on account
        of the Allowed Administrative Expense Claim, and in full satisfaction thereof, Cash equal to the
        amount of such Allowed Administrative Expense Claim, unless the Holder agrees to other
        treatment. Except as otherwise provided herein or in a prior order of the Bankruptcy Court: (i)
        payment of an Administrative Expense Claim that is an Allowed Claim as of the Effective Date
        shall be made on the later of the Effective Date or the date such payment would have become
        due for payment of such Allowed Administrative Expense Claim in the absence of the Chapter
        11 Cases, whether pursuant to contract or applicable nonbankruptcy law; and (ii) payment of an
        Administrative Expense Claim that becomes an Allowed Claim following the Effective Date
        shall be made on or before the date that is thirty (30) days after an order deeming such



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        Administrative Expense Claim an Allowed Claim becomes a Final Order. Until the Effective
        Date, Administrative Expense Claims (with the exception of monthly, interim or final allowed
        non-Hillair Professional Fee Claims which shall be paid under the court approved cash collateral
        budgets or from the Estate Cash Payment) shall be paid (i) in the ordinary course of business
        from cash on hand and cash flow based on the contractual terms with each respective vendor or
        in the case of any payroll obligation, when the obligation becomes due and payable and (ii) as
        required for confirmation and effectiveness of the Joint Plan. Notwithstanding anything in the
        Plan to the contrary, outstanding and future unpaid and allowed Professional Fee Claims (except
        for Hillair Professional Fees) shall be paid in accordance with the amounts set forth in the Court-
        approved cash collateral budgets (the “Budgeted Professional Fees”) and the Estate Cash
        Payment. The Budgeted Professional Fees shall be paid solely from the Debtors in accordance
        with the applicable Court-approved cash collateral budgets (and shall be capped at the line items
        therein without allowance for any variance and the Estate Cash Payment). The remaining
        balance of the Estate Cash Payment, if any, after reserves in accordance with this Term Sheet,
        shall be transferred to the Creditor Trust on the Effective Date, or retained by the Debtors. For
        the avoidance of doubt, the Estate Cash Payment and Court-approved budgets shall be the sole
        source of payment of Budgeted Professional Fees, provided confirmation of the Joint Plan is
        achieved on or before May 15, 2020.

                   4. Deadlines for Filing Administrative Expense Claims

                 Subject to the allowance procedures and deadlines provided below, the Creditor Trustee
        (or its agent) shall pay to each holder of an Allowed Administrative Expense Claim, on account
        of the Allowed Administrative Expense Claim, and in full satisfaction thereof, Cash equal to the
        amount of such Allowed Administrative Expense Claim, unless the holder agrees to other
        treatment. Except as otherwise provided in the Plan or in a prior order of the Bankruptcy Court:
        (i) payment of an Administrative Expense Claim that is an Allowed Claim as of the Effective
        Date shall be made on the later of the Effective Date or the date such payment would have
        become due for payment of such Allowed Administrative Expense Claim in the absence of the
        Chapter 11 Cases, whether pursuant to contract or applicable non- bankruptcy law; and (ii)
        payment of an Administrative Expense Claim that becomes an Allowed Claim following the
        Effective Date shall be made on or before the date that is thirty (30) days after an order deeming
        such Administrative Expense Claim an Allowed Claim becomes a Final Order.

                All applications for final compensation of Professional Persons for services rendered and
        for reimbursement of expenses incurred on or before the Effective Date pursuant to Bankruptcy
        Code sections 327, 328, 330, 331, 503(b), 507(a)(1) or 1103 (except only for post-petition
        obligations incurred through the Effective Date in the ordinary course of the Debtors’ post-
        petition business and obligations under section 1930 of title 28 of the United States Code) shall
        be filed no later than forty-five (45) days after the Effective Date and be paid in accordance with
        and shall comply with the Budget. Professional Persons and others that do not File such requests
        on or before the Administrative Expense Claims Bar Date shall be barred from asserting such
        Administrative Expense Claims against the Debtors, the Estates, the Reorganized Debtors, the
        Creditor Trust, the Creditor Trustee, or any of their respective property. Objections to
        applications of Professional Persons or others for compensation or reimbursement of expenses
        must be Filed and served on the Creditor Trustee and its counsel, as well as the Professional
        Persons and others to whose application the objection is addressed, in accordance with the



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        Bankruptcy Code, the Bankruptcy Rules or pursuant to any other procedure set forth by an order
        of the Bankruptcy Court.

                   5. Priority Tax Claims

                Allowed Priority Tax Claims shall be paid in full within 5 years of the Petition Date in
        accordance with section 1129(a)(9)(C) of the Bankruptcy Code. Except as otherwise provided in
        section 503(b)(l)(D) of the Bankruptcy Code and 28 U.S.C. § 960, all requests for payment of
        Claims by a governmental unit (as defined under section 101(27) of the Bankruptcy Code) for
        taxes (and for interest and/or penalties related to such taxes) for any tax year or period, all or any
        portion of which occurs or falls within the period from and including the Petition Date through
        and including the Effective Date, and for which no bar date has otherwise been previously
        established or is governing must be Filed on or before the later of: (a) sixty (60) days following
        the Effective Date; or (b) ninety (90) days following the filing of the tax return for such taxes for
        such tax year or period with the applicable governmental unit. Except as otherwise provided in
        section 503(b)(1)(D) of the Bankruptcy Code and 28 U.S.C. § 960, any Holder of a Claim for
        taxes is required to File a request for a payment of the post-petition taxes and other monies due
        related to such taxes. Except as otherwise provided in section 503(b)(l)(D) of the Bankruptcy
        Code and 28 U.S.C. § 960, any Holder of a Claim for taxes which does not File such a Claim by
        the applicable bar date shall be forever barred from asserting any such Claim against the Debtors,
        the Estates, the Reorganized Debtors, the Creditor Trust, the Creditor Trustee, or any of their
        respective property, whether any such Claim is deemed to arise prior to, on, or subsequent to the
        Effective Date, and shall receive no Distribution under the Plan or otherwise on account of such
        Claim.

                   6. Intercompany Claims

                All Intercompany Claims between and among the Debtors are deemed cancelled as of the
        Effective Date.

        B.         Classification of Claims and Equity Interests

                The following table (a) designates the Classes of Claims against, and Equity Interests in,
        the Debtors, (b) specifies the Classes of Claims and Equity Interests that are Impaired by the
        Plan and therefore are deemed to reject the Plan or are entitled to vote to accept or reject the Plan
        in accordance with section 1126 of the Bankruptcy Code, and (c) specifies the Classes of Claims
        and Equity Interests that are Unimpaired by the Plan and therefore are conclusively presumed to
        accept the Plan in accordance with section 1126 of the Bankruptcy Code.

        Class        Description                                       Impairment       Entitled to Vote
             1       Other Priority Claims                              Unimpaired      No (deemed to have
                                                                                             accepted)
             2       Senior Secured Hillair Claims                        Impaired              Yes

             3       Other Secured Claims                                 Impaired               Yes
             4       General Unsecured Claims                             Impaired               Yes



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             5       Equity Interests in Debtor                             Impaired               No
                                                                                            (deemed to have
                                                                                                rejected)


        C.         Treatment of Claims and Equity Interests Under the Plan

                The treatment of Claims and Equity Interests under the Plan is in full and complete
        satisfaction of the legal, contractual, and equitable rights that each Holder or a Claim or Holder
        of an Equity Interest may have in or against the Debtors or their property. This treatment
        supersedes and replaces any agreements or rights which those entities have in or against the
        Debtors or their property. NO DISTRIBUTIONS SHALL BE MADE, AND NO RIGHTS
        SHALL BE RETAINED, ON ACCOUNT OF ANY CLAIM THAT IS NOT AN
        ALLOWED CLAIM.

              1. Class 1: Other Priority Claims

                         (a)     Classification: Class 1 consists of all Claims entitled to priority in right of
                                 payment under section 507(a) of the Bankruptcy Code, except Priority Tax
                                 Claims and Administrative Expense Claims.

                         (b)     Treatment: The Creditor Trustee shall pay all Allowed Claims in this
                                 Class in full, in Cash, on the later of: (i) the Effective Date; and (ii) the
                                 date on which an order allowing such Claim becomes a Final Order, and in
                                 each case or as soon thereafter as is practicable. Class 1 is not Impaired,
                                 and the holders of Claims in Class 1 are not entitled to vote to accept or
                                 reject the Plan.

                   2. Class 2: Senior Secured Hillair Claims

                         (a)     Classification: Class 2 consists of Senior Secured Hillair Claims which
                                 Claims are hereby deemed Allowed in full as of the Confirmation Date

                         (b)     Treatment: Prior to the Effective Date, Class 2 shall retain the Post-
                                 Confirmation Hillair Claim, which shall be Allowed as of the
                                 Confirmation Date. On the Effective Date, in full satisfaction, settlement,
                                 and release of, and in exchange for, the Effective Date cancellation of
                                 Hillair’s prepetition debt, the provisions regarding the payment of
                                 Administrative Expense Claims, the funding of the Estate Cash Payment,
                                 and the waiver of the Hillair Adequate Protection Claim and the Hillair
                                 Deficiency Claim, Holders of Allowed Class 2 Senior Secured Hillair
                                 Claims shall receive (i) If Class 4 accepts the Plan: (a) the Post-Effective
                                 Date Hillair Claim; (b) the Hillair New Equity Interests, and (c) the Hillair
                                 Causes of Action; and (ii) if Class 4 does not accept the Plan, Holders of
                                 Allowed Class 2 Senior Secured Claims shall receive: (a) the Post-
                                 Effective Date Hillair Claim, (b) 100% of the New Equity Interests; (c) the
                                 Hillair Causes of Action; and (d) 100% of the Trust Interests. Class 2 is



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                                Impaired, and the Holders of Claims in Class 2 are entitled to vote to
                                accept or reject the Plan.

                   3. Class 3: Other Secured Claims

                         (a)    Classification: Class 3 Consists of all Other Secured Claims.

                         (b)    Treatment: On the Effective Date, unless a Holder of an Allowed Class 3
                                Claim agrees to a lesser treatment of such claim, in full satisfaction,
                                settlement, and release of, and in exchange for, such Other Secured Claim,
                                each Holder of an Allowed Class 3 Other Secured Claim shall receive a
                                like such claim in the Reorganized Debtors, which claims shall (a) be
                                secured by the identical liens to the same extent they were secured against
                                the Debtors; and (b) be paid in full within five years following the Petition
                                Date. Class 3 is Impaired, and the Holders of Claims in Class 3 are
                                entitled to vote to accept or reject the Plan.

                   4. Class 4: General Unsecured Claims

                         (a)    Classification: Class 4 Consists of all General Unsecured Claims.

                         (b)    Treatment: On the Effective Date, unless a Holder of an Allowed Class
                                4 Claim agrees to accept a lesser treatment of such Claim, (i) if Class 4
                                votes to accept the Plan, each Holder of an Allowed Class 4 Claim shall
                                receive, in full satisfaction, settlement, and release of, and in exchange for,
                                such General Unsecured Claim, an allocated Trust Interest, which shall
                                entitle the Holder to receive its Pro Rata share of funds available to
                                Holders of Trust Interests pursuant to the Creditor Trust Agreement, or (ii)
                                if Class 4 does not accept the Plan, than Class 4 Claims shall be
                                extinguished and no distribution shall be made on account of such Class 4
                                Claims under the Plan. Class 4 is Impaired, and the Holders of Allowed
                                Class 4 Claims are entitled to vote to accept or reject the Plan.

                   5. Class 5: Equity Interests

                         (a)    Classification: Class 5 Consists of Equity Interests.

                         (b)    Treatment:     As of the Effective Date, each Holder of record of an
                                Allowed Equity Interest shall not receive a Distribution under the Plan and
                                all Equity Interests will be deemed to be cancelled and void. Class 5 is
                                Impaired and such Holders are deemed conclusively to have rejected the
                                Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore the
                                Holders of Interests in Class 5 are not entitled to vote to accept or reject
                                the Plan.




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        D.         Acceptance or Rejection of the Plan

                   1. Voting Classes

                Each Holder of an Allowed Class 2, Allowed Class 3 and Allowed Class 4 Claim shall be
        entitled to vote to accept or reject the Plan. No other Holder of a Claim or Interest Equity shall be
        entitled to cast a vote with respect to the Plan.

                   2. Voting Rights of Holders of Disputed Claims

                 A Disputed Claim will not be counted for purposes of voting on the Plan to the extent it
        is disputed, provided an objection to such Claim has been filed no later than seven (7) calendar
        days prior to the deadline for casting ballots on the Plan, unless an order of the Bankruptcy Court
        is entered after notice and a hearing temporarily allowing the Disputed Claim for voting purposes
        under Bankruptcy Rule 3018(a).

                   3. Acceptance by Impaired Classes

                An Impaired Class of Claims shall have accepted the Plan if (i) the Holders (other than
        any Holder designated under section 1126(e) of the Bankruptcy Code) of at least two-thirds in
        dollar amount of the Allowed Claims actually voting in such Class have voted to accept the Plan
        and (ii) more than one-half in number of the Holders (other than any Holder designated under
        section 1126(e) of the Bankruptcy Code) of such Allowed Claims actually voting in such Class
        have voted to accept the Plan.

                   4. Presumed Acceptance/Rejection of the Plan

                Class 1 is unimpaired under the Plan and, therefore, are conclusively presumed by the
        Bankruptcy Code to accept the Plan. Class 5 is not receiving a Distribution under the Plan and
        therefore, for the purpose of the Plan, is conclusively presumed by the Bankruptcy Code to reject
        the Plan.

        E.         Means of Implementation of the Plan

              1. Estate Cash Payment

                The Estate Cash Payment shall be paid into the Escrow Cash Escrow Account on the
        Confirmation Date and shall be held in trust by the Debtors through the Estate Cash Escrow
        Account exclusively for the payment of outstanding unpaid and accrued post-petition
        Professional Fees (excluding Hillair Professional Fees), with any remaining balance after
        reserves for accrued non-Hillair Professional Fees payable to the Creditor Trust (or, if the
        Effective Date does not occur on or before December 1, 2020 or such later date as the Debtors, in
        consultation with the Committee, may agree in writing, the Debtors’ estates, with the Debtors’
        use of such funds being subject to consultation with the Committee). Hillair shall not retain or
        receive any lien, right, title or interest in the Estate Cash Payment after it is made and the Estate
        Cash Payment shall not be subject to the claims of any chapter 7 trustee.




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               The Debtors shall provide notice to the Committee prior to making payments from the
        Estate Cash Payment. On or soon as practicable after the Effective Date, the following shall
        occur with respect to the implementation of the Plan: (i) all acts, documents and agreements
        appropriate to implement the Plan shall be executed; (ii) the Creditor Trustee, as disbursing agent
        under the Plan, shall make all Distributions required to be made on or about the Effective Date of
        the Plan in accordance with the terms and conditions of the Plan; and (iii) the Creditor Trustee,
        as disbursing agent under the Plan, shall fund reserves required to be funded pursuant to the Plan.

                Upon the Effective Date, all transactions and matters provided for under the Plan shall be
        deemed to have been authorized and approved by the Debtors without any requirement of further
        action by the Debtors, or Holders of Equity Interests in the Debtors.

              2. Transfer of the Hillair Causes of Action

                On the Effective Date, the Hillair Causes of Action and all of the rights of the Estates to
        pursue such Hillair Causes of Action shall transfer to Hillair for its own benefit, subject solely to
        the contingent obligation to share the Amazon Creditor Trust Proceeds, if any, free and clear of
        all liens, claims, encumbrances, charges and other interests, and Hillair will be deemed to have
        standing to pursue such claims for all purposes. On and after the Effective Date, the vesting of
        the Hillair Causes of Action from the Estates to Hillair, will be deemed final and irrevocable.

              3. Vesting of the Remaining Assets and Transfer

                On the Effective Date, the Remaining Assets, including the Remaining Causes of Action,
        and all rights of the Estates to pursue such Remaining Causes of Action, and remaining cash of
        the Debtors not used or transferred to the Creditor Trust and reserved to satisfy Allowed
        Administrative Expense Claims (including Claims arising under section 503(b)(9) of the
        Bankruptcy Code), Allowed Priority Tax Claims, or Allowed Other Priority Claims (including
        claims required to be paid upon confirmation and effectiveness of the Plan), and Budgeted
        Professional Fees, separate from the Estate Cash Payment, will vest in the Reorganized Debtors
        free and clear of all claims, liens, encumbrances, charges and other interests. On and after the
        Effective Date, the vesting of the Remaining Assets from the Estates to the Reorganized Debtors,
        will be deemed final and irrevocable subject to the terms of the Plan.

                In connection with the foregoing, the Confirmation Order will provide for the vesting of
        the Remaining Assets to the Reorganized Debtors and for the officers and directors of the
        Remaining Assets to take all actions necessary to effectuate same and to prosecute, settle and
        compromise (including by set-off or recoupment) any and all Remaining Causes of Action,
        without any need for notice to creditors or order or approval of the Bankruptcy Court. As of the
        Effective Date, the Remaining Assets will be free and clear of all liens, claims and interests of
        Holders of Claims and Equity Interests, except as otherwise provided in the Plan.

              4. The Reorganized Debtors

                        (a)    Corporate Action of the Reorganized Debtors

               On and after the Effective Date, the Reorganized Debtors shall have full authority and are
        authorized to take such actions and execute such documents as may be necessary to effectuate


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        the transactions provided for in the Plan. The Reorganized Debtors’ post-Effective Date
        authority shall include the right to operate their business as a going concern to purchase and/or
        sell assets; to commence and prosecute actions and proceedings; to open, maintain and close
        bank accounts and/or other investments on behalf of the Estates; to engage or retain professionals
        and to pay the fees and disbursements thereof; to file tax information and returns as required and,
        in connection therewith, to make such determinations of tax liability, challenge assessments,
        make tax elections, pay taxes and take other, related actions. Subsequent to the Effective Date,
        the Debtors’ charter shall be amended to prohibit the issuance of non-voting securities and to
        otherwise comply with the terms and conditions of section 1123(a)(6) of the Bankruptcy Code.

               On and after the Effective Date, the members of the Board of Directors of the
        Reorganized Debtors are authorized to, and may direct an officer to, issue, execute, deliver, file,
        or record such contracts, securities, instruments, releases, and other agreements or documents
        and take such action as may be necessary or appropriate to effectuate, implement, and further
        evidence the terms and conditions of the Plan and the securities issued pursuant to the Plan in the
        name of, and on behalf of the Reorganized Debtors, without the need for any approvals,
        authorizations, or consents except for those required pursuant to the Plan.

                The adoption of the Amended Certificate and Bylaws, the selection of directors and
        officers of Reorganized Debtors, and all other actions contemplated by the Plan shall be
        authorized and approved in all respects (subject to the provisions of the Plan) by the
        Confirmation Order. All matters provided for in the Plan involving the corporate structure of the
        Debtors or the Reorganized Debtors, and any corporate action required by the Debtors of the
        Reorganized Debtors in connection with the Plan, shall be deemed to have timely occurred in
        accordance with applicable law and shall be in effect, without any requirements or further action
        by the security holders, directors, or managers of the Debtors or Reorganized Debtors. On the
        Effective Date, as applicable, the appropriate officers of the Debtors and /or Reorganized
        Debtors and members of the boards of directors or managers of the Debtors and/or Reorganized
        Debtors are authorized and directed to issue, execute and deliver, and cause the Reorganized
        Debtors to perform, the agreements, documents, securities and instruments contemplated by the
        Plan in the name of and on behalf of the Debtors and/or Reorganized Debtors.

                       (b)    Issuance of New Equity Interests

                On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
        Debtors shall authorize 1,000 shares of New Common Stock, each in the case of Scoobeez and
        Scoobeez Global, each as reorganized, and 1,000 New Membership Interests in the case of
        Scoobur as reorganized. The issuance of the New Equity Interests under the Plan is authorized
        without the need for any further corporate action or without any further action by any Holder of
        Claims or Interests. The New Equity Interests issued under the Plan shall not be subject to
        dilution by any additional shares of common stock within two years after the Effective Date.
        The Reorganized Debtors shall be authorized to enter into and adopt an incentive stock option
        plan for employees and management, as may be determined by the Reorganized Debtors’ Board
        of Directors.

                All of the New Equity Interests issued pursuant to the Plan shall be duly authorized,
        validly issued and, if applicable, fully paid and non-assessable.



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                        (c)    Securities Registration Exemption

                The securities to be issued pursuant to the Plan are to be issued without registration under
        the Securities Act or any similar federal, state or local law in reliance upon the exemptions set
        forth in section 1145 of the Bankruptcy Code. To the extent section 1145 of the Bankruptcy
        Code is inapplicable, these issuances are exempt from registration under the Securities Act or
        any similar federal, state or local law in reliance on the exemption set forth in section 4(2) of the
        Securities Act or Regulation D promulgated thereunder.

                        (d)    Effective Date Funding

                Claims will be funded from the Estate Cash Payment (made on the Confirmation Date)
        and cash on hand as provided for in the Plan. The proceeds of such funding will be used to,
        among other things to repay the Effective Date cash distributions under the Plan and to fund the
        Creditor Trust. A minimum of $25,000 of the Estate Cash Payment shall be used to fund the
        Creditor Trust. Under no circumstances shall Hillair be obligated to fund the Creditor Trust
        other than its consent for the making of the Estate Cash Payment.

              The Reorganized Debtors may execute all documents and enter into all agreements as
        may be necessary and appropriate in connection with such funding.

                        (e)    Corporate Governance and Management of the Reorganized Debtors

                On the Effective Date, the Boards of Directors, management structure and initial officers
        of the Reorganized Debtors shall consist of those Persons chosen by Hillair and set forth in the
        Plan Supplement.

              5. Withdrawal of the Committee Challenge

                On the Confirmation Date and upon the payment and delivery of the Estate Cash
        Payment, the Creditors’ Committee shall irrevocably waive any and all challenges to Hillair’s
        Claims against the Debtors and related liens and the Challenge Period (as defined in the Cash
        Collateral Orders) shall terminate.

              6. Working Capital Requirement

                The Debtors shall maintain the Minimum Working Capital Requirement until the
        Effective Date.

              7. Estate Causes of Action

                 Subject to the terms of the Plan, the right to enforce, file, litigate, prosecute, settle,
        adjust, retain, enforce, collect and abandon on behalf of the Debtors and the Estates any and all
        Estate Causes of Action, is deemed automatically transferred on the Effective Date from the
        Estates to Hillair, the Creditor Trust, and the Reorganized Debtors, and as divided amongst them
        respectively as set forth in the Plan (each, a “Post-Effective Date Claimant”).




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                 As of the Effective Date, each Post Effective Date Claimant shall be authorized to
        exercise and to perform the rights, powers and duties held by the Estates with respect to the
        respective Estate Causes of Action assigned or vested to it under the Plan and, from and after the
        Effective Date, each Post-Effective Date Claimant, solely with respect to the applicable Estate
        Causes of Action assigned or vested to it under the Plan, shall have the sole and exclusive right,
        to file, litigate, prosecute, settle, adjust, retain, enforce, collect and abandon claims and interests
        of the Estates with respect to the such Estate Causes of Action without the consent or approval of
        any third party, and without any further approval or order of the Bankruptcy Court.

                Unless an Estate Cause of Action is expressly waived, relinquished, released,
        compromised, or settled in the Plan or in any Final Order, such Estate Cause of Action is
        expressly reserved for later adjudication by the respective Post-Effective Date Claimant
        (including any Estate Causes of Action of which the Debtors presently may be unaware, or
        which may arise or exist by reason of facts or circumstances unknown to the Debtors at this time,
        or facts or circumstances which may change or be different from those which the Debtors now
        believe to exist) and, therefore, neither the failure of the Debtors to list any such Estate Causes of
        Action in their schedules or elsewhere, nor any preclusion doctrine, including the doctrines of res
        judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial,
        equitable, or otherwise), or laches shall apply to the applicable Post-Effective Date Claimant’s
        prosecution of Estate Causes of Action based on the Disclosure Statement, the Plan, or the
        Confirmation Order. Without limiting the generality of the foregoing, any Person with respect to
        which the Debtors has incurred an obligation (whether on account of services, purchase or sale of
        property, or otherwise), or who has received services from the Debtors or a transfer of money or
        property of the Debtors, or who has transacted business with the Debtors, should assume that
        such obligation, transfer, or transaction may be evaluated by the Reorganized Debtors
        subsequent to the Effective Date and may be the subject of an Avoidance Action or other action
        or proceeding filed after the Effective Date. Without limiting the foregoing reservation of
        rights, a non-exclusive description of Estate Causes of Action shall be included in the Plan
        Supplement.

             THE PLAN PROPONENTS HAVE NOT COMPLETED ANY INVESTIGATION
        REGARDING THE EXISTENCE OF ESTATE CAUSES OF ACTION. AS A RESULT,
        ALL PARTIES-IN-INTEREST ARE HEREBY ADVISED THAT, NOTWITHSTANDING
        THE FACT THAT THE EXISTENCE OF ANY PARTICULAR ESTATE CAUSE OF
        ACTION MAY NOT BE LISTED, DISCLOSED OR SET FORTH IN THE PLAN, PLAN
        SUPPLEMENT OR SCHEDULES, AN ESTATE CAUSE OF ACTION MAY BE FILED
        AGAINST ANY CREDITOR OR OTHER PARTY AS THE CREDITOR TRUSTEE,
        HILLAIR, OR REORGANIZED DEBTORS, AS APPLICABLE, MAY DETERMINE, IN
        THE EXERCISE OF THEIR SOLE AND ABSOLUTE DISCRETION.

              8. Establishment of the Creditor Trust

                   (a)   Generally

                On the Effective Date the Creditor Trust Agreement will become effective, and, if not
        previously signed, the Debtors and the Creditor Trustee will execute the Creditor Trust
        Agreement. The Creditor Trust is organized and established as a trust for the benefit of the



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        Beneficiaries and is intended to qualify as a Creditor Trust within the meaning of Treasury
        Regulation Section 301.7701-4(d).

                   (b)   Beneficiaries

               In accordance with Treasury Regulation Section 301.7701-4(d), the Beneficiaries of the
        Creditor Trust will be the Holders of all Allowed Class 4 Claims against the Debtors but, if Class
        4 does not accept the Plan, the Beneficiaries of the Creditor Trust will be the Holders of all
        Allowed Class 2 Claims. The Holders of such Allowed Claims will receive an allocation of the
        Creditor Trust Assets as provided for in the Plan and the Creditor Trust Agreement. The
        Beneficiaries of the Creditor Trust shall be treated as the grantors and owners of such
        Beneficiaries’ respective portion of the Creditor Trust.

                   (c)   Implementation of the Creditor Trust

                On the Effective Date, the Debtors, on behalf of the Estate, and the Creditor Trustee will
        be authorized and directed to take all such actions as required to transfer to the Creditor Trust,
        from the Debtors and Estates, the Debtors’ Assets in accordance with the Plan. From and after
        the Effective Date, the Creditor Trustee will be authorized to, and will, take all such actions to
        implement the Creditor Trust Agreement and the provisions of the Plan as are contemplated to be
        implemented by the Creditor Trustee, including directing Distributions to Holders of Allowed
        Claims, objecting, compromising and settling Claims (including exercising set-off or recoupment
        rights and/or seeking the subordination and/or reclassification of Claims), prosecuting or
        otherwise resolving Creditor Trust Claims and causing Distributions from the Creditor Trust to
        be made to the Beneficiaries. The funding of the Creditor Trust will be from the Debtors’ Cash
        on hand as of the Effective Date (which in turn is funded from the contributions of the Senior
        Secured Creditor), the remainder of the Estate Cash Payment (which shall not be less than
        $25,000) and the proceeds of the Creditor Trust Assets.

                   (d)   Transfer of the Creditor Trust Assets

                On the Effective Date, pursuant to the Plan and sections 1123, 1141 and 1146(a) of the
        Bankruptcy Code, the Debtors are authorized and directed to transfer, grant, assign, convey, set
        over, and deliver to the Creditor Trustee all of the Debtors’ and Estate’s right, title and interest in
        and to the Creditor Trust Assets, including all Creditor Trust Claims, free and clear of all liens,
        Claims, encumbrances or interests of any kind in such property, except as otherwise expressly
        provided in the Plan. To the extent required to implement the transfer of the Creditor Trust
        Assets from the Debtors and Estates to the Creditor Trust, all Persons will cooperate with the
        Debtors and Estates to assist the Debtors and Estates to implement said transfers.

                   (e)   Appointment of Creditor Trustee

                On the Effective Date, the appointment of the Creditor Trustee shall become effective
        and the Creditor Trustee shall begin to administer the Creditor Trust pursuant to the terms of the
        Creditor Trust Agreement and the Plan and may use, acquire and dispose of property of the
        Creditor Trust free of any restrictions imposed under the Bankruptcy Code. The Creditor Trustee
        shall have the rights, powers and duties provided for by the Plan, the Creditor Trust Agreement,
        and by the Confirmation Order. The Creditor Trustee, in the exercise of its reasonable business


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        judgment, shall be responsible for asserting the Creditor Trust Claims of the Debtors, and for
        making Distributions to Holders of Claims in as efficient, effective and economical manner as is
        reasonably practicable so as to produce for Holders of Claims as favorable a recovery on their
        Claims as is reasonably possible under the circumstances of this case.

                The Confirmation Order will provide the Creditor Trustee with express authority to
        convey, transfer and assign any and all of the Creditor Trust Assets and to take all actions
        necessary to effectuate same and to prosecute, settle and compromise (including by set-off or
        recoupment) any and all Creditor Trust Claims and Disputed Claims, without any need for notice
        to creditors or order or approval of the Bankruptcy Court. As of the Effective Date, the Creditor
        Trust Assets will be free and clear of all liens, claims and interests of Holders of Claims and
        Equity Interests, except as otherwise provided in the Plan.

                       (f)     Representative of the Estate

                 The Creditor Trustee will be appointed as the representative of the Debtors’ Estates
        pursuant to sections 1123(a)(5), (a)(7) and (b)(3)(B) of the Bankruptcy Code and as such will be
        vested with the authority and power (subject to the Creditor Trust Agreement) to inter alia: (i)
        object to, settle and compromise Claims (including any Administrative Expense Claim) against
        the Debtors (including exercising set-off or recoupment rights and/or seeking the subordination
        and/or reclassification of Claims) and Equity Interests in the Debtors; (ii) administer, investigate,
        prosecute, settle and abandon all Creditor Trust Claims assigned to the Creditor Trust; (iii) make
        Distributions provided for in the Plan, including on account of Allowed Claims; and (iv) take
        such action as required to administer, wind-down, and close the Chapter 11 Cases. Except only
        for the filing of a final decree to close the Chapter 11 Cases pursuant to Rule 3022 of the
        Bankruptcy Rules, the Creditor Trustee may take, as representative of the Estate, all acts to
        implement and consummate the Plan and the Creditor Trust Agreement, including the acts set
        forth in this Section, without any need for notice to creditors or order or approval of the
        Bankruptcy Court. As the representative of the Estates, the Creditor Trustee will be vested with
        all of the rights and powers of the Debtors and Estates with respect to all Creditor Trust Claims
        assigned and transferred to the Creditor Trust, and the Creditor Trustee will be substituted in
        place of the Debtors and Estates, as applicable, as the party in interest in all such litigation
        pending as of the Effective Date. For the avoidance of doubt, however, all Remaining Causes Of
        Action shall be transferred to the Reorganized Debtors, who shall be will be vested with all of
        the rights and powers of the Debtors and Estates with respect to all Remaining Causes of Action
        and transferred to the Reorganized Debtors, and the Reorganized Debtors will be substituted in
        place of the Debtors and Estates, as applicable, as the party in interest in all such litigation
        pending as of the Effective Date.

               From and after the Effective Date, the Creditor Trustee shall, without any further notice
        or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable legal,
        professional, or other fees and expenses related to implementation and consummation of the Plan
        and Creditor Trust Agreement incurred by the Creditor Trust.




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                       (g)     Creditor Trust Assets

                Unless otherwise expressly provided under the Plan, on the Effective Date, the Creditor
        Trust Assets will vest in the Creditor Trust free and clear of all claims, liens, encumbrances,
        charges and other interests, subject to the provisions of the Plan. On and after the Effective Date,
        the transfer of the Creditor Trust Assets from the Estate to the Creditor Trust will be deemed
        final and irrevocable and Distributions may be made from the Creditor Trust.

                       (h)     Provisions Relating to Federal Income Tax Compliance

                A transfer to the Creditor Trust shall be treated for all purposes of the Internal Revenue
        Code of 1986, as amended (the “Internal Revenue Code”), as a transfer to creditors to the extent
        creditors are Beneficiaries. For example, such treatment shall apply for purposes of Internal
        Revenue Code sections 61(a)(12), 483, 1001, 1012 and 1274. Any such transfer shall be treated
        for federal income tax purposes as a deemed transfer to the beneficiary-creditors followed by a
        deemed transfer by the beneficiary-creditors to the Creditor Trusts. The Beneficiaries of the
        Creditor Trust shall be treated for federal income tax purposes as the grantors and deemed
        owners of the Creditor Trust.

                       (i)     Cooperation with Creditor Trustee

                All Holders of Claims, Holders of Equity Interests and other parties-in-interest shall
        cooperate with the Creditor Trustee by executing any documents, and by taking any acts,
        appropriate to implement the provisions of the Plan.

                       (j)     Compensation of the Creditor Trustee/Removal of the Creditor Trustee

                On the Effective Date of the Plan, the Creditor Trustee shall be appointed to serve under
        the Plan and the Creditor Trust Agreement. The Creditor Trustee’s compensation shall be as
        provided in the Creditor Trust Agreement. The Creditor Trustee shall serve during the term of
        the Plan; provided, however, that, upon motion made with notice and an opportunity for a
        hearing given to the Post-Effective Date Notice Parties, any party-in-interest shall be entitled to
        request, for cause shown, that the Bankruptcy Court terminate the employment of the Creditor
        Trustee and replace it with another Person, who if appointed by Final Order of the Bankruptcy
        Court, will have all of the rights, powers and duties provided to the Creditor Trustee by the Plan,
        the Creditor Trust Agreement, the Confirmation Order and by the provisions of the Final Order
        of the Bankruptcy Court appointing such replacement Creditor Trustee.

               Upon any resignation, death, disability or inability to serve of the Creditor Trustee
        (“Creditor Trustee Service Termination Event”), the members of the Committee as of the
        Confirmation Date may appoint a replacement Creditor Trustee after notice to the Post-Effective
        Date Notice Parties. In the event that no replacement Creditor Trustee is appointed within sixty
        (60) days after the date of any Creditor Trustee Service Termination Event, the Office of the
        United States Trustee may, after notice and an opportunity for hearing, request that the Chapter
        11 Cases be converted to cases under chapter 7 of the Bankruptcy Code.




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                       (k)     Funding of Post-Effective Date Plan Expenses

                The Creditor Trust shall be entitled to incur, and to be reimbursed for, Post-Effective
        Plan Expenses in performing its duties and obligations under the Plan and Creditor Trust
        Agreement. All Post-Effective Date Plan Expenses shall be expenses of the Creditor Trust. The
        Creditor Trustee shall have no personal liability for any Post-Effective Date Plan Expenses. The
        Creditor Trustee shall disburse funds from the Creditor Trust Assets for the purpose of funding
        the Post- Effective Date Plan Expenses.

                       (l)     Post-Effective Date Professional Fees

                The Creditor Trustee may employ, without any need to give notice to Holders of Claims
        or other parties-in-interest or obtain any approval of the Bankruptcy Court, any professional to
        aid the Creditor Trustee in performing the Creditor Trustee’s duties under the Plan or the
        Creditor Trust Agreement, as the Creditor Trust deems appropriate in the exercise of its sole and
        absolute discretion, including professionals who were employed by the Debtors or the
        Committee in the Chapter 11 Cases. Any professional employed by the Creditor Trustee after the
        Effective Date shall be entitled to obtain from the Creditor Trustee payment of the professional’s
        fees and costs as a Post-Effective Date Plan Expense, in the ordinary course, without any need to
        give notice to Holders of Claims or other parties-in-interest or to obtain any approval or order of
        the Bankruptcy Court. Notwithstanding the foregoing, if the Creditor Trustee should fail to pay
        any post-Effective Date fees and costs of a professional entitled to such payment, within thirty
        (30) days after the professional’s rendering of its billing statement, the professional shall be
        entitled to seek, by application filed in accordance with the Bankruptcy Rules, an order of the
        Bankruptcy Court requiring the Creditor Trustee to forthwith pay to the professional its fees and
        costs.

                       (m)     Approval for Disposition of Assets

                From and after the Effective Date, the Creditor Trustee shall be entitled to sell, transfer,
        assign, encumber or otherwise dispose of any interest in any of the Creditor Trust Assets,
        without any need to give notice to Holders of Claims or parties-in-interest or to obtain any
        approval or order of the Bankruptcy Court. Notwithstanding the foregoing, the Creditor Trustee
        shall be entitled to seek, from the Bankruptcy Court, an order authorizing the sale of any Creditor
        Trust Asset free and clear of liens pursuant to the provisions of section 363(f) of the Bankruptcy
        Code.

                       (n)     Compromise of Controversies

                From and after the Effective Date, the Creditor Trustee shall be entitled to compromise
        any objections to a Disputed Claim, or any controversies relating to Creditor Trust Claims after
        the Confirmation Date, without any need to give notice to creditors or parties-in-interest or to
        obtain any approval or order of the Bankruptcy Court.

                       (o)     Bankruptcy Court Approval Relative to Post-Confirmation Matters

               Nothing contained in the Plan shall be deemed to impair in any manner the right of the
        Creditor Trustee to seek at any time after the Effective Date orders of the Bankruptcy Court


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        approving actions to be taken, or granting relief, consistent with the Plan as may be necessary or
        desirable to effectuate the provisions of the Plan.

                       (p)     Creditor Trustee Certification

                On or before the date upon which the Creditor Trustee determines, in the exercise of its
        sole and absolute discretion, that all Creditor Trust Claims and objections to Disputed Claims
        have been resolved by Final Order, that all other Creditor Trust Assets have been liquidated or
        otherwise disposed of, and that all Distributions required to be made under the Plan have been
        made or that final Distributions are being made or will be made within ten (10) days or as soon
        thereafter as is practicable by the Creditor Trustee, the Creditor Trustee shall file with the
        Bankruptcy Court and serve upon the Office of the United States Trustee and any other Post-
        Effective Date Notice Party a certification attesting to such determination (“Creditor Trustee
        Certification”).

                       (q)     Final Decree

                Unless earlier filed by the Creditor Trustee, by the thirtieth (30th) day after the filing of
        the Creditor Trustee Certification, the Creditor Trustee shall file, in accordance with Rule 3022
        of the Chapter 11 Bankruptcy Rules, an application with the Bankruptcy Court to obtain a final
        decree to close the Cases.

                       (r)     Other Rights, Powers and Duties of Creditor Trustee

               In addition to the rights, powers and duties granted expressly to the Creditor Trustee
        pursuant to the Plan, the Creditor Trustee shall have such other rights, powers and duties that are
        appropriate to implement and to carry out the provisions of the Plan for the benefit of Holders of
        Claims that are not inconsistent with the provisions of the Plan.

                       (s)     Resolution of Disputes

                In the event that a dispute should arise between the Creditor Trustee and any party-in-
        interest in the Chapter 11 Cases regarding any matters pertaining to the Plan, the Creditor Trust
        Agreement or pertaining to the Creditor Trustee’s performance of its duties and exercise of its
        rights, powers and remedies under the Plan, either of them may request, pursuant to the
        provisions of the Bankruptcy Rules, that the Bankruptcy Court resolve the merits of such dispute.

                       (t)     Termination of Employment of Creditor Trustee

                Upon the Case Closing Date, the rights, powers and duties granted to the Creditor
        Trustee hereunder or under the Creditor Trust Agreement shall terminate and the Creditor
        Trustee shall be discharged.

                       (u)     Bar Date for Filing Avoidance Action Payment Claims

                Any Avoidance Action Payment Claim shall be forever barred, shall not be enforceable
        against the Debtors, the Estates or the Creditor Trust and shall not be entitled to any Distribution
        under the Plan, unless a proof of Claim for such Avoidance Action Payment Claim is filed and



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        served on the Creditor Trustee within thirty (30) days after the later of (a) the date of entry of the
        order of the Bankruptcy Court adjudging the creditor’s liability to the Debtors on account of such
        Avoidance Action, or (b) the Effective Date.

                         (v)    Payment of Fees and Expenses of Creditor Trustee

               The fees and expenses incurred by the Creditor Trustee, in connection with the
        performance of its duties as disbursing agent under the Plan, shall be paid from the Creditor
        Trust Assets.

                         (w)    Books and Records transferred to the Creditor Trustee

                Upon the Case Closing Date, the Creditor Trustee shall be authorized, in the exercise of
        its sole and absolute discretion, to discard or destroy any and all pre-Effective Date books and
        records of the Debtors that are in the Creditor Trustee’s custody or control. The Creditor Trustee
        shall continue to preserve post-Effective Date books and records in its custody or control through
        the Case Closing Date, or as otherwise provided by order of the Bankruptcy Court.

                   9. Cancellation of Existing Securities and Agreements

                 On the Effective Date, the Equity Interests in the Debtors, shall be deemed, and shall be,
        cancelled and shall be of no further force and effect, whether surrendered for cancellation or
        otherwise. Similarly, on the Effective Date, except (a) as otherwise specifically provided for in
        the Plan, (b) with respect to unexpired leases that have been assumed by the Debtors, (c) for
        purposes of evidencing a right to Distributions under the Plan, or (d) with respect to any Claim
        that is Allowed under the Plan, on the Effective Date, any instruments or documents evidencing
        any Claims or Interests shall be deemed automatically canceled and deemed surrendered without
        further act or action under any applicable agreement, law, regulation, order, or rule and the
        obligations of the Debtors under the agreements, instruments, and other documents, indentures,
        and certificates of designations governing such Claims and Interests, as the case may be, shall be
        discharged.

                   10. Substantive Consolidation

                 At the Effective Date, the Estates of all of the Debtors are substantively consolidated,
        and all assets of the Debtors shall be considered to be assets of the consolidated Estates. Any
        Allowed Claim against any of the Debtors shall be treated as an Allowed Claim against the
        consolidated Estates. Any Allowed Claim asserted against any Debtor that is also asserted
        against any other Debtor on the grounds that such other Debtor is a co-debtor, surety, guarantor,
        or is otherwise liable with respect to such Allowed Claim shall be treated as a single Allowed
        Claim against the consolidated Estates. On the Effective Date, none of the Debtors will hold any
        Claims or Interests in or against any other Debtor and such Claims are disallowed.

                   11. Issuance and Execution of Plan Related Documents

               As of the Effective Date, the Debtors, Hillair, the Reorganized Debtors and/or the
        Creditor Trustee will execute such amendments, modifications, supplements, and other
        documents as may be reasonably appropriate to implement the Plan. The Debtors, the



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        Reorganized Debtors and/or the Creditor Trustee are authorized to execute such amendments,
        modifications, supplements and other documents as provided for in the Plan without any further
        corporate action, and upon such execution, such amendments, modifications, supplements and
        other documents as provided for in the Plan shall be deemed binding upon the Debtor, the
        Reorganized Debtors and/or the Creditor Trustee and such other parties as applicable.

                   12. Dissolution of the Committee

                From and after the Effective Date, the Committee shall be dissolved and the Committee
        shall cease to exist and its members, designated representatives and/or agents (including
        attorneys and other advisors and agents) shall, subject to those matters set forth below, be
        released and discharged from any further authority, duties, responsibilities and obligations
        relating to, arising from, or in connection with the Committee. The Committee shall continue to
        exist after such date solely with respect to all the applications filed pursuant to sections 330 and
        331 of the Bankruptcy Code seeking payment of fees and expenses incurred by any professional.

        F.         Distributions Under the Plan

              1. In General

               Except as otherwise provided herein, or as may be ordered by the Bankruptcy Court,
        Distributions to be made on account of Allowed Claims, other than Allowed Class 4 Claims,
        shall be made on or soon as reasonably practicable after the Effective Date. The date(s) for
        Distributions to be made on account of Allowed Class 4 Claims shall be selected by the Creditor
        Trustee in accordance with the Creditor Trust Agreement.

              2. Manner of Payment Under the Plan

                Any payment of Cash made by the Creditor Trustee pursuant to the Plan may be made
        either by check drawn on a domestic bank or by wire transfer from a domestic bank, at the option
        of the Creditor Trustee.

              3. Manner of Distribution of Other Property

               Any Distribution under the Plan of property other than Cash shall be made by the
        Creditor Trustee (or its agent) in accordance with the terms of the Plan.

              4. Set-offs.

                The Creditor Trustee may set off against any Claim and the payments to be made
        pursuant to the Plan in respect of such Claim, any claims of any nature whatsoever that the
        Debtors, Estates or the Creditor Trust may have against the Holder of such Claim; provided that
        neither the failure to effect such set-off nor the allowance of any Claim that otherwise would be
        subject to set- off, shall constitute a waiver or release by the Debtors, Estates or Creditor Trust of
        any such claim that the Debtors, Estates or Creditor Trust may have against such Holder.




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              5. Distribution of Unclaimed Property

               Except as otherwise provided in the Plan, any Distribution of property (Cash or
        otherwise) under the Plan which is unclaimed after the later of (i) one hundred eighty (180) days
        following the Effective Date or (ii) ninety (90) days after such Distribution has been remitted to
        the Holder of the Allowed Claim, shall be deemed Available Cash and distributed as provided
        for under the Plan.

              6. De Minimis Distributions.

               No cash payment of less than fifty dollars ($50.00) shall be made by the Creditor Trustee
        to any Holder of a Claim unless a request therefor is made in writing to the Creditor Trustee.

              7. Saturday, Sunday or Legal Holiday

                If any payment or act under the Plan is required to be made or performed on a date that is
        not a Business Day, then the making of such payment or the performance of such act may be
        completed on the next succeeding Business Day, but shall be deemed to have been completed as
        of the required date.

              8. Delivery of Distributions, Address of Holder

                 For purposes of all notices and Distributions under the Plan, the Creditor Trustee shall be
        entitled to rely on, and Distributions to Holders of Allowed Claims shall be made by regular U.S.
        first class mail to, the following name and address for the Holder of each such Claim: (a) the
        address set forth in the proof of Claim Filed by such Holder; (b) the address set forth in any
        written notice of address change delivered by the Holder to the Debtors or the Creditor Trustee
        after the date on which any related proof of Claim was Filed, or (c) the address reflected on the
        Schedules if no proof of Claim is Filed and neither the Debtors nor the Creditor Trustee have
        received a written notice of a change of address. The Creditor Trustee shall be under no duty to
        attempt to locate Holders of Allowed Claims who are entitled to unclaimed Distributions.

              9. Payment of Fees and Expenses of Creditor Trustee

               The fees and expenses incurred by the Creditor Trustee, in connection with the
        performance of its duties as disbursing agent under the Plan, shall be paid from the Creditor
        Trust Assets.

              10.    Approval for Schedule of Proposed Distributions

               In the discretion of the Creditor Trustee, the Creditor Trustee shall be entitled to prepare a
        preliminary schedule of proposed Distributions to Holders of Claims (“Distribution Schedule”),
        and to apply, on an expedited basis, for an order of the Bankruptcy Court approving the making
        of such Distributions pursuant to the Distribution Schedule. Notice of any such application shall
        be served on the Post-Effective Date Notice Parties or as otherwise determined by the
        Bankruptcy Court.




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              11.      Further Assurances Regarding Distributions

               As a condition to obtaining Distributions under the Plan, each Holder of a Claim shall
        execute and deliver to the Creditor Trustee, or join in the execution and delivery of, any
        agreement or instrument appropriate for the consummation of the Plan.

              12.      Creditor’s Payment of Obligations or Turn Over of Property to the Creditor
                       Trustee

               As a condition to obtaining Distributions under the Plan, any Holder of a Claim from
        which property is recoverable pursuant to a Final Order of the Bankruptcy Court under sections
        542, 543, 550 or 553 of the Bankruptcy Code, or otherwise, or that is a transferee of a transfer
        avoidable pursuant to a Final Order of the Bankruptcy Court under sections 522, 544, 545, 547,
        548 or 549 of the Bankruptcy Code or otherwise, shall turn over any such property or pay the
        amount to the Reorganized Debtors, the Creditor Trust, or Hillair (in accordance with the
        ownership of such property or avoidable transfer claim as set forth in the Plan) for which such
        Holder of a Claim is liable to the Debtors.

        G.         Provisions for Treatment of Disputed, Contingent or Unliquidated Claims and
                   Administrative Expenses

                    1. Resolution of Disputed Claims

                As of the Effective Date, and subject to the provisions of the Plan, the Creditor Trustee
        shall have the sole authority to investigate, administer, monitor, implement, litigate and settle all
        Disputed Claims. From and after the Effective Date, the Creditor Trustee may file and prosecute
        objections to Claims, including Administrative Expense Claims, Priority Tax Claims, Other
        Priority Claims, and Other Secured Claims, but excluding the Senior Secured Hillair Claims
        which are deemed Allowed under and subject to the Plan. All objections shall be filed prior to
        the Creditor Trustee Claim Objection Deadline and served upon the Holder of the Claim to
        which the objection is made.

                    2. Reserve for Disputed Claims

                Cash which would be distributed on account of Holders of Disputed Claims, in the event
        that such Disputed Claims become Allowed Claims, shall instead be placed in the Disputed
        Claims Reserve maintained by the Creditor Trustee. Such Cash in the Disputed Claims Reserve
        will be reserved for the benefit of Holders of such Disputed Claims pending determination of
        their entitlement thereto. Unless the Bankruptcy Court orders otherwise, the Creditor Trustee will
        reserve Pro Rata Distributions for such Disputed Claims based upon the full amount of the
        Disputed Claims or, in the case of a Disputed Claim that is an Administrative Expense Claim,
        Priority Tax Claim or Other Priority Claim, Cash in the full amount of such Disputed Claim. No
        reserve shall be required for any Disputed Claim to the extent of any effective insurance
        coverage therefor. Such Cash so reserved shall be distributed by the Creditor Trustee to the
        holder of a Disputed Claim to the extent that such Disputed Claim becomes an Allowed Claim
        pursuant to a Final Order.




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               To the extent that a Disputed Claim ultimately is disallowed or allowed in an amount less
        than the amount of Cash that has been reserved, the resulting surplus Cash shall be allocated
        among Holders of Allowed Claims in the Class in which the Disputed Claim was classified as
        provided in the Plan.

                To the extent that any portion of a Disputed Claim is not disputed, the Creditor Trustee
        shall establish a reserve in the Disputed Claims Reserve only on account of that portion of the
        Disputed Claim that is in dispute and shall make one or more interim Distributions on account of
        the portion of such Disputed Claim that is not in dispute.

                The Creditor Trustee may, at the Creditor Trustee’s sole discretion, file a tax election to
        treat the Disputed Claims Reserve as a Disputed Ownership Fund (“DOF”) within the meaning
        of Treasury Income Tax Regulation Section 1.468B-9 for federal income tax purposes, rather
        than tax such reserve as a part of the grantor Creditor Trust. If the election is made, the Creditor
        Trustee shall comply with all federal and state tax reporting and tax compliance requirements of
        the DOF, including the filing of a separate federal income tax return for the DOF and the
        payment of federal and/or state income tax due.

                   3. Exclusive Right to Object to Claims

                 From and after the Effective Date, the Creditor Trustee shall have the sole and exclusive
        right to file, litigate and settle objections to Disputed Claims, except Professional Fee Claims. As
        the representative of the Estate, the Creditor Trustee shall succeed to all of the rights and powers
        of the Debtors and the Estate with respect to all objections to Disputed Claims, and shall be
        substituted for, and shall replace, the Debtors and the Estates as the party-in-interest in all
        litigation regarding Disputed Claims pending as of the Effective Date.

                   4. Investigation Regarding Disputed Claims

                Notwithstanding the fact that the Creditor Trustee shall have, after the Effective Date,
        the sole and exclusive right to file objections to Disputed Claims, nothing contained herein shall
        be deemed to obligate the Creditor Trustee to file any objection to a Claim, which action shall be
        determined by the Creditor Trustee in the exercise of its sole and absolute discretion.

             THE PLAN PROPONENTS HAVE NOT COMPLETED ANY INVESTIGATION
        REGARDING THE CLAIMS IN THE CHAPTER 11 CASES AND THE FILING OF
        OBJECTIONS TO DISPUTED CLAIMS. THIS INVESTIGATION IS ONGOING AND,
        SUBJECT ONLY TO THE CREDITOR TRUSTEE CLAIM OBJECTION DEADLINE,
        MAY OCCUR AFTER THE CONFIRMATION DATE. AS A RESULT, HOLDERS OF
        CLAIMS AND OTHER PARTIES-IN-INTEREST ARE HEREBY ADVISED THAT AN
        OBJECTION TO A DISPUTED CLAIM MAY BE FILED AT ANY TIME, SUBJECT
        ONLY TO THE CREDITOR TRUSTEE CLAIM OBJECTION DEADLINE. THE
        CREDITOR TRUSTEE SHALL HAVE THE RIGHT TO OBJECT TO AMOUNTS
        THAT HAVE BEEN SCHEDULED BY THE DEBTORS, OR THAT ARE REFLECTED
        IN THE DEBTORS’ BOOKS AND RECORDS, AND WHICH ARE FOUND TO BE
        OBJECTIONABLE IN ANY RESPECT.




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                   5. Distribution After Allowance

                Within fourteen (14) days following the date on which a Disputed Claim becomes an
        Allowed Claim and is no longer a Disputed Claim, the Creditor Trustee, as disbursing agent
        under the Plan, shall distribute to the Holder of such Allowed Claim any Cash or other property
        that would have been distributable to such Holder as if, at the time of the making of any
        Distribution to the Class of which such Holder is a member, such Claim had been an Allowed
        Claim and not a Disputed Claim.

        H.         Executory Contracts and Unexpired Leases

                   1. Rejection

                 On the Effective Date, the treatment of which are described further below, any and all
        agreements executed by the Debtors before the Effective Date, other than agreements that were
        previously either assumed and assigned or rejected either by a Final Order or under Bankruptcy
        Code section 365, to the extent that these agreements constitute executory contracts or unexpired
        leases under Bankruptcy Code section 365, shall be rejected. The Confirmation Order shall
        constitute a Final Order approving this rejection. All Allowed Rejection Damage Claims shall be
        treated as Class 4 Claims under the Plan.

                   2. Bar Date for Rejection Damage Claims

                Any Rejection Damage Claims arising from rejection under the Plan of an executory
        contract or unexpired lease must be filed with the Bankruptcy Court and served on the Creditor
        Trustee and its counsel within thirty (30) days after the Effective Date. Any Rejection Damage
        Claims that are not timely filed and served will be forever barred and unenforceable against the
        Debtor, the Estate, the Creditor Trust, the Creditor Trustee, and their property, and the entities
        holding these Claims will be barred from receiving any Distributions under the Plan on account
        of their Rejection Damage Claims. The Creditor Trustee shall have the right to object to any such
        Rejection Damage Claims; provided, however, that any such objections must be served and filed
        not later than one hundred twenty (120) days after the Effective Date.

                   3. Assumption

                As of the Effective Date, the Debtors shall assume the executory contracts and unexpired
        leases as determined by Hillair in its discretion. The cure of all monetary defaults in connection
        therewith in accordance with section 365 of the Bankruptcy Code shall be made pursuant to a
        cure schedule to be provided by the Debtors, which cure payments shall be made from cash on
        hand, provided that it shall not be a default excusing Hillair from performance in connection with
        the Joint Plan if the Debtors are unable to assume and assign the Amazon contracts or if the
        Debtors do not pay cure under such contracts with their own funds (including the Estate Cash
        Payment).

                   4. Insurance Policies

               For the avoidance of doubt, all of the Debtors’ rights with respect to all insurance policies
        under which any of the Debtors may be a beneficiary (including all insurance policies that may



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        have expired prior to the Petition Date, all insurance policies in existence on the Petition Date, all
        insurance policies entered into by the Debtors after the Petition Date, and all insurance policies
        under which the Debtors hold rights to make, amend, prosecute and benefit from claims) are
        retained according to their respective terms and will be transferred or assigned to the
        Reorganized Debtors pursuant to the Plan.

                Notwithstanding the foregoing and any provision providing for the rejection of executory
        contracts in the Plan, any insurance policy that is deemed to be an executory contract shall
        neither be rejected nor assumed by operation of the Plan and shall be the subject of a specific
        motion by the Reorganized Debtors who shall retain the right to assume or reject any such
        executory contract pursuant to and subject to the provisions of section 365 of the Bankruptcy
        Code following the Effective Date; until such time as the Reorganized Debtors rejects any such
        executory contract, all rights, interests, and remedies under such executory contract shall be
        retained fully by the Reorganized Debtors.

        I.         Effectiveness of the Plan

                   1. Conditions Precedent

               The Effective Date shall not occur until the following condition(s) (the “Conditions
        Precedent”) have been satisfied or waived:

                             a. the Bankruptcy Court shall have entered an order granting
                                approval of the Disclosure Statement and finding that it contains
                                adequate information pursuant to section 1125 of the Bankruptcy
                                Code and that order shall have become a Final Order;

                             b. the Bankruptcy Court shall have entered a Confirmation Order that
                                is in form and substance satisfactory to Hillair;

                             c. the earlier of (a) the entry of a final, non-appealable order
                                resolving the existing Amazon Litigation; and (b) the passage of a
                                period of time at Hillair’s discretion not to exceed six months
                                following the Confirmation Date provided that the Debtors’ estate
                                at all times has sufficient resources to pay Administrative Expense
                                Claims (excluding Professional Fees, which shall be capped at the
                                line items therein without allowance for any variance and the
                                Estate Cash Payment) or a binding commitment by Hillair to fund
                                any shortfall of the same, exists during such period; and

                             d. no stay of the Confirmation Order is in effect.

               Notwithstanding the foregoing, with respect to Condition Precedents (i) and (iv) any such
        Condition Precedent may be waived provided that each of the Plan Proponents agree to such
        waiver (such waiver shall not require any notice, Bankruptcy Court order, or any further action)
        and with respect to Condition Precedents (ii) and (iii) such Condition Precedent may be waived
        solely by agreement of Hillair and the Debtors (such waiver shall not require any notice,
        Bankruptcy Court order, or any further action).


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                   2. The Effective Date

                The Plan will not be consummated or become binding (except as to the provisions
        regarding (i) the irrevocable carve out, (ii) payment of the Estate Cash Payment into trust for the
        purposes set forth in the Plan upon Confirmation, and (iii) the release of the Hillair Released
        Parties and the termination of the Committee’s challenge rights upon the Confirmation) unless
        and until the Effective Date occurs. The Effective Date will be the date on which all Conditions
        Precedent have been satisfied or otherwise waived in accordance with Section VIII.A. of the
        Plan. Any action to be taken on the Effective Date may be taken on or as soon as reasonably
        practicable after the Effective Date.

                   3. Confirmation Request

                In the event that all of the applicable requirements of section 1129(a) are met other than
        section 1129(a)(8), the Debtors request confirmation of the Plan under section 1129(b). If and to
        the extent applicable, the Debtors will provide further support for Confirmation of the Plan under
        the “cram down” provisions of section 1129(b) in its brief to be filed in support of the Plan.

                   4. Notice of the Effective Date

                 As soon as practicable after the Effective Date has occurred, the Reorganized Debtors
        shall file with the Bankruptcy Court an informational notice specifying the Effective Date, as a
        matter of record.

        J.         Releases, Exculpation and Injunction

                   1. Exculpation

                None of the Exculpated Parties shall have or incur any liability for any act or omission
        in connection with, related to, or arising out of, the filing or administration of the Chapter 11
        Cases, the formulation, preparation, dissemination, solicitation, implementation,
        confirmation, or approval of the Plan, the administration of the Plan, or any contract,
        instrument, release, or other agreement or document provided for or contemplated in
        connection with the consummation of the transactions set forth in the Plan, provided,
        however, that the foregoing provisions shall not (i) affect the liability of any Person that would
        result solely from any such act or omission to the extent that act or omission is determined by
        a Final Order by a court of competent jurisdiction to have constituted willful misconduct or
        gross negligence; or (ii) be deemed to release, waive or discharge any rights or obligations
        under the Plan. The Debtors and the Committee (and their respective relevant members,
        postpetition agents, directors, officers, employees, advisors and attorneys) have participated in
        compliance with the Bankruptcy Code and applicable law with regard to solicitation and
        distributions pursuant to the Plan and therefore are not and on account of the same shall not
        be liable at any time for the violation of any applicable law, rule or regulation governing the
        solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
        Plan. This exculpation shall be in addition to, and not in limitation of, all other releases,
        indemnities, discharges, arguments and any other applicable law, court order, or rules
        protecting such Persons from liability.



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                   2. Releases

                           a. Release of the Estate Released Parties

                As of the Effective Date, the Debtors and their Estates shall be deemed to have
        conclusively, absolutely, unconditionally, irrevocably and forever released and discharged
        each of the Estate Released Parties of and from any and all past, present and future legal
        actions, causes of action, choses in action, rights, demands, suits, claims, liabilities,
        encumbrances, lawsuits, adverse consequences, amounts paid in settlement, costs, fees,
        damages, debts, deficiencies, diminution in value, disbursements, expenses, losses and other
        obligations of any kind, character or nature whatsoever, whether in law, equity or otherwise
        (including those arising under Chapter 5 of the Bankruptcy Code and applicable non-
        bankruptcy law, and any and all alter ego, lender liability, indemnification or contribution
        theories of recovery, and interest or other costs, penalties, legal, accounting and other
        professional fees and expenses, and incidental, consequential and punitive damages payable to
        third parties), whether known or unknown, fixed or contingent, direct, indirect, or derivative,
        asserted or unasserted, foreseen or unforeseen, suspected or unsuspected, now existing,
        heretofore existing or which may heretofore accrue against the Estate Released Parties
        occurring from the beginning of time to and including the Effective Date related in any way,
        directly or indirectly, arising out of, and/or connected with any or all of the Debtors, their
        Estates, the Chapter 11 Cases, the Plan, solicitation of the Plan, and that could have been
        asserted by or on behalf of the Debtors, the Estates, the Creditor Trust, the Committee,
        (whether individually on or collectively) on behalf of the holder of any Claim or Equity
        Interest or other entity.

                           b. Release of Hillair Released Parties

                As of the Confirmation Date, the Debtors and their Estates shall be deemed to have
        conclusively, absolutely, unconditionally, irrevocably and forever released and discharged
        each of the Hillair Released Parties of and from any and all past, present and future legal
        actions, causes of action, choses in action, rights, demands, suits, claims, liabilities,
        encumbrances, lawsuits, adverse consequences, amounts paid in settlement, costs, fees,
        damages, debts, deficiencies, diminution in value, disbursements, expenses, losses and other
        obligations of any kind, character or nature whatsoever, whether in law, equity or otherwise
        (including those arising under Chapter 5 of the Bankruptcy Code and applicable non-
        bankruptcy law, and any and all alter ego, lender liability, indemnification or contribution
        theories of recovery, and interest or other costs, penalties, legal, accounting and other
        professional fees and expenses, and incidental, consequential and punitive damages payable to
        third parties), whether known or unknown, fixed or contingent, direct, indirect, or derivative,
        asserted or unasserted, foreseen or unforeseen, suspected or unsuspected, now existing,
        heretofore existing or which may heretofore accrue against the Hillair Released Parties
        occurring from the beginning of time to and including the Confirmation Date related in any
        way, directly or indirectly, arising out of, and/or connected with any or all of the Debtors, their
        Estates, the Chapter 11 Cases, the Plan, solicitation of the Plan, and that could have been
        asserted by or on behalf of the Debtors, the Estates, the Creditor Trust, the Committee,
        (whether individually on or collectively) on behalf of the holder of any Claim or Equity
        Interest or other entity.



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                             c. Release by Holders of Claims

                 As of the Effective Date, each holder of a Claim in Class 1, and each holder of Claims
        in Class 3 or Class 4 that does not opt out of the releases provided in this section, shall be
        deemed to release and forever waive and discharge the Debtors, the Estate Released Parties,
        and the Hillair Released Parties of and from any and all past, present and future legal actions,
        causes of action, choses in action, rights, demands, suits, claims, liabilities, encumbrances,
        lawsuits, adverse consequences, amounts paid in settlement, costs, fees, damages, debts,
        deficiencies, diminution in value, disbursements, expenses, losses and other obligations of any
        kind, character or nature whatsoever, whether in law, equity or otherwise (including those
        arising under Chapter 5 of the Bankruptcy Code and applicable non-bankruptcy law, and any
        and all alter ego, lender liability, indemnification or contribution theories of recovery, and
        interest or other costs, penalties, legal, accounting and other professional fees and expenses,
        and incidental, consequential and punitive damages payable to third parties), whether known
        or unknown, fixed or contingent, direct, indirect, or derivative, asserted or unasserted,
        foreseen or unforeseen, suspected or unsuspected, now existing, heretofore existing or which
        may heretofore accrue from the beginning of time to and including the Effective Date related
        in any way, directly or indirectly, arising out of, and/or connected with any or all of the
        Debtors, their Estates, the Chapter 11 Cases, the Plan, or solicitation of the Plan, and that
        could have been asserted by or on behalf of the Debtors, the Estates, the Creditor Trust, the
        Committee, (whether individually on or collectively) on behalf of the holder of any Claim or
        Equity Interest or other entity; provided however, that nothing in this section shall be
        construed to release the right of any holder of a Claim in Class 1, Class 3 or Class 4 to receive
        distributions from the Debtors and Creditor Trust on account of an Allowed Claim pursuant to
        the Plan.

                   3. Exception from All Releases

               Notwithstanding anything to the contrary in the Plan, Article X of the Plan does not
        release any post-Effective Date obligations of any party under the Plan or any document,
        instrument, or agreement executed to implement the Plan.

                   4. No Liability for Solicitation or Participation

                As specified in section 1125(e) of the Bankruptcy Code, Persons that solicit acceptances
        or rejections of the Plan, in good faith and in compliance with the applicable provisions of the
        Bankruptcy Code, shall not be liable, on account of such solicitation or participation, for
        violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
        rejections of the Plan or the offer, issuance, sale, or purchase of securities.

                   5. Good Faith

               Confirmation of the Plan shall constitute a finding that the Plan was proposed, and that
        acceptances of the Plan were solicited, in good faith and in compliance with applicable
        provisions of the Bankruptcy Code.




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                   6. Injunction Enjoining Holders of Claims Against Debtors

                The Plan is the sole means for resolving, paying or otherwise dealing with Claims and
        Equity Interests. To that end, except as expressly provided in the Plan, at all times on and after
        the Effective Date, all Persons who have been, are, or may be holders of Claims against or
        Equity Interests in the Debtors, arising prior to the Effective Date, will be permanently enjoined
        from taking any of the following actions, on account of any such Claim or Equity Interest,
        against the Debtors, the Estates, the Reorganized Debtors, the Creditor Trust or its property
        (other than actions brought to enforce any rights or obligations under the Plan):

                            a. commencing, conducting or continuing in any manner, directly or
                               indirectly any suit, action, or other proceeding of any kind against
                               the Debtors, the Estates, the Reorganized Debtors, the Creditor
                               Trust, or the Creditor Trustee, their successors, or their respective
                               property or assets (including all suits, actions, and proceedings that
                               are pending as of the Effective Date which will be deemed to be
                               withdrawn or dismissed with prejudice);

                            b. enforcing, levying, attaching, executing, collecting, or otherwise
                               recovering by any manner or means whether directly or indirectly
                               any judgment, award, decree, or order against the Debtors, the
                               Estates, the Reorganized Debtors, the Creditor Trust, or the
                               Creditor Trustee, their successors, or their respective property or
                               assets;

                            c. creating, perfecting, or otherwise enforcing in any manner, directly
                               or indirectly, any lien, security interest or encumbrance against the
                               Debtors, the Estates, the Reorganized Debtors, the Creditor Trust,
                               or the Creditor Trustee, their successors, or their respective
                               property or assets; and

                            d. proceeding in any manner in any place whatsoever against the
                               Debtors, the Estates, the Reorganized Debtors, the Creditor Trust,
                               or the Creditor Trustee, their successors, or their respective
                               property or assets that does not conform to or comply with the
                               provisions of the Plan.

                From and after the Effective Date, to the extent of the releases and exculpation granted in
        the Plan, holders of Claims or Equity Interests as applicable shall be permanently enjoined from
        commencing or continuing in any manner against the Estate Released Parties, the Hillair
        Released Parties and the Exculpated Parties and their assets and properties, as the case may be,
        any suit, action or other proceeding, on account of or respecting any claim, demand, liability,
        obligation, debt, right, cause of action, interest or remedy released or exculpated pursuant to
        Article X of the Plan.




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                    7. Discharge

                 Upon the Effective Date and in consideration of the distributions to be made hereunder,
        except as otherwise provided herein or in the Confirmation Order, each Person that is a Holder
        (as well as any trustees and agents on behalf of such Person) of a Claim or Interest and any
        affiliate of such Holder shall be deemed to have forever waived, released, and discharged the
        Debtors and the Reorganized Debtors, to the fullest extent permitted by section 1141 of the
        Bankruptcy Code, of and from any and all Claims, Interests, rights, and liabilities that arose prior
        to the Effective Date. Except as otherwise provided herein, upon the Effective Date, all such
        Holders of Claims and Interests and their affiliates shall be forever precluded and enjoined,
        pursuant to sections 105, 524, 1141 of the Bankruptcy Code, from prosecuting or asserting any
        such discharged Claim against or terminated Interest in any Debtors.

        K.         Retention of Jurisdiction

                The Plan shall not in any way limit the Bankruptcy Court’s post-confirmation jurisdiction
        as provided under the Bankruptcy Code. The Bankruptcy Court will retain and have exclusive
        jurisdiction to the fullest extent permissible over any proceeding (i) arising under the Bankruptcy
        Code or (ii) arising in or related to the Chapter 11 Cases or the Plan, including the following:

                   (a)    To hear and determine pending motions for the assumption, assumption and
                          assignment, or rejection of executory contracts or unexpired leases, if any are
                          pending as of the Effective Date, the determination of any cure payments related
                          thereto, and the allowance or disallowance of Claims resulting therefrom;

                   (b)    To determine any and all adversary proceedings, applications, motions, and
                          contested matters instituted prior to the closing of the Chapter 11 Cases;

                   (c)    To ensure that Distributions to holders of Allowed Claims are accomplished as
                          provided herein;

                   (d)    To hear and determine any objections to Administrative Expense Claims and to
                          proofs of Claims filed both before and after the Effective Date (including whether
                          all or any part of any Claim set forth in any such proof of Claim or Administrative
                          Expense Claim is subject to partial or complete subordination pursuant to
                          applicable law), and to allow or disallow any Disputed Claim in whole or in part,
                          provided, however, that, for the avoidance of doubt, the Creditor Trustee may
                          settle or compromise (including by set-off) any Disputed Claim without further
                          Order of the Court;

                   (e)    To hear and determine all applications for compensation and reimbursement of
                          expenses of Professional Persons under sections 330, 331, and 503(b) of the
                          Bankruptcy Code;

                   (f)    To hear and determine any disputes arising in connection with the interpretation,
                          implementation, execution, or enforcement of the Plan, the Creditor Trust
                          Agreement, the Confirmation Order, or any other order of the Bankruptcy Court;



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                   (g)   To hear or determine any action to recover assets of the Estate, wherever located;

                   (h)   To hear and determine any actions or matters related to Estate Causes of Action,
                         whether or not such actions or matters are pending on the Effective Date,
                         provided that in the cases of Estate Causes of Action, the Bankruptcy Court’s
                         jurisdiction shall be deemed non-exclusive;

                   (i)   To hear and determine any matters concerning state, local, and federal taxes in
                         accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                   (j)   To hear and determine any objections to the allowance of Claims or
                         Administrative Expense Claims, whether filed before or after the Confirmation
                         Date, including any objections to the classification of any Claim, and any
                         proceedings to allow, disallow, determine, liquidate, estimate, or establish the
                         priority or the secured or unsecured status of any Claim, or to establish reserves
                         pending the resolution of Disputed Claims;

                   (k)   To hear and determine any proceeding to modify the Plan, after confirmation of
                         the Plan, and, if in the best interests of Holders of Claims, modification of the
                         Plan even after the Plan has been substantially consummated;

                   (l)   To consider the issuance of injunctions or other orders as may be necessary or
                         appropriate to aid in the implementation of the Plan or to restrain interference by
                         any entity with the consummation or the enforcement of the Plan;

                   (m)   To hear any other matter not inconsistent with the Bankruptcy Code;

                   (n)   To hear any other matter deemed relevant by the Bankruptcy Court; and

                   (o)   To enter a final decree closing the Chapter 11 Cases.

        VI.        MISCELLANEOUS PROVISIONS OF THE PLAN

                Article XI of the Plan provides for certain additional miscellaneous provisions including,
        but not limited to the following: preserving Causes of Action; exemption of the transactions in
        connection with the Plan from any stamp, real estate transfer, mortgage recording or other
        similar tax pursuant to section 1146(a) of the Bankruptcy Code; that the Plan is binding on the
        Debtors’ Estates, holders of Claims and Equity Interests and their successors or assigns;
        governing law; withholding, reporting and payment of taxes; effectuating documents and further
        transactions, notices, severability of Plan provisions, provisions regarding the destruction of
        books and records upon the modification of the Plan, and revocation or withdrawal of the Plan.
        In addition, all quarterly fees due and payable to the Office of the United States Trustee pursuant
        to section 1930(a)(6) of title 28 of the United States Code shall be duly paid in full on or before
        the Effective Date, as required by section 1129(a)(12) of the Bankruptcy Code. The Creditor
        Trust shall be responsible for timely payment of such quarterly fees due and payable after the
        Effective Date and until the Chapter 11 Cases are closed, pursuant to section 1930(a)(6) of title
        28 of the United States Code, with respect to cash disbursements made by the Creditor Trustee
        under the Plan. After the Effective Date and until the Chapter 11 Cases are closed, the Creditor



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        Trustee shall file with the Office of the United States Trustee monthly financial reports
        specifying all disbursements made pursuant to the Plan and shall make all payments based upon
        such disbursements as required by applicable law.

        VII.       CERTAIN FACTORS TO BE CONSIDERED

             HOLDERS OF CLAIMS IN THE VOTING CLASSES SHOULD READ AND
        CONSIDER CAREFULLY THE FACTORS SET FORTH BELOW, AS WELL AS THE
        OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT (AND THE
        DOCUMENTS DELIVERED TOGETHER HEREWITH AND/OR REFERRED TO HEREIN),
        PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THESE RISK FACTORS
        SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE ONLY RISKS
        INVOLVED IN CONNECTION WITH THE PLAN AND ITS IMPLEMENTATION.

        A.         General Considerations

                The formulation of a chapter 11 plan is the principal purpose of a chapter 11 case. The
        Plan sets forth the means for satisfying the various Claims against the Debtors.

        B.         Certain Bankruptcy Considerations

                   1. Parties-in-Interest May Object to the Debtors’ Classification of Claims

                Section 1122 of the Bankruptcy Code provides that a plan may place a Claim in a
        particular class only if such Claim is substantially similar to the other Claims in such class. The
        Debtors believe that the classification of Claims under the Plan complies with the requirements
        set forth in the Bankruptcy Code because the Debtors created five (5) Classes of Claims, each
        encompassing Claims that are substantially similar to the other Claims in each such class.
        Nevertheless, there can be no assurance the Bankruptcy Court will reach the same conclusion.

                   2. Failure to Satisfy Vote Requirement

                If votes are received in number and amount sufficient to enable the Bankruptcy Court to
        confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, confirmation
        of the Plan. In the event that sufficient votes are not received, the Debtors may seek to
        accomplish an alternative chapter 11 plan. There can be no assurance that the terms of any such
        alternative chapter 11 plan would be similar or as favorable to the holders of Allowed Claims as
        those proposed in the Plan.

                   3. Risk of Non-Confirmation of Plan; Feasibility

               Even if all Impaired Classes of Claims accept or are deemed to have accepted the Plan,
        or, with respect to a Class that rejects or is deemed to reject the Plan, the requirements for
        “cramdown” are met, the Bankruptcy Court, which can exercise substantial discretion, may
        determine that the Plan does not meet the requirements for confirmation under section 1129(a)
        and (b) of the Bankruptcy Code. See Section IX.C.             (“Confirmation of the Plan—
        Requirements for Confirmation of the Plan”). Section 1129(a) of the Bankruptcy Code
        requires, among other things, a demonstration that the confirmation of the Plan will not be



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        followed by liquidation or need for further financial reorganization of the Debtors and that the
        value of distributions to creditors who vote to reject the Plan not be less than the value of
        distributions such creditors would receive if the Debtors were liquidated under chapter 7 of the
        Bankruptcy Code. See Section IX.C.            (“Confirmation of the Plan—Requirements for
        Confirmation of the Plan—Requirements of Section 1129(a) of Bankruptcy Code”). Although
        the Debtors believe that the Plan will meet the requirements for confirmation, there can be no
        assurance that the Bankruptcy Court will reach the same conclusion.

                In order to confirm the Plan, the Debtors must pay Allowed Administrative Expense
        Claims as required by the Bankruptcy Code. To the extent there are not funds to pay Allowed
        Administrative Expense Claims subject to the terms of the Plan, and the holders of such claims
        do not agree otherwise, the Plan might not be confirmed or become effective.

                   4. Non-Consensual Confirmation

               If any Impaired Class of Claims rejects the Plan by the requisite statutory voting
        thresholds provided in sections 1126(c) or 1126(d) of the Bankruptcy Code, as applicable, the
        Debtors may (i) seek confirmation of the Plan from the Bankruptcy Court by employing the
        “cramdown” procedures set forth in section 1129(b) of the Bankruptcy Code and/or (ii) modify
        the Plan in accordance with its terms. In order to confirm the Plan under section 1129(b), the
        Bankruptcy Court must determine that, in addition to satisfying all other requirements for
        confirmation, the Plan “does not discriminate unfairly” and is “fair and equitable” with respect to
        each Impaired Class that has not accepted the Plan. See Section IX.C. (“Confirmation of the
        Plan—Requirements for Confirmation of the Plan—Requirements of Section 1129(b) of
        Bankruptcy Code”).

                If the Bankruptcy Court determines that the Plan violates section 1129 of the Bankruptcy
        Code in any manner, including the cramdown requirements under section 1129(b) of the
        Bankruptcy Code, the Debtors reserve the right to amend the Plan in such manner so as to satisfy
        the requirements of section 1129 of the Bankruptcy Code. Such amendments may include, but
        are not limited to, the alteration or elimination of Distributions to various Classes.

                   5. The Debtors or the Creditor Trustee May Object to the Amount of a Claim

                Except as otherwise provided in the Plan, the Debtors (before the Effective Date) and the
        Creditor Trustee (after the Effective Date) reserve the right to object to the amount of any Claim.
        The estimates set forth in this Disclosure Statement cannot be relied on by any holder of a Claim
        where such Claim is subject to an objection. Any holder of a Claim that is subject to an
        objection thus may not receive its expected share of the estimated distributions described in this
        Disclosure Statement.

                   6. Contingencies Not to Affect Votes of Voting Classes to Accept or Reject the
                      Plan

               The distributions available to holders of Allowed Claims under the Plan can be affected
        by a variety of contingencies, including whether the Bankruptcy Court orders certain Allowed
        Claims to be subordinated to other Allowed Claims. The occurrence of any and all such
        contingencies, which could affect distributions available to holders of Allowed Claims under the


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        Plan, will not affect the validity of the vote taken by the Voting Classes to accept or reject the
        Plan or require any sort of revote by any Impaired Classes.

                   7. Risk of Chapter 7 Liquidation

                If the Plan is not confirmed and consummated, there can be no assurance that the
        Chapter 11 Cases will continue rather than be converted to a liquidation under chapter 7 of the
        Bankruptcy Code, or that any alternative plan would be on terms as favorable to holders of
        Claims as the terms of the Plan. If a liquidation under chapter 7 of the Bankruptcy Code were to
        occur, the distributions to holders of Allowed Claims under the Plan would be reduced. The
        Debtors believe that, in a liquidation under chapter 7, before holders of Allowed Claims received
        any distributions, additional administrative expenses of a chapter 7 trustee and such trustee’s
        attorneys, accountants, and other professionals would cause a substantial diminution in the value
        of the Estate. Moreover, in a chapter 7 liquidation, the Debtors’ Estates would not receive the
        Estate Cash Payment of $1.5 million. Furthermore, in a chapter 7 liquidation, Hillair would be
        expected to foreclose on the Debtors’ assets, taking value from creditors lower in priority than
        Hillair which otherwise would flow to such creditors under the Plan. In addition, in a chapter 7
        liquidation, the Class 4 General Unsecured Creditors would not receive a share of equity in the
        Reorganized Debtors as proposed in the Plan. Finally, a chapter 7 liquidation would also take
        additional time to administer and delay recoveries to creditors.

               For the foregoing reasons, the Debtors believe that liquidation under chapter 7 of the
        Bankruptcy Code of the Debtors’ remaining assets would result in a diminution and delay in the
        value to be realized by holders of Claims as compared to distributions contemplated under the
        Plan. Consequently, the Debtors believe that confirmation of the Plan will provide a
        substantially greater and quicker return to holders of Claims than would liquidation under
        chapter 7 of the Bankruptcy Code. A chapter 7 liquidation analysis is attached hereto as Exhibit
        A. A summary comparing estimated recoveries if the Plan is confirmed versus estimated
        recoveries in a chapter 7 is set forth below.



          Summary of Projected Creditor Recoveries - Chapter 11 Plan vs. Chapter 7 Liquidation Analysis



                                                                                 Ch. 11 Plan       Ch. 7 Liquidation
                                                                      Class
                                                            Notes      #         Recovery $           Recovery $
          Other Priority                                                1                      -                -
          Senior Secured Hillair                            [a] [c]     2
                                                                              5,492,000                   6,391,604
          Other Secured                                                3                       -                 -
          General Unsecured                                 [a] [b]    4
                                                                              529,463                           -
          Equity                                                                               -                -


          Notes




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          [a] Under the Plan of Reorganization, Hillair and the Class 4 claimants shall received equity interests in the reorganized
          debtor equal to 80% and 20%, respectively in addition to the amounts set forth herewithin. In a chapter 7 liquidation,
          no equity interests are to be issued.
          [b] Subject to adjustment based on the difference between the Estate Cash Payment and the current balance of the
          allowed professional fees less payments received and to be received.

          [c] Consists of (i) weekly payments made and to be made to Hillair between the Petition Date and the Effective
          Date,(ii) $3.0 million on account of a post-effective date secured note, and (iii) proceeds from Hillair’s share of the
          Amazon litigation (unknown at this time).



        C.         Claims Could Be More Than Projected, Assets Could Be Less Than Projected

                The Allowed amount of Claims in each Class, and/or the allowed amount of professional
        fees, could be greater than projected, which in turn, could cause the amount of distributions to
        creditors to be reduced substantially. Likewise, the amount of cash realized for the liquidation of
        the Debtors’ assets could be less than projected, which could cause the amount of distributions to
        creditors to be reduced substantially.

        D.         Inherent Uncertainty of the Financial Projections

                The projections forecast cash flows from the Debtors’ business operations. Additionally,
        they include various Causes of Action that belong to the Debtors’ Estates and are still being
        evaluated. Accordingly, the projections are based on numerous assumptions that are an integral
        part of the projections, including confirmation and consummation of the Plan in accordance with
        its terms and general business and economic conditions, many of which will be beyond the
        control of the Creditor Trustee, and some or all of which may not materialize. In addition,
        unanticipated events and circumstances occurring subsequent to the date that this Disclosure
        Statement is approved by the Bankruptcy Court may affect the value realized from the
        liquidation of the Debtors’ assets. These variations may be material and may affect the
        recoveries of holders of Claims entitled to Distributions under the Plan. Because the actual
        results achieved may vary from the projected results, the projections should not be relied upon as
        a guarantee, representation or other assurance of the actual results that will occur.

        E.         Termination of the Amazon Contract and Amazon Non-Payment

                Amazon might obtain relief from the automatic stay and terminate the Debtors’ contract
        on short notice. This could cause the Debtors to incur liabilities, including for example WARN
        Act liability, and decrease revenues. In the event Amazon decreases routes, while the Debtors
        believe such action is not permitted, such a decrease could harm the Debtors’ revenues.
        Moreover, Amazon might breach the Amazon Contract and not pay amounts owed to the
        Debtors or attempt to offset amounts against Amazon owes to the Debtors. These events might
        affect the Debtors’ ability to meet their projections.




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        F.         The Debtors’ Net Working Capital Could Decrease Below the Minimum Working
                   Capital Requirement

                Unanticipated events and circumstances could cause the Debtors’ Net Working Capital as
        defined in the Plan, to decrease below the Minimum Working Capital Requirement in the Plan,
        potentially affecting confirmation or effectiveness of the Plan, subject to all parties’ rights in
        respect of such arguments.

        G.         The Reorganized Debtors’ Business Might Not Be Successful

                To the extent that value under the Plan is being distributed to Class 2 creditors and, if
        Class 4 votes to accept the Plan, Class 4 creditors, through the New Equity Interests in the
        Reorganized Debtors issued as of the Effective Date, such value depends upon the performance
        of the Reorganized Debtors’ business. The Reorganized Debtors’ business prospects depend
        upon matters such as (1) whether and how long the sole customer Amazon remains a customer of
        the Debtors and (2) whether and how much additional new business the Reorganized Debtors are
        able to obtain from Amazon and new customers. The Debtors and Hillair believe the
        Reorganized Debtors have a good chance of success in their post-exit business; however, the
        actual performance may vary from expectations. The delivery business is very competitive.

        H.         Scoobeez Global’s Largest Shareholder Could Try to Reconstitute the Debtors’
                   Board and Derail the Plan

                In May 2019, in resolution of then-present objections by Hillair, concerns of the
        Committee and requests by the Office of the United States Trustee to appoint a chapter 11 trustee
        and issues regarding the use of cash collateral and appointment of the Chief Restructuring
        Officer, the 90% shareholder and former Chief Executive Officer of Scoobeez Global, Mr.
        Ohanessian, entered into a written agreement with Scoobeez Global and shareholder consents.
        In those documents, among other things, Mr. Ohanessian agreed to step down as Chief Executive
        Officer, appoint an independent board of directors (including the Chief Restructuring Officer and
        a member selected by the Committee), and not exercise his shareholder powers to change the
        board nor be involved in management. Mr. Ohanessian, in the agreement, agreed that the
        Debtors could obtain injunctive relief to enforce the agreement. Notwithstanding his agreement,
        in November 1, 2019, Mr. Ohanessian apparently organized other shareholders to attempt to
        reconstitute Scoobeez Global’s board of directors, purportedly appointing himself and his wife
        and another individual. On February 21, 2020, Scoobeez and Scoobeez Global filed a Motion
        for Summary Judgment, seeking a declaration that Mr. Ohanessian’s actions were void. The
        Motion is to be heard on April 28, 2020 at 2:00 p.m. If Mr. Ohanessian is successful, he might
        attempt to usurp control of the Debtors and prevent the Debtors from consummating the Plan.

        I.         Disclosure Statement Disclaimer

                   1. Information Contained Herein is for Soliciting Votes

               The information contained in this Disclosure Statement is for the purposes of soliciting
        acceptances of the Plan and may not be relied upon for any other purposes.




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                   2. Disclosure Statement May Contain Forward Looking Statements

                This Disclosure Statement may contain “forward looking statements” within the meaning
        of the Private Securities Litigation Reform Act of 1995, as amended. Such statements consist of
        any statement other than a recitation of historical fact and can be identified by the use of forward
        looking terminology such as “may,” “expect,” “anticipate,” “estimate,” or “continue” or the
        negative thereof or other variations thereon or comparable terminology. The reader is cautioned
        that all forward looking statements are necessarily speculative and there are certain risks and
        uncertainties that could cause actual events or results to differ materially from those referred to
        in such forward looking statements. The distribution projections and other information
        contained herein and attached hereto are estimates only, and the timing and amount of actual
        distributions to holders of Allowed Claims may be affected by many factors that cannot be
        predicted. Therefore, any analyses, estimates, or recovery projections may or may not turn out to
        be accurate.

                   3. No Legal or Tax Advice is Provided to You by this Disclosure Statement

               This Disclosure Statement is not legal advice to you. The contents of this Disclosure
        Statement should not be construed as legal, business or tax advice. Each holder of a Claim
        should consult his or her own legal counsel and accountant with regard to any legal, tax and
        other matters concerning his or her Claim. This Disclosure Statement may not be relied upon for
        any purpose other than to determine how to vote on the Plan or object to confirmation of the
        Plan.

                   4. No Admissions Made

                The information and statements contained in this Disclosure Statement will neither (a)
        constitute an admission of any fact or liability by any entity (including the Debtors), nor (b) be
        deemed evidence of the tax or other legal effects of the Plan on the Debtors, holders of Allowed
        Claims, or any other parties in interest.

                   5. Failure to Identify Litigation Claims or Projected Objections

                No reliance should be placed on the fact that a particular litigation Claim or projected
        objection to a particular Claim is, or is not, identified in this Disclosure Statement. The Debtors
        and/or the Committee (as applicable and until the Effective Date) and the Creditor Trustee (on
        and after the Effective Date) may investigate and object to Claims and file and prosecute Causes
        of Action.

                   6. No Waiver of Right to Object or Right to Recover Transfers and Assets

                The vote by a holder of a Claim for or against the Plan does not constitute a waiver or
        release of any Claims or rights of the Debtors or the Creditor Trustee to object to that holder’s
        Claim, or to bring additional or further Causes of Action, regardless of whether any Claims or
        causes of action of the Debtors or their Estates are specifically or generally identified herein.




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                   7. Information Was Provided by the Debtors and Was Relied upon by the
                      Debtors’ Advisors

                Counsel to and other advisors retained by the Debtors have relied upon information
        provided by the Debtors in connection with the preparation of this Disclosure Statement.
        Although counsel to and other advisors retained by the Debtors have performed certain limited
        due diligence in connection with the preparation of this Disclosure Statement, they have not
        verified independently the information contained herein.

                   8. Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update

                The Debtors make the statements contained in this Disclosure Statement as of the date
        hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after that
        date does not imply that there has not been a change in the information set forth herein since that
        date. While the Debtors have used their reasonable business judgment to ensure the accuracy of
        all of the information provided in this Disclosure Statement and in the Plan, the Debtors
        nonetheless cannot, and do not, confirm the current accuracy of all statements appearing in this
        Disclosure Statement. Further, although the Debtors may subsequently update the information in
        this Disclosure Statement, the Debtors have no affirmative duty to do so unless ordered to do so
        by the Bankruptcy Court.

                   9. No Representations Outside the Disclosure Statement are Authorized

               No representations concerning or relating to the Debtors, the Chapter 11 Case, or the Plan
        are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
        Disclosure Statement. In deciding whether to vote to accept or reject the Plan, you should not
        rely upon any representations or inducements made to secure your acceptance or rejection of the
        Plan that are other than as contained in, or included with, this Disclosure Statement. You should
        promptly report unauthorized representations or inducements to the counsel to the Debtors, the
        counsel to the Committee, and/or the United States Trustee for the Central District of California.

        J.         Certain Tax Considerations

               A summary of certain U.S. federal income tax considerations relevant to the Plan is
        provided below in Section XI (“Certain Federal Income Tax Considerations”).

        VIII. VOTING REQUIREMENTS

                On [_________], 2020, the Bankruptcy Court entered the Disclosure Statement Order
        that, among other things, approved this Disclosure Statement, set voting procedures and
        scheduled the Confirmation Hearing. A copy of the Disclosure Statement Order and the Notice
        of Confirmation Hearing are included as part of the Solicitation Package. The Disclosure
        Statement Approval Order sets forth in detail, among other things, procedures governing voting
        deadlines and objection deadlines. The Disclosure Statement Order, the Notice of Confirmation
        Hearing, and the instructions attached to the Ballot should be read in connection with this section
        of this Disclosure Statement.




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               The Bankruptcy Court may confirm the Plan only if it determines that the Plan complies
        with the technical requirements of chapter 11 of the Bankruptcy Code and that the disclosures of
        the Debtors concerning the Plan have been adequate and have included information concerning
        Distributions made or proposed by the Debtors in connection with the Plan and the Chapter 11
        Cases. In addition, the Bankruptcy Court must determine that the Plan has been proposed in
        good faith and not by any means forbidden by law.

                In particular, in order to confirm the Plan, the Bankruptcy Code requires the Bankruptcy
        Court to find, among other things, that the Plan: (i) has been accepted by the requisite votes of all
        Impaired Classes unless approval will be sought under section 1129(b) of the Bankruptcy Code
        in respect of one or more dissenting Classes, which may be the case under the Plan; (ii) is
        “feasible,” which means that there is a reasonable probability that confirmation of the Plan will
        not be followed by liquidation or the need for further financial reorganization; and (iii) is in the
        “best interests” of all holders of Claims or Equity Interests, which means that such holders will
        receive at least as much under the Plan as they would receive in a liquidation under chapter 7 of
        the Bankruptcy Code. The Debtors believe that the Plan satisfies all of these conditions.

        A.         Voting Deadline

               This Disclosure Statement and the appropriate Ballot(s) are being distributed to all
        holders of Claims who are entitled to vote on the Plan.

               IN ACCORDANCE WITH THE DISCLOSURE STATEMENT ORDER, IN ORDER
        TO BE CONSIDERED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN, ALL
        BALLOTS MUST BE RECEIVED BY THE DEBTORS’ COUNSEL NO LATER THAN 5:00
        P.M. (PREVAILING PACIFIC TIME) ON [_________], 2020 (THE “VOTING DEADLINE”).
        ONLY THOSE BALLOTS ACTUALLY RECEIVED BY THE VOTING DEADLINE WILL
        BE COUNTED AS EITHER ACCEPTING OR REJECTING THE PLAN.

        B.         Holders of Claims Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be
        “impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable, and contractual
        rights to which such claim or interest entitles the holder thereof or (2) notwithstanding any legal
        right to an accelerated payment of such claim or interest, the plan (a) cures all existing defaults
        (other than defaults resulting from the occurrence of events of bankruptcy), (b) reinstates the
        maturity of such claim or interest as it existed before the default, (c) compensates the holder of
        such claim or interest for any damages resulting from such holder’s reasonable reliance on such
        legal right to an accelerated payment, and (d) does not otherwise alter the legal, equitable or
        contractual rights to which such claim or interest entitles the holder of such claim or interest.

                In general, a holder of a claim or equity interest may vote to accept or reject a plan if
        (1) the claim or interest is “allowed,” which means generally that it is not disputed, contingent,
        or unliquidated and (2) the claim or interest is impaired by a plan. If the holder of an Impaired
        Claim or Equity Interest will not receive any distribution under the Plan in respect of such Claim
        or Equity Interest, the Bankruptcy Code deems such holder to have rejected the Plan and
        provides that the holder of such Claim or Equity Interest is not entitled to vote. If the Claim or



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        Equity Interest is not Impaired, the Bankruptcy Code conclusively presumes that the holder of
        such Claim or Equity Interest has accepted the Plan and provides that the holder is not entitled to
        vote.

                In general, and subject to the voting requirements set forth in the Disclosure Statement
        Order, the holder of a Claim against the Debtors that is “impaired” under the Plan is entitled to
        vote to accept or reject the Plan if (1) the Plan provides a distribution in respect of such Claim
        and (2) (a) the Claim has been scheduled by the Debtors (and such Claim is not scheduled as
        disputed, contingent, or unliquidated) or (b) the holder timely filed a proof of Claim pursuant to
        sections 502(a) and 1126(a) of the Bankruptcy Code and Bankruptcy Rules 3003 and 3018. A
        Claim to which an objection has been filed is not entitled to vote unless and until the Bankruptcy
        Court rules on the objection and allows the Claim. Consequently, although holders of Claims
        subject to a pending objection may receive Ballots, their votes will not be counted unless the
        Bankruptcy Court (a) prior to the Voting Deadline, rules on the objection and allows the Claim,
        or (b) on proper request under Bankruptcy Rule 3018(a), temporarily allows the Claim in an
        amount which the Court deems proper for the purpose of voting on the Plan. If the Debtors have
        served an objection or request for estimation as to a claim at least fourteen (14) days before the
        Voting Deadline, such claim is temporarily disallowed for voting purposes only and not for
        purposes of allowance or distribution, except as ordered by the Court before the Voting
        Deadline.

                A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
        section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
        accordance with the provisions of the Bankruptcy Code. The Disclosure Statement Order also
        sets forth assumptions and procedures for tabulating Ballots that are not completed fully or
        correctly.

                Class 1 is deemed Unimpaired and is not entitled to vote. Each of Class 2, Class 3 and
        Class 4 is Impaired under the Plan and the holders of Allowed Claims in such Classes are
        entitled to vote on the Plan. In accordance with section 1126(g) of the Bankruptcy Code, Class 5
        is conclusively deemed to have rejected the Plan and holders therein are not entitled to vote.

        C.         Vote Required for Acceptance of Class

                As a condition to confirmation, the Bankruptcy Code requires that each Class of Impaired
        Claims vote to accept the Plan, except under certain circumstances. See Section VIII.B.
        (“Voting Requirements—Holders of Claims Entitled to Vote”). Section 1126(c) of the
        Bankruptcy Code defines acceptance of a plan by a class of impaired claims as acceptance by
        holders of at least two-thirds in dollar amount and more than one-half in number of claims in that
        class, but, for that purpose, counts only those who actually vote to accept or reject the plan.
        Thus, a class of claims will have voted to accept the plan only if two-thirds in dollar amount and
        a majority in number actually voting cast their Ballots in favor of acceptance. Holders of Claims
        who fail to vote are not counted as either accepting or rejecting a plan.




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        D.         Voting Procedures

              1. Ballots

               All votes to accept or reject the Plan with respect to any Class of Claims must be cast by
        properly submitting the duly completed and executed form of Ballot designated for such Class.
        Holders of Impaired Claims voting on the Plan should complete and sign the Ballot in
        accordance with the instructions thereon, being sure to check the appropriate box entitled
        “Accepts the Plan” or “Rejects the Plan.”

                ANY BALLOT RECEIVED THAT (I) IS NOT SIGNED, (II) IS ILLEGIBLE, OR
        (III) CONTAINS INSUFFICIENT INFORMATION TO PERMIT THE IDENTIFICATION OF
        THE CLAIMANT, SHALL BE AN INVALID BALLOT AND SHALL NOT BE COUNTED
        FOR PURPOSES OF DETERMINING ACCEPTANCE OR REJECTION OF THE PLAN.

             ANY BALLOT THAT IS OTHERWISE PROPERLY COMPLETED, EXECUTED,
        AND TIMELY RETURNED BUT DOES NOT INDICATE AN ACCEPTANCE OR
        REJECTION OF THE PLAN, OR THAT INDICATES BOTH AN ACCEPTANCE AND
        REJECTION OF THE PLAN, SHALL NOT BE COUNTED.

               Ballots must be delivered to the Debtors’ Counsel so as to be actually received by
        the Voting Deadline, by mail with the envelope provided as part of the Solicitation Package,
        or by first class mail, hand delivery or overnight courier, at Foley & Lardner LLP, 555 S.
        Flower St., 33rd Floor, Los Angeles, CA 90071 (Attn: Ashley McDow and John Simon).

                THE METHOD OF SUCH DELIVERY IS AT THE ELECTION AND RISK OF
        THE HOLDER. If such delivery is by mail, it is recommended that holders use an air courier
        with a guaranteed next day delivery or registered mail, properly insured, with return receipt
        requested. In all cases, sufficient time should be allowed to assure timely delivery.

                In accordance with Rule 3018(c) of the Bankruptcy Rules, the Ballots are based on
        Official Form No. 14, but have been modified to meet the particular needs of this case. PLEASE
        CAREFULLY FOLLOW THE DIRECTIONS CONTAINED ON EACH ENCLOSED
        BALLOT.

                   2. Withdrawal or Change of Votes on Plan

               A Ballot may be withdrawn by delivering a written notice of withdrawal to the Debtors’
        Counsel, so that the Debtors’ Counsel receives such notice prior to the Voting Deadline.
        Thereafter, withdrawal is only permitted with the approval of the Bankruptcy Court.

               In order to be valid, a notice of withdrawal must (i) specify the name of the holder who
        submitted the votes on the Plan to be withdrawn, (ii) contain the description of the Claims to
        which it relates, and (iii) be signed by the holder in the same manner as on the Ballot. The
        Debtors expressly reserve the absolute right to contest the validity of any such withdrawals of
        votes on the Plan.




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               Any holder who has submitted to the Debtors’ Counsel prior to the Voting Deadline a
        properly completed Ballot may change such vote by submitting to the Debtors’ Counsel prior to
        the Voting Deadline a subsequent properly completed Ballot for acceptance or rejection of the
        Plan. In the case where more than one timely, properly completed Ballot is received with respect
        to the same Claim, the Ballot that bears the latest date will be counted for purposes of
        determining whether sufficient acceptances required to confirm the Plan have been received.

                   3. Voting Multiple Claims

                Ballot forms may be copied if necessary. Any person holding multiple Claims within a
        Class should use a single Ballot to vote such Claims, which will represent the aggregate amount
        of such claims within that Class. Please sign and return your Ballot(s) in accordance with the
        instructions set forth herein and in the Ballot(s).

        IX.        CONFIRMATION OF THE PLAN

        A.         Confirmation Hearing

               The Bankruptcy Code requires the Bankruptcy Court, after notice, to hold a confirmation
        hearing with respect to the Plan. At the Confirmation Hearing, the Bankruptcy Court will
        confirm the Plan only if all of the requirements of section 1129 of the Bankruptcy Code
        described below are met.

                The Confirmation Hearing has been scheduled to commence on [DATE] at [TIME]
        (prevailing Pacific Time), or as soon thereafter as counsel may be heard, before the Honorable
        Julia W. Brand, United States Bankruptcy Judge, of the United States Bankruptcy Court for the
        Central District of California, Courtroom 1375, 255 East Temple Street, Los Angeles, CA 90012.
        The Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without
        further notice, except for the announcement of the adjourned date made in open court, at the
        Confirmation Hearing or at any subsequent adjourned Confirmation Hearing, or on the Court’s
        docket.

        B.         Deadline to Object to Confirmation

                 Any objection to the confirmation of the Plan must be made in writing, and specify in
        detail (i) the name and address of the objector, (ii) the basis and nature, with particularity, of any
        objection or proposed modification to the Plan, and (iii) the amount and nature of the Claim or
        number and class of shares of stock of the Debtors held by the objector. Any such objection
        must be filed, together with proof of service, with the Bankruptcy Court, with a copy to Judge
        Brand’s chambers, and served so that it is received by the Bankruptcy Court, chambers, and the
        following parties on or before [______], 2020 at 5:00 p.m. (prevailing Pacific Time): (a) counsel
        for the Debtors, Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA 90071
        (Attn: Ashley McDow and John Simon); (b) counsel for the Committee, Levene, Neale, Bender,
        Yoo & Brill, L.L.P., 10250 Constellation Blvd., Suite 1700, Los Angeles, CA 90067 (Attn:
        David Neale and John-Patrick Fritz); (c) counsel to Hillair, Olshan Frome Wolosky LLP, 1325
        Avenue of the Americas, New York, NY 10019 (Attn: Adam Friedman) and Buchalter, 1000
        Wilshire Blvd., Suite 1500, Los Angeles, CA 90017-2457 (Attn: Anthony Napolitano); and (d)



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        the U.S. Trustee for the Central District of California – Los Angeles Division, 915 Wilshire
        Blvd., Suite 1850, Los Angeles, CA 90017 (Attn: Dare Law).

        C.         Requirements for Confirmation of the Plan

                Among the requirements for confirmation of the Plan are that the Plan (i) is accepted by
        all Impaired Classes of Claims and Equity Interests or, if rejected by an Impaired Class, that the
        Plan “does not discriminate unfairly” and is “fair and equitable” as to such Class, (ii) is feasible
        and (iii) is in the “best interests” of creditors and stockholders that are Impaired under the Plan.

              1. Requirements of Section 1129(a) of Bankruptcy Code

                         (a)    General Requirements

               At the Confirmation Hearing, the Bankruptcy Court will determine whether the following
        confirmation requirements specified in section 1129 of the Bankruptcy Code have been satisfied:

                                (1)   The Plan complies with the applicable provisions of the
                                      Bankruptcy Code.

                                (2)   The Debtors have complied with the applicable provisions of the
                                      Bankruptcy Code.

                                (3)   The Plan has been proposed in good faith and not by any means
                                      proscribed by law.

                                (4)   Any payment made or promised by the Debtors or by a Person
                                      issuing securities or acquiring property under the Plan for services
                                      or for costs and expenses in, or in connection with, the Chapter 11
                                      Case, or in connection with the Plan and incident to the Chapter 11
                                      Case, has been disclosed to the Bankruptcy Court, and any such
                                      payment made before confirmation of the Plan is reasonable, or if
                                      such payment is to be fixed after confirmation of the Plan, such
                                      payment is subject to the approval of the Bankruptcy Court as
                                      reasonable.

                                (5)   The Debtors have disclosed the identity and affiliations of any
                                      individual proposed to serve, after confirmation of the Plan, as a
                                      director or officer of the Debtors, an affiliate of the Debtors
                                      participating in a Plan with the Debtors, or a successor to the
                                      Debtors under the Plan, and the appointment to, or continuance in,
                                      such office of such individual is consistent with the interests of
                                      creditors and equity holders and with public policy, and the
                                      Debtors have disclosed the identity of any insider that will be
                                      employed or retained by the Debtors and the nature of any
                                      compensation for such insider.




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                               (6)     Any governmental regulatory commission with jurisdictions, after
                                       confirmation of the Plan, over the rates of the Debtors has
                                       approved any rate change provided for in the Plan, or such rate
                                       change is expressly conditioned on such approval.

                               (7)     With respect to each Class of Claims or Equity Interests, each
                                       holder of an Impaired Claim or Impaired Equity Interest either has
                                       accepted the Plan or will receive or retain under the Plan on
                                       account of such holder’s Claim or Equity Interest, property of a
                                       value, as of the Effective Date, that is not less than the amount
                                       such holder would receive or retain if the Debtors were liquidated
                                       on the Effective Date under chapter 7 of the Bankruptcy Code. See
                                       Section IX.C. (“Confirmation of the Plan—Requirements for
                                       Confirmation of the Plan—Requirements of Section 1129(a) of
                                       Bankruptcy Code—Best Interests Test”).

                               (8)     Except to the extent the Plan meets the requirements of section
                                       1129(b) of the Bankruptcy Code (discussed below), each Class of
                                       Claims or Equity Interests has either accepted the Plan or is not
                                       Impaired under the Plan.

                               (9)     Except to the extent that the holder of a particular Claim has
                                       agreed to a different treatment of such Claim, the Plan provides
                                       that Administrative Expense Claims and Priority Non-Tax Claims
                                       will be paid in full on the Effective Date and that Priority Tax
                                       Claims will receive on account of such Claims deferred cash
                                       payments, over a period not exceeding five years after the Petition
                                       Date, of a value, as of the Effective Date, equal to the Allowed
                                       amount of such Claims.

                               (10)    At least one Class of Impaired Claims has accepted the Plan,
                                       determined without including any acceptance of the Plan by any
                                       insider holding a Claim in such Class.

                               (11)    Confirmation of the Plan is not likely to be followed by the
                                       liquidation or the need for further financial reorganization of the
                                       Debtors or any successor to the Debtors under the Plan, unless
                                       such liquidation or reorganization is proposed in the Plan. See
                                       Section IX.C. 3. (“Confirmation of the Plan—Requirements for
                                       Confirmation of the Plan—Feasibility”).

                       (b)     Best Interests Test

                As described above, the Bankruptcy Code requires that each holder of an Impaired Claim
        or Equity Interest either (i) accepts the Plan or (ii) receives or retains under the Plan property of a
        value, as of the Effective Date, that is not less than the value such holder would receive or retain
        if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on the Effective Date.



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                The first step in meeting this test is to determine the dollar amount that would be
        generated from the liquidation of the Debtors’ assets and properties in the context of a chapter 7
        liquidation case. The gross amount of Cash available would be the sum of the proceeds from the
        disposition of the Debtors’ assets. Notably, the Estate Cash Payment is available under the Plan
        to satisfy additional claims in the event the Plan is confirmed but would not be available in a
        chapter 7 case. The next step is to reduce that total by the amount of any Claims secured by such
        assets, the costs and expenses of the liquidation and such additional Administrative Expense
        Claims and Other Priority Claims that may result from the use of chapter 7 for the purposes of
        liquidation. Any remaining net cash would be allocated to creditors and shareholders in strict
        priority in accordance with section 726 of the Bankruptcy Code (see discussion below). Finally,
        taking into account the time necessary to accomplish the liquidation, the present value of such
        allocations may be compared to the value of the property that is proposed to be distributed under
        the Plan on the Effective Date.

                The Debtors’ costs of liquidation under chapter 7 would include the fees payable to a
        chapter 7 trustee in bankruptcy, as well as those that might be payable to attorneys and other
        professionals that such a trustee may engage, plus any unpaid expenses incurred by the Debtors
        during the Chapter 11 Cases and allowed in the chapter 7 case, such as compensation for
        attorneys, financial advisors, appraisers, accountants, and other professionals. These costs,
        expenses, fees and any other Claims that may arise in a liquidation case under chapter 7 would
        be paid in full from the liquidation proceeds before the balance of those proceeds would be made
        available to pay chapter 11 priority and unsecured claims. Under the absolute priority rule, no
        junior creditor would receive any distribution until all senior creditors are paid in full, with
        interest, and no equity holder receives any distribution until all creditors are paid in full, with
        interest.

               In addition, in a chapter 7, Hillair would foreclose on the Debtors’ assets, taking value
        from lower priority creditors who otherwise may receive value under the Plan. Furthermore, a
        chapter 7 would not provide Class 2 and possibly Class 4 creditors with a share of the New
        Equity Interests in the Reorganized Debtors.

                After consideration of the effects that a chapter 7 liquidation would have on the ultimate
        proceeds available for distribution to creditors in a chapter 11 case, including (i) the increased
        costs and expenses of a liquidation under chapter 7 arising from fees payable to a trustee in
        bankruptcy and professional advisors to such trustee, as compared with the Plan (ii) the likely
        foreclose of all the Debtors’ assets for the benefits of Hillair alone, (iii) the lack of the $1.5
        million Estate Cash Payment and (iv) the fact that no value of the Reorganized Debtors would
        accrue to creditors under a chapter 7, the Debtors submit that confirmation of the Plan will
        provide each creditor and equity holder with a recovery that is not less than it would receive
        pursuant to a liquidation of the Debtors under chapter 7 of the Bankruptcy Code. As shown by
        the liquidation analysis and summary in section VII.B. 7. above, the Debtors believe there
        would be no recovery for creditors other than Hillair in a chapter 7, except for potential litigation
        claims. These amounts are unkown at this time and are assumed to the same in a chapter 7 and
        under the Plan.

               Moreover, the Debtors believe that the value of distributions from the liquidation
        proceeds to each Class of Allowed Claims in a chapter 7 case, if any, would be less than the



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        value of distributions under the Plan because such distributions in a chapter 7 case would not
        occur for a substantial period of time. In this regard, it is possible that distribution of the
        proceeds of the liquidation could be delayed for a year or more after the completion of such
        liquidation in order to resolve the Claims and prepare for distributions. In the event litigation
        were necessary to resolve Claims asserted in the chapter 7 case, the delay could be further
        prolonged and Administrative Expense Claims further increased.

                   2. Acceptance by Impaired Classes

               Each of Class 2, Class 3 and Class 4 is Impaired under the Plan and the holders of
        Allowed Claims in the Voting Classes are entitled to vote on the Plan. In accordance with
        section 1126(g) of the Bankruptcy Code, Class 5 is conclusively deemed to have rejected the
        Plan; and the Debtors intend to seek nonconsensual confirmation of the Plan under section
        1129(b) of the Bankruptcy Code with respect to such Class. See Section IX.C.                 4.
        (“Confirmation of the Plan—Requirements for Confirmation of the Plan—Requirements of
        Section 1129(b) of Bankruptcy Code”). In addition, the Debtors reserve the right to seek
        nonconsensual confirmation of the Plan (without further notice) with respect to any Class of
        Claims that is entitled to vote to accept or reject the Plan if such Class rejects the Plan.

                   3. Feasibility

                The Debtors believe that they will be able to perform their obligations under the Plan. In
        connection with confirmation of the Plan, the Bankruptcy Court will have to determine that the
        Plan is feasible pursuant to section 1129(a)(11) of the Bankruptcy Code, which means that the
        confirmation of the Plan is not likely to be followed by the liquidation or the need for further
        financial reorganization of the Debtors.

                To determine whether the Plan meets this feasibility requirement, the Debtors have
        analyzed their ability to exit and determined that the Plan has a reasonable likelihood of success.
        There are no guaranties made as to the performance of the Reorganized Debtors, and Hillair has
        agreed to the Estate Cash Payment upon confirmation regardless of the post-exit performance of
        the Reorganized Debtors. The Debtors believe that the Minimum Working Capital Requirement
        is achievable and provides adequate working capital to the post-exist business of the
        Reorganized Debtors. Moreover, the Debtors have analyzed the ability of the Creditor Trustee to
        be appointed pursuant to the Plan and to meet its obligations under the Plan. The Debtors
        believe that there are sufficient assets available to satisfy distributions required to be made under
        the Plan and, accordingly, the Plan meets the feasibility requirements of the Bankruptcy Code.

                   4. Requirements of Section 1129(b) of Bankruptcy Code

                The Bankruptcy Court may confirm the Plan over the rejection or deemed rejection of the
        Plan by a class of claims or equity interests if the Plan “does not discriminate unfairly” and is
        “fair and equitable” with respect to such class.

                        No Unfair Discrimination. This test applies to classes of claims or equity interests
                         that are of equal priority and are receiving different treatment under a chapter 11




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                       plan. The test does not require that the treatment be the same or equivalent, but
                       that such treatment be “fair.”

                      Fair and Equitable Test. This test applies to classes of different priority (e.g.,
                       unsecured versus secured) and includes the general requirement that no class of
                       claims receive more than 100% of the allowed amount of the claims in such class.
                       As to the dissenting class, the test sets different standards, depending on the type
                       of claims or interests in such class:

                           o Secured Claims. Either (i) that the holders of such claims retain the liens
                             securing such claims, whether the property subject to such liens is retained
                             by the debtor or transferred to another entity, to the extent of the allowed
                             amount of such claims; and (ii) that each holder of a claim of such class
                             receive on account of such claim deferred cash payments totaling at least
                             the allowed amount of such claim, of a value, as of the effective date of
                             the plan, of at least the value of such holder’s interest in the estate’s
                             interest in such property.

                           o Unsecured Claims. Either (i) each holder of an impaired unsecured claim
                             receives or retains under the plan property of a value equal to the amount
                             of its allowed unsecured claim, or (ii) the holders of claims and interests
                             that are junior to the claims of the dissenting class will not receive or
                             retain any property under the plan.

                           o Equity Interests. Either (i) each equity interest holder will receive or
                             retain under the plan property of a value equal to the greater of (a) the
                             fixed liquidation preference or redemption price, if any, of such stock and
                             (b) the value of the stock, or (ii) the holders of interests that are junior to
                             the equity interests of the dissenting class will not receive or retain any
                             property under the plan.

               The Debtors believe the Plan will satisfy both the “no unfair discrimination” requirement
        and the “fair and equitable” requirement, notwithstanding that Class 5 is deemed to reject the
        Plan, because as to such Class, there is no Class of equal priority receiving more favorable
        treatment and no Class that is junior to such a dissenting Class will receive or retain any property
        on account of Equity Interests in such Class. The Debtors also believe that the Plan will satisfy
        the applicable requirements as to Class 3, if required, because the Holders of Claims in such
        Class retain their liens as transferred to the Reorganized Debtors and will be paid the amount of
        their Claims over time. The Debtors also believe that the Plan will satisfy the applicable
        requirements as to Class 4, if required, because no class of Holders of Claims or Equity Interests
        equal or junior to Class 4 in priority will receive or retain any property under the Plan.




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        X.         ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE
                   PLAN

        A.         Liquidation Under Chapter 7

                If no plan can be confirmed, the Chapter 11 Cases may be converted to chapter 7 of the
        Bankruptcy Code, pursuant to which a trustee would be appointed to liquidate the assets of the
        Debtors for distribution in accordance with the priorities established by the Bankruptcy Code.
        As discussed above, the Debtors believe that liquidation under chapter 7 would result in no
        distribution to creditors other than Hillair, or reduced and delayed distributions as compared with
        those provided for in the Plan, because of the (i) lack of the Estate Cash Payment; (ii) foreclosure
        of the Debtors’ asset for the sole benefit of Hillair; (iii) the lack of the New Equity Interests in
        the Reorganized Debtors; (iv) increased cost and expenses of liquidation under chapter 7 arising
        from fees payable to the chapter 7 trustee and the attorneys and other professional advisors to
        such trustee, (v) cost and expense attributable to the time value of money resulting from what is
        likely to be a more protracted proceeding, and (vi) application of the rule of absolute priority to
        distributions in a chapter 7 liquidation.

                 The Debtors believe that in a chapter 7 case, holders of Equity Interests in Class 5 would
        still receive no distributions of property. Accordingly, the Plan satisfies the rule of absolute
        priority.

        B.         Alternative Plan

                The Debtors believe that the Plan, as described herein, enables creditors to realize the
        greatest value under the circumstances as compared with any alternative plan.

        C.         Dismissal

               If the Chapter 11 Cases are dismissed, the protections of the Bankruptcy Code would
        disappear, thereby resulting in costly, uncontrolled and protracted litigation among and between
        the Debtors and the Holders of Claims and Equity Interests. Therefore, the Debtors believe that
        dismissal of the Chapter 11 Cases is not a viable alternative to Confirmation of the Plan.

        XI.        CERTAIN FEDERAL INCOME TAX CONSIDERATIONS

             THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX.
        ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTORS
        SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
        CONSEQUENCES TO THEM OF THE PLAN AND THE OWNERSHIP AND DISPOSITION
        OF CLAIMS INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL
        OR FOREIGN (NON-US) TAX LAWS AND OF ANY CHANGE IN APPLICABLE TAX
        LAWS.

                This discussion is provided for information purposes only, and is based on provisions of
        the Internal Revenue Code of 1986, as amended (the “IRC”), Treasury Regulations promulgated
        thereunder, judicial authorities, and current administrative rulings and practice, all as in effect on
        the date hereof. Legislative, judicial, or administrative changes or interpretations enacted or



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        promulgated after the date hereof could alter or modify the analyses set forth below with respect
        to the United States federal income tax consequences of the Plan. Any such changes or
        interpretations may be retroactive and could significantly, and adversely, affect the United States
        federal income tax consequences of the Plan. To the extent that the following discussion relates
        to the consequences to holders of Claims or Equity Interests, it is limited to holders that are
        United States persons within the meaning of the IRC. For purposes of the following discussion, a
        “United States person” is any of the following:

                      an individual who is a citizen or resident of the United States;

                      a corporation created or organized under the laws of the United States or any state
                       or political subdivision thereof;

                      an estate, the income of which is subject to federal income taxation regardless of
                       its source; or

                      a trust that (a) is subject to the primary supervision of a United States court and
                       which has one or more United States fiduciaries who have the authority to control
                       all substantial decisions of the trust, or (b) has a valid election in effect under
                       applicable United States Treasury regulations to be treated as a United States
                       person.

                This discussion does not address all aspects of U.S. federal income taxation that may be
        relevant to a particular holder in light of its particular facts and circumstances, or to certain types
        of holders subject to special treatment under the IRC. Examples of holders subject to special
        treatment under the IRC are governmental entities and entities exercising governmental
        authority, foreign companies, persons who are not citizens or residents of the United States,
        banks and certain other financial institutions, broker-dealers, insurance companies, tax-exempt
        organizations, real estate investment trusts, small business investment companies, regulated
        investment companies, holders that are or hold their Claims or Equity Interests through a
        partnership or other pass-through entity, dealers in securities or foreign currency, persons that
        have a functional currency other than the U.S. dollar, and persons holding Claims that are a
        hedge against, or that are hedged against, currency risk or that are part of a straddle, constructive
        sale, or conversion transaction. This discussion does not address other U.S. federal taxes or the
        foreign, state, or local tax consequences of the Plan. Furthermore, this discussion generally does
        not address the U.S. federal income tax consequences to holders that are unimpaired under the
        Plan.

                The tax treatment of holders of Claims or Equity Interests and the character, amount and
        timing of income, gain or loss recognized as a consequence of the Plan and the Distributions
        provided for by the Plan may vary, depending upon the following factors, among others:
        (i) whether the Claim or portion thereof constitutes a Claim for principal or interest; (ii) the type
        of consideration, if any, received by the holder in exchange for the Claim, and whether the
        holder receives Distributions under the Plan in more than one taxable year; (iii) whether the
        holder is a citizen or resident of the United States for tax purposes, is otherwise subject to U.S.
        federal income tax on a net basis, or falls into any special class of taxpayers, such as those that
        are excluded from this discussion as noted above; (iv) the manner in which the holder acquired



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        the Claim; (v) the length of time that the Claim has been held; (vi) whether the Claim was
        acquired at a discount; (vii) whether the holder has taken a bad debt deduction or a worthless
        securities deduction with respect to the Claim or any portion thereof in the current or prior
        taxable years; (viii) whether the holder has previously included in gross income accrued but
        unpaid interest with respect to the Claim; (ix) the method of tax accounting of the holder;
        (x) whether the Claim is an installment obligation for U.S. federal income tax purposes;
        (xi) whether the Claim is considered a “security” for U.S. federal income tax purposes; and
        (xii) whether the “market discount” rules apply to the holder. Therefore, each holder should
        consult such holder’s own tax advisor for tax advice with respect to that holder’s particular
        situation and circumstances, and the particular tax consequences to such holder of the
        transactions contemplated by the Plan.

                A significant amount of time may elapse between the date of the Disclosure Statement
        and the receipt of a final Distribution under the Plan. Events occurring after the date of the
        Disclosure Statement, such as new or additional tax legislation, court decisions, or administrative
        changes, could affect the U.S. federal income tax consequences of the Plan and the transactions
        contemplated thereunder. No ruling has been or will be sought from the IRS with respect to any
        of the tax aspects of the Plan, and no opinion of counsel has been or will be obtained by the
        Debtors with respect thereto. No representations are being made regarding the particular tax
        consequences of the confirmation or implementation of the Plan as to any holder of a Claim or
        Equity Interest. This discussion is not binding upon the IRS or other taxing authorities. No
        assurance can be given that the IRS or another authority would not assert, or that a court would
        not sustain, a different position from any discussed herein.

             THE FOLLOWING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
        CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN, AND IS
        NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX
        PROFESSIONAL. THE FOLLOWING DISCUSSION IS FOR INFORMATION
        PURPOSES ONLY AND IS NOT TAX ADVICE. THE TAX CONSEQUENCES ARE IN
        MANY CASES UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
        PARTICULAR CIRCUMSTANCES.        ACCORDINGLY, EACH HOLDER IS
        STRONGLY URGED TO CONSULT SUCH HOLDER’S TAX ADVISOR REGARDING
        THE U.S. FEDERAL, STATE, AND LOCAL INCOME TAX CONSEQUENCES, AND
        NON-U.S. INCOME AND OTHER TAX CONSEQUENCES, OF THE PLAN.

              TO ENSURE COMPLIANCE WITH TREASURY DEPARTMENT CIRCULAR
        230, HOLDERS ARE HEREBY NOTIFIED THAT: (A) ANY DISCUSSION OF U.S.
        FEDERAL TAX ISSUES IN THIS DISCLOSURE STATEMENT IS NOT INTENDED
        OR WRITTEN TO BE RELIED UPON, AND CANNOT BE RELIED UPON, BY
        HOLDERS OF CLAIMS OR EQUITY INTERESTS FOR THE PURPOSE OF
        AVOIDING PENALTIES THAT MAY BE IMPOSED ON HOLDERS OF CLAIMS OR
        EQUITY INTERESTS UNDER THE IRC; (B) SUCH DISCUSSION IS BEING USED IN
        CONNECTION WITH THE PROMOTION OR MARKETING (WITHIN THE
        MEANING OF CIRCULAR 230) BY THE DEBTORS OF THE TRANSACTIONS OR
        MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF CLAIMS OR EQUITY
        INTERESTS SHOULD SEEK ADVICE BASED ON EACH HOLDER’S PARTICULAR
        CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.



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        A.         Certain U.S. Federal Income Tax Consequences to Holders of Claims and Equity
                   Interests

                A holder of an Allowed Claim will generally recognize ordinary income to the extent that
        the amount of Cash or property received (or deemed received) under the Plan is attributable to
        interest that accrued on a Allowed Claim but was not previously paid by the Debtors or included
        in income by the holder of the Allowed Claim. A holder of an Allowed Claim will generally
        recognize gain or loss equal to the difference between the holder's adjusted basis in its Allowed
        Claim and the amount realized by the holder in respect of its Allowed Claim. The amount
        realized generally will equal the sum of Cash and the fair market value of other consideration
        received (or deemed received) by the holder under the Plan on the Effective Date or a subsequent
        distribution date in respect of the holder’s Allowed Claim, less the amount, if any, attributable to
        accrued but unpaid interest.

                 The character of any gain or loss that is recognized as such will depend upon a number of
        factors, including the status of the holder, the nature of the Allowed Claim in the holder’s hands,
        whether the Allowed Claim was purchased at a discount, whether and to what extent the holder
        has previously claimed a bad debt deduction with respect to the Allowed Claim, and the holder’s
        holding period of the Allowed Claim. If the Allowed Claim in the holder’s hands is a capital
        asset, the gain or loss realized will generally be characterized as a capital gain or loss. Such gain
        or loss will constitute long-term capital gain or loss if the holder held such Allowed Claim for
        longer than one year, or short-term capital gain or loss if the holder held such Allowed Claim for
        one year or less. Any capital loss realized generally may be used by a corporate holder only to
        offset capital gains, and by an individual holder only to the extent of capital gains plus $3,000 of
        ordinary income in any single taxable year.

                A holder of an Allowed Claim who receives, in respect of the holder’s Allowed Claim, an
        amount that is less than that holder’s tax basis in such Allowed Claim may be entitled to a bad
        debt deduction under IRC Section 166(a) or a worthless securities deduction under IRC Section
        165(g). The rules governing the character, timing, and amount of bad debt or worthless
        securities deductions place considerable emphasis on the facts and circumstances of the holder,
        the obligor, and the instrument with respect to which a deduction is claimed. Holders of
        Allowed Claims, therefore, are urged to consult their tax advisors with respect to the ability to
        take either deduction. A holder that has previously recognized a loss or deduction in respect of
        that holder’s Allowed Claim may be required to include in gross income (as ordinary income)
        any amounts received under the Plan to the extent such amounts exceed the holder’s adjusted
        basis in such Allowed Claim.

                Holders of Allowed Claims who were not previously required to include any accrued but
        unpaid interest with respect to an Allowed Claim may be treated as receiving taxable interest
        income to the extent any consideration they receive under the Plan is allocable to such interest.
        A holder previously required to include in gross income any accrued but unpaid interest with
        respect to an Allowed Claim may be entitled to recognize a deductible loss to the extent such
        interest is not satisfied under the Plan.

              A holder of an Allowed Claim constituting an installment obligation for tax purposes
        may be required to currently recognize any gain remaining with respect to such obligation if,



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        pursuant to the Plan, the obligation is considered to be satisfied at other than at face value or
        distributed, transmitted, sold or otherwise disposed of within the meaning of IRC Section 453B.

               The holders of certain Allowed Claims are expected to receive only a partial Distribution
        with respect to their Allowed Claims. Whether the holder of such a Claim will recognize a loss,
        a deduction for worthless securities or any other tax treatment will depend upon facts and
        circumstances that are specific to the nature of each holder and its Claim. Accordingly, a holder
        of such a Claim should consult such holder’s own tax advisor.

                Under backup withholding rules, a holder of an Allowed Claim may be subject to backup
        withholding with respect to payments made pursuant to the Plan unless such holder (i) is a
        corporation or is otherwise exempt from backup withholding and, when required, demonstrates
        this fact, or (ii) provides a correct taxpayer identification and certifies under penalty of perjury
        that the taxpayer identification number is correct and that the holder is not subject to backup
        withholding because of failure to report all dividend and interest income. Any amount withheld
        under these rules will be credited against the holder’s federal income tax liability. Holders of
        Allowed Claims may be required to establish an exemption from backup withholding or to make
        arrangements with regard to payment of any backup withholding.

                Holders of Disallowed Claims or Equity Interests will not receive any Distribution as part
        of the Plan. Accordingly, because such a holder may receive an amount that is less than that
        holder’s tax basis in such Claim or Equity Interest, such holder may be entitled to a bad debt
        deduction under IRC Section 166(a) or a worthless securities deduction under IRC Section
        165(g). The rules governing the character, timing, and amount of bad debt or worthless
        securities deductions place considerable emphasis on the facts and circumstances of the holder,
        the obligor, and the instrument with respect to which a deduction is claimed. Holders of
        Disallowed Claims or Equity Interests, therefore, are urged to consult their tax advisors with
        respect to the ability to take either deduction.

        B.         Certain U.S. Federal Income Tax Consequences to the Debtor

                Under the IRC, a taxpayer generally must include in gross income the amount of any
        cancellation of indebtedness income (“COD Income”) realized during the taxable year. Section
        108 of the IRC provides an exception to this general rule, however, if the cancellation occurs in a
        case under the Bankruptcy Code, but only if the taxpayer is under the jurisdiction of the
        bankruptcy court and the cancellation is granted by the court or is pursuant to a plan approved by
        the court.

                 Section 108 of the IRC requires the amount of COD Income so excluded from gross
        income to be applied to reduce certain tax attributes of the taxpayer. The tax attributes that may
        be subject to reduction include the taxpayer’s net operating losses and net operating loss
        carryovers (collectively, “NOLs”), certain tax credits and tax credit carryovers, capital losses and
        capital loss carryovers, tax bases in assets, and passive activity loss carryovers. Attribute
        reduction is calculated only after the tax for the year of the discharge has been determined.
        Section 108 of the IRC further provides that a taxpayer does not realize COD Income from
        cancellation of indebtedness to the extent that payment of such indebtedness would have given
        rise to a deduction.



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                Under the Plan, holders of certain Allowed Claims are expected to receive less than full
        payment on their Claims, and holders of Disallowed Claims are expected to receive no payments.
        The Debtors’ liability to the holders of such Claims in excess of the amount satisfied by
        Distributions under the Plan will be cancelled and therefore will result in COD Income to the
        Debtors. The Debtors should not realize any COD Income, however, to the extent that payment
        of such Claims would have given rise to a deduction to the Debtors had such amounts been paid.
        In addition, any COD Income that the Debtors realize should be excluded from the Debtors’
        gross income pursuant to the bankruptcy exception to section 108 of the IRC described above,
        because the cancellation will occur in a case under the Bankruptcy Code, while the taxpayer is
        under the jurisdiction of the bankruptcy court, and the cancellation is granted by the court or is
        pursuant to a plan approved by the court. The exclusion of the COD Income, however, will
        result in a reduction of certain tax attributes of the Debtors, such as net operating losses.
        Because attribute reduction is calculated only after the tax for the year of discharge has been
        determined, the COD Income realized by the Debtors under the Plan should not diminish the net
        operating losses and other tax attributes that may be available to offset any income and gains
        recognized by the Debtors in the taxable year that includes the Effective Date.

        C.         Consequences of the Creditor Trust

                The Creditor Trust will be organized for the primary purpose of liquidating the assets
        transferred to it with no objective to continue or engage in the conduct of a trade or business,
        except to the extent reasonably necessary to, and consistent with, the liquidating purpose of the
        Creditor Trust. Thus, the Creditor Trust is intended to be classified for federal income tax
        purposes as a “grantor trust” within the meaning of Treasury Regulation Section 301.7701-4(d)
        and Revenue Procedure 94-45, 1994-2 C.B. 684. No request for a ruling from the IRS will be
        sought on the classification of the Creditor Trust. Accordingly, there can be no assurance that
        the IRS would not take a contrary position to the classification of the Creditor Trust. If the IRS
        were to challenge successfully the classification of the Creditor Trust as a grantor trust, the
        federal income tax consequences to the Creditor Trust and the holders of Allowed Claims could
        vary from those discussed herein (including the potential for an entity-level tax).

                For all U.S. federal income tax purposes, all parties with respect to the Creditor Trust
        (including, without limitation, the Debtors, the Creditor Trustee, and the Creditor Trust
        Beneficiaries) must treat the transfer of Creditor Trust Assets (other than those Creditor Trust
        Assets placed in the Disputed Claims Reserve) to the Creditor Trust as (i) a transfer of such
        Creditor Trust Assets by the Debtors to the Creditor Trust Beneficiaries, followed by (ii) a
        transfer of such Creditor Trust Assets by such beneficiaries to the Creditor Trust, with the
        beneficiaries being treated as the grantors and owners of the Creditor Trust. Each holder that is a
        beneficiary of the Creditor Trust generally will recognize gain or loss in its taxable year that
        includes the Effective Date in an amount equal to the difference between the amount realized in
        respect of its Allowed Claim and its adjusted tax basis in the Allowed Claim. The amount
        realized by a holder of an Allowed Claim will equal the fair market value of the Creditor Trust
        Assets deemed received in respect of such Claim, less the amount, if any, attributable to accrued
        but unpaid interest. A holder that is deemed to receive Creditor Trust Assets in respect of its
        Allowed Claim will then have a tax basis in such Creditor Trust Assets in an amount equal to the
        fair market value of such Creditor Trust Assets on the date of receipt, less the amount, if any,
        attributable to accrued but unpaid interest.



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                As further described below, because each holder’s share of the Creditor Trust Assets in
        the Creditor Trust may change depending upon the resolution of Disputed Claims in such
        holder’s Class, a holder may be prevented from recognizing for tax purposes all of its gain or
        loss from the consummation of the Plan until all Disputed Claims in such holder’s Class have
        been resolved.

                In general, a liquidating trust is not a separate taxable entity but rather is treated as a
        grantor trust, pursuant to IRC Sections 671 et. seq., owned by the persons who are treated as
        transferring assets to the trust. Each holder of a beneficial interest in the Creditor Trust must
        report on its federal income tax return its allocable share of income, gain, loss, deduction and
        credit recognized or incurred by the Creditor Trust. None of the Debtors’ loss carryforwards will
        be available to reduce any income or gain of the Creditor Trust. Moreover, upon the sale or
        other disposition (or deemed disposition) of any of the Creditor Trust Assets not held in the
        Disputed Claims Reserve, each Creditor Trust Beneficiary must report on its federal income tax
        return its share of any gain or loss measured by the difference between (1) its share of the
        amount of cash and/or the fair market value of any property received by the Creditor Trust in
        exchange for the Creditor Trust asset so sold or otherwise disposed of and (2) its adjusted tax
        basis in its share of the Creditor Trust asset. The character of any such gain or loss to the holder
        will be determined as if such holder itself had directly sold or otherwise disposed of the Creditor
        Trust asset. The character of items of income, gain, loss, deduction, and credit to any holder of a
        beneficial interest in the Creditor Trust, and the ability of the holder to benefit from any
        deductions or losses, will depend on the particular circumstances or status of the holder.

                Given the treatment of the Creditor Trust as a grantor trust and subject to the discussion
        below regarding the Disputed Claims Reserve, each Creditor Trust Beneficiary has an obligation
        to report its share of the Creditor Trust’s tax items (including gain on the sale or other disposition
        of a Creditor Trust asset), which obligation is not dependent on the distribution of any cash or
        other Creditor Trust assets by the Creditor Trust. Accordingly, a Creditor Trust Beneficiary may
        incur a tax liability as a result of owning a share of the Creditor Trust Assets, regardless of
        whether the Creditor Trust distributes cash or other assets. Due to the requirement that the
        Creditor Trust maintain certain reserves, the Creditor Trust’s ability to make current cash
        distributions may be limited or precluded. In addition, due to possible differences in the timing
        of income on, and the receipt of cash from the Creditor Trust Assets, a Creditor Trust
        Beneficiary may be required to report and pay tax on a greater amount of income for a taxable
        year than the amount of cash received by the holder during the year.

                The Creditor Trust will file annual information tax returns with the IRS as a grantor trust
        pursuant to Treasury Regulation Section 1.671-4(a) that will include information concerning
        certain items relating to the holding or disposition (or deemed disposition) of the Creditor Trust
        assets (e.g., income, gain, loss, deduction and credit). Each Creditor Trust Beneficiary will
        receive a copy of the information returns and must report on its federal income tax return its
        share of all such items. The information provided by the Creditor Trust will pertain to Creditor
        Trust Beneficiaries who received their interests in connection with the Plan.




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        D.         Consequences of the Disputed Claims Reserve

                It is anticipated that the Creditor Trustee will make an election under Treasury
        Regulation Section 1.468B-9(c)(2)(ii) to treat the Disputed Claims Reserve as a “disputed
        ownership fund.” Accordingly, a holder of a Disputed Claim, unlike the holder of an Allowed
        Claim, will not be treated as receiving any of the Creditor Trust Assets on the Effective Date due
        to holding such Disputed Claim. The disputed ownership fund will be treated as the owner of the
        assets it holds (i.e., those Creditor Trust Assets transferred to the Disputed Claims Reserve) and
        will be taxable as a qualified settlement fund pursuant to the rules of Treasury Regulation
        Section 1.468B-2 due to all of the assets in the disputed ownership fund being passive
        investment assets. These rules generally provide that the “modified gross income” of a qualified
        settlement fund is taxed at the maximum rate applicable to estates and trusts under IRC Section
        1(e), which is currently 39.6%.

               “Modified gross income” is the qualified settlement fund’s IRC Section 61 gross income
        computed with the modifications detailed in Treasury Regulation Section 1.468B-2(b)(1)-(4),
        with such modifications including deductions for administrative costs and other incidental
        expenses incurred in connection with the operation of the fund that would be deductible under
        chapter 1 of the IRC in determining the taxable income of a corporation.

                If and when a Disputed Claim becomes an Allowed Claim, the holder of the now
        Allowed Claim will become a Creditor Trust Beneficiary and generally will recognize gain or
        loss in its taxable year that includes the date of the conversion of the Disputed Claim to an
        Allowed Claim in an amount equal to the difference between the amount realized in respect of its
        Allowed Claim and its adjusted tax basis in the Allowed Claim, as further described above under
        Consequences of the Creditor Trust.

               If a Disputed Claim is resolved for an amount less than the amount contributed to the
        Disputed Claims Reserve with respect to such Disputed Claim, the difference will be released
        from the Disputed Claims Reserve and distributed to the applicable Class of Creditor Trust
        Beneficiaries in accordance with their respective Distribution Pro Rata Shares. Any such amount
        received by a Creditor Trust Beneficiary will constitute an additional amount realized by such
        Creditor Trust Beneficiary and will increase the gain, or reduce the loss, recognized by the
        Creditor Trust Beneficiary with respect to its Claim.

        XII.       CONCLUSION

                The Debtors, Hillair and the Committee believe that confirmation and implementation of
        the Plan is preferable to any of the alternatives described herein because it will provide the
        greatest recoveries to holders of Claims. Any alternative to confirmation of the Plan, such as
        liquidation under chapter 7 or attempts to confirm another plan, would involve significant delays,
        uncertainty, and substantial additional administrative costs. Moreover, as described above, the
        Debtors, Hillair and the Committee believe that creditors will receive greater and earlier
        recoveries under the Plan than under the alternatives. FOR THESE REASONS, THE
        DEBTORS, HILLAIR AND THE COMMITTEE URGE ALL HOLDERS OF IMPAIRED
        CLAIMS ENTITLED TO VOTE ON THE PLAN TO ACCEPT AND TO EVIDENCE SUCH
        ACCEPTANCE BY RETURNING THEIR BALLOTS SO THAT THEY WILL BE RECEIVED



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        WITHIN THE TIME STATED IN THE NOTICE OF CONFIRMATION HEARING AND
        DISCLOSURE STATEMENT APPROVAL ORDER.



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                   Dated: February 27, 2020




        DATE: FEBRUARY 27, 2020                       FOLEY & LARDNER LLP



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                                          Exhibit A

                                     Liquidation Analysis




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Chapter 7 Liquidation Analysis / Best Interests Test


The following tables provide detailed calculations of projected recoveries under a chapter 7 liquidation analysis as compared to the Debtor's proposed Chapter 11 Plan of Reorganization and should be read in conjunction with the
accompanying notes.

                                                                           Scoobeez                                         Scoobeez Global Inc.                                Scoobur LLC                              Total
                                                         Net Book                                           Net Book                                            Net Book
                                                          Value @                  Projected                 Value @               Projected                     Value @                   Projected                Projected
                                                         December                 Liquidation               December              Liquidation                   December                  Liquidation              Liquidation
                                                          31, 2019    Adjustments    Value                   31, 2019 Adjustments    Value                       31, 2019     Adjustments    Value                    Value
Assets
 Cash                                                     2,117,237            -      2,117,237                        50           -             50                                   -            -                2,117,287
 Accounts Receivable                                      4,093,533            -      4,093,533                                     -           -                                      -            -                4,093,533
 Prepaid Expenses & Other                                   101,890        (69,111)      32,778                                     -           -                                      -            -                   32,778
                                                                                                                                                                                                                                                              Case 2:19-bk-14989-WB




 Fixed Assets                                               839,065       (791,631)      47,434                  3,022           (2,418)        604                                    -            -                   48,039
 Security Deposit                                            48,486        (37,519)      10,967                                     -           -                                      -            -                   10,967
 Loan Receivable - Ohanessian                             1,887,751     (1,887,751)         -                                       -           -                                      -            -                      -
 Trademarks                                                     -              -            -                                       -           -                    89,000            -         89,000                 89,000
Proceeds Available for Distribution                       9,087,962     (2,786,012)   6,301,950                  3,072           (2,418)        654                  89,000            -         89,000              6,391,604


                                                         Projected                      Proj.               Projected                        Proj.               Projected                      Proj.                 Proj.
                                                          Claim                       Recovery      %        Claim                         Recovery    %          Claim                       Recovery      %       Recovery      %
Less
                                                                                                                                                                                                                                      Main Document




Secured Claims
  Hillair Capital                                         9,693,098                   6,301,950   65%        9,693,098             -            654    0%         9,693,098            -         89,000    1%        6,391,604 66%
  Other                                                    TBD                              -     0%                                            -      0%                                           -      0%              -   0%
                                                                                            -                                                    -                                                   -                     -
Chapter 7 Administrative Claims
 Trustee Fees                                                                               -                                                    -                                                   -                     -
 Trustee's Legal Fees & Financial                                                           -                                                    -                                                   -                     -
Amount Available for Distribution to Creditors                                              -                                                   -                                                    -                     -
                                                                                                                                                                                                                                                       Page 85 of 88




Chapter 11 Administrative Claims
 Post-Petition Liabilities (incl. Professional Fees)      3,621,151                         -      0%                                            -     0%                                            -     0%              -
                                                          3,621,151                         -                      -                            -                       -                            -                     -
Priority Claims
  Wages                                                    TBD                              -      0%                                            -     0%                                            -     0%              -
  Taxes                                                    TBD                              -      0%                                            -     0%                                            -     0%              -
Amount Available for Distribution to General                                                -                                                   -                                                    -                     -
Unsecured Creditors
                                                                                                                                                                                                                                      Doc 635 Filed 02/27/20 Entered 02/27/20 20:25:12




General Unsecured Claims                                   TBD                              -      0%                                            -     0%                                            -     0%              -
                                                                                            -                      -                             -                      -                            -                     -
Amount Available for Distribution for Equity
Interests                                                                                   -                      -                             -                      -                            -
                                                                                                                                                                                                                                                              Desc
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Chapter 7 Liquidation Analysis / Best Interests Test

Notes to Chapter 7 Liquidation Analysis
The Net Book Value as of December 31, 2019 is based on the Debtor's unaudited financial statements.
Accounts Receivable
  Accounts Receivable consists of amounts due from Amazon.
Loan Receivable - Ohanessian
  Consists of amounts due from Shahan Ohanessian and the amounts will be subject to litigation. The ultimate recovery is unknown at this time. The recoveries under a chapter 7 liquidation and a chapter 11
  plan are assumed to yield the same results.
Prepaid Expenses & Security Deposit
   Prepaid general liability insurance consists of the unused portion of which is refundable less 25% of total annual premium.
   The PEX deposit upon a liquidation, the deposit will likely be offset against the outstanding post-petition balance due as of 12/31/19. The remaining balance of the deposit is projected to be recoverable.
   Prepaid Rent represents amounts paid in the current month for the subsequent month.
                                                                                           Range of
                                                            Book Value Adjustment          Recoveries

   Deposit PEX                                                   55,734         (39,366)       16,368
   Prepaid General Liability Insurance                           38,982         (29,745)        9,236
   Prepaid Rent                                                   7,174             -           7,174
   Security Deposits & Other                                     48,486         (37,519)       10,967
                                                                150,376       (106,630)        43,745

Fixed Assets & Leasehold Improvements
   Majority of fixed assets comprises of leasehold improvements relating to the remodeling of the leased corporate office building. Upon a liquidation and vacating of the building, the costs incurred are not
   recoverable. The remaining assets consist of office furniture and computer equipment that would be sold to a liquidator. It is assumed the liquidation value of these items is 20% of the historical cost.


Litigation Actions
   The value of litigation claims the Debtor may assert is unknown at this time. Under each of a Chapter 7 and Chapter 11, the claims would be prosecuted and the net proceeds distributed to creditors.

Secured Debt
   The secured debt due to Hillair Capital consist of amounts due to Hillair Capital less post-petition payments made.
Chapter 7 Administrative Claims
  As a result of the Hillair Capital's secured claim not being fully satisfied in full it is assumed the Chapter 7 Trustee will grant relief from the automatic stay and allow for Hillair to foreclose on its collateral.

Chapter 11 Administrative Claims
   Post-Petition Liabilities consist of account payable, accrued expenses and accrued professional fees.
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                                                Exhibit B

         Chapter 11 Joint Plan of Reorganization Proposed by the Debtors, Hillair and the Official
                                   Committee of Unsecured Creditors




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                                          Exhibit C

                         Disclosure Statement Order (Without Exhibits)




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